(C   Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 1 of 133                 PageID #: 1
  P\ i SiNAL
 0!
  !



               Timothy Chey, Esq -(CA State Bar License No. 172096)(In Pro Per)
      1
               Law Offices of Timothy Chey                                     FILED IN THE
     2         SunAmerica Center                                          UNITED STATES DISTRICT C DURT
               1999 Avenue of the Stars, Suite 1100                            DISTRICT OF HAWAII
      3        Century City, CA 90067                                           QpJ Q 3 2018
               Tel: 310 882 0076
     4
               Fax: 310 882 0039; email: LawOfficesofrChcv@Activist.comg^ ^-o'clock and(C^ C^miii
     5                                                                        SUEBEITIACLERI'
                              IN THE UNITED STATES DISTRICT COURT
     6


     7
                                     IN THE STATE OF HAWAII
     8


     9                                                MS 0037O.I«KSCi
     10
          Timothy Chey,                                  COMPLAINT FOR DAMAGES
     11
                       Plaintiff
                                                        1) FRAUD AND DECEIT
     12                                                 2) BREACH OF IMPLIED
                                                           COVENANT OF GOOD FAITH
     13                                                    AND FAIR DEALING
               vs.                                      3) VIOLATION OF CIVIL RIGHTS
     14                                                       42 U.S.C.§ 1983 [Free Speech]
                                                              42 U.S.C. §1983 [Equal Protection]
     15
          HAWAII FILM OFFICE,BENITA                     4) INTERFERENCE WITH
                                                           PROSPECTIVE BUSINESS
     16
                                                           ADVANTAGE
          BRAZIER,DONNE DAWSON,
                                                        5) BREACH OF WRITTEN
     17
                                                           CONTRACT
          DOES 1-10,
                                                        6)    INTENTIONAL
     18
                                                              MISRESPRESENTATION
                       DEFENDANTS
                                                        7) NEGLIGENT
     19
                                                              MISREPRESENTATION
                                                        8) PROMISSORY FRAUD
     20
                                                        9) BREACH OF IMPLIED
                                                              CONTRACT
     21
                                                         10) QUANTUM MERUIT
                                                         11) NEGLIGENT INFLICTION OF
     22
                                                              EMOTIONAL DISTRESS
                                                         12) INTENTIONAL INFLICTION OF
     23
                                                              EMOTIONAL DISTRESS
                                                         13) CIVIL CONSPIRACY
     24
                                                         14) UNFAIR COMPETITION
                                                         15) PROMISSORY ESTOPPEL
     25
                                                         16) BREACH OF ACCOUNTING
                                                         17) DECLARATORY RELIEF
     26
                                                         18) UNJUST ENRICHMENT
                                                         19) PREMLINARYAND
     27
                                                              PERMANENT INJUNCTION
                                                         20) WRIT OF ATTACHMENT
     28




                                              Complaint - 1
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 2 of 133                                PageID #: 2




1

                                    DEMAND FOR A JURY TRIAL
2


3            Plaintiff(Filmmaker), an individual, as for his Complaint against DEFENDANTS

4    HAWAII FILM OFFICE,BENITA BRAZIER,DONNE DAWSON,inclusive demands a

5    jury trial and alleges as follows:

6


7                                   JURISDICTION AND VENUE

8


9
         1. The United States District Court for the District of Hawaii has jurisdiction over this

10
             matter pursuant to 28 U.S.C., Section 1332. The amount in controversy in this case,

11
             exclusive of interest and costs, exceeds $75,000. Venue is proper in this District pursuant

12
             to 28 U.S.C., Section 1391

13
         2. The United States District Court for the District of Hawaii also has jurisdiction over this

14
             matter as Plaintiffs claim arises under diversity of citizenship. Plaintiff resides in

15
             California and Defendants reside in Hawaii.

16

                                              PARTIES
17


18


19
         3. Plaintiff Tim Chey is a well-respected attorney, film producer, Harvard/USC alumnus.

20
             He has been on Fox Morning News,NBC News, and his work has been seen on MSNBC,

21
             the Wall Street Journal, LA Times, CNN,and Today Show.

22
         4. Plaintiff has never filed a lawsuit against a governmental agencv in any state.

23
         5. Plaintiff is informed and believe that, and thereon alleges, that defendants are Hawaii

24
             residents.

25
         6. Defendant Hawaii Film Office is a state government agency.

26
         7. Defendant Benita Brazier is a state employee and. Plaintiff believes, acted outside the

27
             scope of her agency.

28




                                                Complaint - 2
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 3 of 133                          PageID #: 3




1     8. Defendant Donne Dawson is a state employee, and Plaintiff believes, acted outside the

2        scope of her agency.

3


4                                       INTRODUCTION

5


6     9. According to The Center for Public Integrity, the State of Hawaii received a D+ overall
7        grade for integrity of government; NPR says the State of Hawaii is considered the most
8        corrupt government of all 50 states; and finally, in a recent poll, people believe Hawaii is
 9       run like a 'Third-World country'.

10    10. Is it any wonder then that the Defendant Hawaii Film Office has committed overt and
11       stark fraud by not honoring its 20% rebate that it advertised to faith-based filmmaker Tim
12       Chey in inducing Filmmaker to film in Hawaii?
13    11. Filmmaker is a Harvard and USC alunmus, attorney, producer of 12 feature films and
14       returned all the required papers with military precision. Anything less is a complete
15       fraudulent and false narrative fi^om of all the Defendants collectively.

16    12. Filming in Hawaii was the absolute worst experience Plaintiff(Filmmaker)ever dealt
17        with in 22 years and 12 movies, including 'Freedom'(Cuba Gooding, Jr., Sharon Leal)
18       for Showtime TV and 'Slamma Jamma'(Michael Irvin, Jose Canseco)for Sony Pictures.
19    13. Defendants, including the Hawaii Film Office, deceived Filmmaker multiple times,
20       showing the most astonishing ineptness and behavior in giving out classified information
21       to crew members, refusing to honor the 20% rebate by literally stating all the receipts,
22        pay stubs ofcrew and cast are invalid. This reprehensible conduct is for no other reason
23       than to 'teach' the Filmmaker a lesson for possibly making a faith-based film about
24        Native Hawaiian history.
25    14. The Defendants blatantly lied, hid, conspired, slandered, and finally sabotaged
26        Filmmaker in receiving the 20% rebate.
27    15. Filmmaker is asking the Honorable Court and the trial jury for $100 million in punitive
28        damages from each of the Defendants collectively or separately.



                                             Complaint - 3
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 4 of 133                           PageID #: 4




1     16. Filmmaker intends through full and complete discovery - including interrogatories,
2        depositions of each party and other film producers and possible motions to compel - to
3        ascertain why they have mistreated the Filmmaker from day one and now refuse to issue
4        the rebate which is very small and nominal compared with the big Hollywood movies.
5     17. Imagine the incredible audacitv: The Defendants treated Filmmaker with complete

6        contempt when his whole mission was to honor the memory of a brave Hawaiian queen,
7        and in doing so, casted over 98% of Native Hawaiian/Polynesians in his cast.
8     18. Attorney and Filmmaker Tim Chey is a well-respected attorney, philanthropist, film
9        producer, and director of 12 films with two Academy-Award winning actors.
10    19. Chey is one of the top faith-based writer/directors in the U.S. of 12 feature films,
11       including *David and Goliath'(Jerry Sokolosky)filmed in North Afiica and London,
12        The Genius Club'(Tom Sizemore, Stephen Baldwin, Tricia Heifer)'Suing the Devil'
13       (Malcolm McDowell,Tom Sizemore, Corbin Bemsen),'Freedom'(Cuba Gooding, Jr.,
14       Sharon Leal, William Sadler), Fakin' Da Funk(Pam Grier, Bo Jackson, Ernie Hudson),
15       "Slamma Jamma"(Michael Irvin, Jose Canseco), and 'The Islands'(John Savage, Mira
16        Sorvino).

17    20. Chey has made guest appearances on Fox Moming News,NBC,TBN,and other national
18       TV shows. His work has been disseminated in the Wall Street Journal, NY Times,LA

19        Times, Roger Ebert, CNN,ABC Family, Lifetime, USA Networks,TRU,History
20        Channel, and over 100 more media outlets.
21    21. Filmmaker declares, under the penalty of periurv. that he has never been sued or sued any

22        government agency. He also declares again Defendants were the most incompetent
23        governmental film employees he has ever worked with in his 22 years and 12 movies in
24        the industry.

25    22. Plaintiff is also a Consumer Advocate who is filing this case to protect other innocent
26        filmmakers,regardless of their beliefs or faith, from having to go through what he
27        endured.

28




                                             Complaint - 4
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 5 of 133                                PageID #: 5




1          23. Filmmaker was left with no altemative but to file this action in the wake of the overt and

2             repeated acts of willful and malicious actions by Defendants.
3    24.      While Filmmaker loved working with the local crew, and thought the majority ofthem
4          were fantastic, he is exiting from making any further films in Hawaii. He believes he was
5          thoroughly sabotaged by a core group of bigoted, and quite vicious people, who disavow
6          Christianity in Hawaii.
7    25.      Filmmaker suffered death threats and physical abuse at the hands of this core group of
8          people that have actively smeared Filmmaker at every tum. Plaintiff Filmmaker needs to
9          ascertain who was involved and will expand the Defendant's class once he finds out.
10   26.      Defendants Benita Brazier and Donne Dawson clearly acted outside of their agency
11         capacity in denying the rebate and the Hawaii State AG should not defend them.
12   27.      Plaintiff is also filing a state whistle-blower lawsuit in the State of Hawaii that the Hawaii
13         Film Office has wasted the Hawaii taxpayer's dollars by letting Hollywood studios receive
14         possibly millions of dollars in unauthorized rebates.
15   28.      Plaintiff may file a complaint with the FBI to hold investigations into what occurred and
16         why Filmmaker was discriminated against in such blatant and malicious ways by Defendants
17         individually and collectively.
18


19                                          STATEMENT OF FACTS

20


21         29. On or about April 2017, Filmmaker began pre-production of one of most ambitious
22             movies on Hawaii history ever - on the lives of Chiefess Kapiolani, King Kamehameha,
23             Captain Cook, and Queen Liliuokalani.
24         30. The film made news around the world, including US News and World Report, NBC,
25             ABC,and local Hawaiian media(Hawaii News Now,Star Advertiser, KHON,KITV, et
26             al).

27


28




                                                 Complaint - 5
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 6 of 133                           PageID #: 6




 1    31. As the Plaintiff/Filmmaker Tim Chey is a devout Christian, the first film he wanted to put

2        into production was the compelling story of Chiefess Kapiolani who found Christ and
 3       went to the top ofthe volcano to proclaim her new-found faith in the Lord.
4     32. Filmmaker enlisted a Native Hawaiian professor at the University of Hawaii who teaches
5        Native Hawaiian history to help research and co-write the script. Yet a core group of
6        people who oppose Christianity in Hawaii conspired against the Filmmaker. Filmmaker
7        has 'smoking-gun' evidence of this and will release this during discovery and at the trial.
8     33. Filmmaker is contemplating suing this group later in 2019- he first wants to get this case
 9       moving forward to a 2019/2020 trial.
10    34. On or about March 2017, Filmmaker decided to film 'The Islands' after being assured
11       that the Defendant Hawaii Film Office would give a 20% rebate on the budget that the
12       Film Office gives to all filmmakers. This was extremely important to the Filmmaker as
13       many production companies base their entire decision for where to film based on the

14       movie tax credits of each state. This is common industry knowledge and practice.

15    35. Also, the 20% rebate is critically important for P&A (prints and advertising)for the
16       film's exposure and marketing funds.
17    36. Had Filmmaker known that Defendants would even attempt not to reward the 20% rebate
18       because they didn't like the content ofthe movie, the Filmmaker's beliefs, or his
19       personality per se. Filmmaker would never have even launched such a huculean effort in
20        making the film, including casting an Academy-Award winning actress, a legendary
21       actor, and a 98% Native Polynesian cast. Filmmaker would simply have made another
22       film in another state. Filmmaker has made 12 movies in 22 years. He did not need the
23        horrific grief imposed by Defendants collectively.
24    37. It is very rare for any governmental agency to act as juvenile, vindictive, and incompetent
25        as the Hawaii Film Office. It's astonishing as Filmmaker has worked with the

26        Connecticut. Lousiana. Virginia. Fiji. California. Michigan, and North Carolina film

27        offices with absolutely no issues or problems. In fact, the Connecticut Film Office gave

28




                                            Complaint - 6
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 7 of 133                          PageID #: 7




1        Filmmaker his 30% tax rebate for 'Freedom'(Cuba Gooding, Jr., Sharon Leal, William
2        Sadler) within 30 days after the paperwork was turned in.
3     38. But Filmmaker again reminds the Court that the state agencies of Hawaii were given a
4        D+ for integrity and Hawaii is considered the most corrupt government of any state in the
5        U.S. This has to improve now or the $13 billion rail program will never be finished in our
6        lifetime. This is not a slight on the hard-working Hawaii government employees, but to
7        the small vocal minorities who pride themselves on laziness and ineptness as a way of
8        life.

9     39. From the start of the movie until post-production. Filmmaker made the 20% rebate the
10       number one priority as he realized how significant the rebate was. It was 20% ofthe
11       entire budget and this was to put bread on the table of a faith-based filmmaker.
12    40. On or about April 2017, Filmmaker received a strange message from one of the
13       employees ofthe Hawaii Film Office. She said she had 'concerns' about Filmmaker's
14        movie and to call her. Filmmaker returned her call and assured her that one of his co-

15        writers was a well-respected Native Hawaiian professor at the University of Hawaii who
16       taught Native Hawaiian history.
17    41. Nevertheless, this is a complete violation of Filmmaker's 1®' Amendment rights for a
18        government agency to inquire about the content of a movie — it's almost unheard of.
19       Imagine a California agency calling a Hollywood studio and 'inquiring' about the content
20        ofthe horror movie 'The Nun'. The outrage would be worldwide. This is no different.
21    42. Having a Hawaii state agency calling to say there's a problem with Filmmaker's
22        Christian movie reeks of U* Amendment problems offree speech. This also further
23        confirms the outrageous conduct of a state agency -simply put, no state agency in the
24        other 49 states would do this.

25    43. The history of Chiefess Kapiolani's leadership brought Christianity to Hawaii. This is the
26        issue ofthose who oppose it. Filmmaker gets it and totally understands the hatred as
27        Jesus himself said "Ifthey hated me,they will hate you."(John 15:18).
28




                                            Complaint - 7
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 8 of 133                          PageID #: 8




1     44. Nevertheless, Hawaii is officially part ofthe United States and must adhere to federal
2        laws or there will be absolute chaos. The rejection ofthe rebate to Filmmaker is the

3        beginning ofthe end.
4     45. Again,the film is based on a true story and anything done on the governmental level to
5        oppose Filmmaker is complete and total discrimination against his religion and
6        imequivocably violates the Filmmaker's First Amendment rights to free speech.
7     46. The events ofthe core group to oppose Filmmaker's telling ofthe history started the
8        entire chain-of-events as Filmmaker would not back down from making the film.
 9    47. Filmmaker received death threats before and during shooting. His staff had to file police
10       reports to the incompetent Honolulu police who did absolutely nothing despite even
11       having the name ofthe alleged perpetrator.
12    48. Filmmaker alleges that possible elements or people in the Hawaii Film Office have also
13       been part of a smear campaign against many historical Hawaiian films, including
14       Filmmaker's movie.

15    49. In addition to death threats. Filmmaker was up against many other deep hurdles,
16       including union threats and Hawaiian activists who threatened to shut down the
17        production on numerous instances.
18    50. In over 60 emails and phone calls. Filmmaker worked diligently to make sure every
19        single receipt, GET tax id of every single crew member and cast member was obtained.
20    51. Filmmaker fulfilled each and every requirement methodically and precisely because he
21        knew the Defendant Hawaii Film Office might try something sneaky. Filmmaker even
22        has proof that one email mistakenly forwarded to Filmmaker showed the Defendants
23        were already conspiring to 'get' Filmmaker'(See Exhibit H).
24    52. This process of getting all the requirements for the Hawaii Film Office took over 13
25        weeks and Filmmaker calculates over 240 hours of man time.

26    53. Filmmaker is also a Harvard-educated attorney and bills at $550 an hour. So by just
27        multiplying 240 x $550 would come to $192,000. This is how important the rebate back
28




                                            Complaint - 8
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 9 of 133                          PageID #: 9




1        from the Hawaii Film Office was to the Filmmaker and the Filmmaker asks the Court to

2        consider the $192,000 as additional damages aside from the punitive damages.

3     54. Again, the Hawaii Film Office has blatantly lied in their refusal to credit the Filmmaker
4        with the 20% rebate. There is no reason, outside of their wanting to teach Filmmaker a

5        lesson, to withhold the tax certificate. Filmmaker fulfilled every requirement.
      55. Filmmaker tries to show the love of Jesus to everyone he can. Should Defendants even
7        broach any issues that demean or slander Filmmaker, Filmmaker will amend this lawsuit
8        to include defamation and/or libel and slander. Filmmaker is very confident he would win
9        any Anti-Slapp Motion as he has been more than diligent in the entire application
10       process.

11    56. The fact that Defendants did not alert Filmmaker that he was ^lacking' in further proofof

12       receipts for more than 9 months is further proof offraud and deceit that would later rise

13       up again on much more serious levels.

14    57. On or about September 2017, Filmmaker put in several calls to Defendant Brazier to
15        make sure every 'T' was crossed and every T was dotted. Filmmaker wanted to make
16       sure there would be no problems with getting the 20% rebate back. This was critical as he
17        would not have filmed in Hawaii.

1a    58. On or about September 2017, Defendant Brazier repeatedly told Filmmaker that he did
19        not need to get the GET Tax Ids for established businesses in Hawaii as they were
20        obviously paying tax to the Hawaii government.
21    59. This proved to be yet another misrepresentation.
22    60. On or about September 2018, almost a year later. Defendants Dawson and the Hawaii
23        Film Office suddenly demanded that all the GET tax IDs should be listed. This is another
24        brazen and fraudulent attempt to deny Filmmaker his just rebate. Filmmaker did, in fact,

25        list every single GET Tax ID. Somehow,they lost the paperwork or it was malicously
26        destroyed.
27    61. In Defendant's one page sheet they sent to Filmmaker - that possibly took less than an
28        hour to do -not 9 months-they also said the GET Tax IDs were wrong when in fact



                                             Complaint - 9
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 10 of 133                           PageID #: 10




 1        they were correct. Further proof that they were desperately trying anything to not give the
 2        Filmmaker his rebate.

 3     62. The entire one-page sheet is filled with complete wrong assumptions, numbers,and math.
 4        It's like a third-grader put it together hoping this would pass and Filmmaker would go
 5        away.

 6     63. On or about October 2017 and three weeks before shooting, Defendant Brazier contacted
 7        the production's UPM and gave the UPM the actual budget figures. This is a text-book
 8        case ofconflict of interest. The UPM knew Defendant Brazier and was never given
 9        authorization to have any confidential numbers or should receive them as this person was
 10       only the UPM.The production ended up firing the UPM for gross incompetence and was
 11       later sued by the UPM in small claims.
 12    64. Had Filmmaker known this conflict of interest and gross breach of privacy, he would
 13       have immediately requested another contact to work with at the Hawaii Film Office,
 14       because ofthe industry rule/code that key positions should not be filled by ANY
 15       partnership team because again if one is fired, the other will quit or have to be fired as
 16       well.

 17    65. Filmmaker believes and alleges that the UPM's firing has contributed to the Hawaii Film
 18       Office defrauding Filmmaker out of his rightful 20% rebate as the UPM sent a letter to
 19       the office violating the confidentiality provision of her signed contract. No other true
 20       professional in the industry would do this.
 21    66. This unprofessional, sneaky, and juvenile high school conduct is another reason why
 22       Filmmaker will never film in Hawaii again.
 23    67. On or about November 2017, Filmmaker, to make sure every single requirement was met,
 24       personally emailed Defendant Brazier to have any Film Office employee or government
 25       legislator come to the set(see EXHIBIT B). This requirement is buried in the forms, but
 26       this email again proves how meticulous Filmmaker was in fulfilling every single
 27       requirement including this obscure provision.
 28




                                             Complaint - 10
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 11 of 133                         PageID #: 11




 1     68. On or about November 17,2017, Filmmaker submitted the preliminary budget to the
 2        Film Office (see EXHIBIT C). As the Honorable Court can see, the preliminary

 3        requirements were met except for two items which were later fulfilled and never a subject
 4        of dispute.
 5     69. At no time did the Hawaii Film Office ever contact the Filmmaker to alert him to

 6        anvthing that was not completed or out ofthe ordinarv. In fact, thev were silent for

 7        almost eight months.

 8     70. On or about November 20,2017, Filmmaker again inquired about the $1,000 contribution
 9        that was required to be made to the University of Hawaii Foundation (see EXHIBIT D).
10        This again shows how astute and careful Filmmaker was to the requirements set forth by
11        the Hawaii Film Office.'
12     71. Filmmaker then donated $1,000 to the University of Hawaii Foundation in accordance to
13        the requirements(Filmmaker and his wife give 90% oftheir wealth away to charity or to
14        their faith-based endeavors).

15     72. On or about December 2017, Filmmaker received the pre-qualification letter(See
16        EXHIBIT E and F). At no point, did the Hawaii Film Office ever question or comment on
17        any part of the fihn's production or requirements.
18     73. Multiple calls from March 2017 to Februarv 2018 to Defendant Brazier again confirmed

19        Filmmaker was on track to receive his rebate.

20     74. On or about December 11, 2017, the Hawaii Film Office submitted an email(See
21        EXHIBIT G)which outline precisely the 7 remaining requirements left to get the tax
22        certificate.

23


24


25
     ^ The $1,000 requirement is yet another misprepresentation of the Hawaii Film
26
     Office's advertising and promotions as this falls beneath the 20% rebate back
27
     then, i.e., you have to pay an additional $1,000 to be considered for a
28
     rebate.




                                            Complaint - 11
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 12 of 133                           PageID #: 12




 1     75. Filmmaker fulfilled every single requirement and more so and will testify, xmder the

 2        penalty of perjury (that carries a jail sentence), that every single requirement was fulfilled

 3        with complete honesty and integrity.

 4     76. This will be proven with 'smoking-gun' evidence at trial and during the Motion for
 5        Summary Judgment.

 6     77. To reiterate the point again, had Filmmaker not been deceived by Defendant's action,
 7        Filmmaker would not have filmed any movie in Hawaii. Period.

 8     78. Nevertheless, it gets worse.

 9     79. On or about December 11,2017, Filmmaker sent an email simply re-confirming what
 10       constitutes a vendor by the Hawaii Film Office (see EXHIBIT H).
 11    80. In the mostjuvenile and condescending response, Defendant Brazier replied to Defendant
 12       Dawson,"Should we use the definition of vendor in the dictionary???" She imwittingly
 13       copied herself in her reply to the Filmmaker.
 14    81. As it turns out, this requirement is the exact same thing the Hawaii Film Office
 15       fraudulently used in their desperate attempts to sabotage, smear, and hurt Filmmaker by
 16       denying the rebate. They questioned what constitutes a vendor. It's the 'Confederacy of
 17       Dunces' all over again.

 18    82. This also proves the immature lengths the Defendants, collectively, have gone to avoid
 19        giving the Filmmaker his earned rebate. It's run like a junior high school.
 20    83. Again. Filmmaker has worked with the film departments of Connecticut. Louisiana.

 21        Georgia. Virginia. North Carolina. California, et al and has never encountered such an

 22       immature, hostile, mean-spirited, incompetent, sneaky, slow, sensitive, and

 23        maniupulative conduct ever. Filmmaker has been in the business for over 22 years again

 24        and has made 12 movies.

 25    84. The Filmmaker again believes the Honorable U.S. District Court and jury will find
 26        sufficient evidence in the months,and possible years to come,of another corrupt
 27        Hawaiian government agency that needs Federal investigation.
 28




                                             Complaint - 12
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 13 of 133                          PageID #: 13




 1     85. Filmmaker will depose all of the parties at the Hawaii Film Office and past UPMs and
 2        line producer of every single past film to prove there is widespread and gross
 3        incompetence at every level.
 4     86. Filmmaker also plans to file a whistleblower lawsuit against the Hawaii Film Office and
 5        the Hollywood studios for wasting the taxpayer's money. Filmmaker will file motions to
 5        compel the paperwork to see every single budget that the Film Office has given millions
 7        of dollars to the studios and yet denied a simple rebate to the Filmmaker.
 8     87. On or about December 2017, Filmmaker fmished the final paperwork and contacted the
 9        Defendant Hawaii Film Office to begin the tax rebate final process and was told the tax
10        certificate would be sent within 3 to 6 months. — which is also stated on the Hawaii Film

11        Office website and on their official forms. It is now October 2018 at the time of the filing

12        of this suit. This is tragic in every respect.
13     88. Again, having the tax certificate was critical in both post-production money and for the
14        investors. The Defendants were fiilly aware of this.

15     89. Despite numerous emails, Defendants repeatedly dragged their feet and returned emails
16        sometimes a month later.

17     90. They then stated Filmmaker had to do other tasks that were never in the intital
18         conversations.

19     91. Filmmaker shook his head in disbelief. Filmmaker immediately sensed something was
20         terribly wrong.

21     92. Again, Defendants hid the relationships ofthose that created fnction and their motives of
22        'teaching the filmmaker a lesson' by delaying the tax certificate to now 9 months. This a
23         textbook case offraud and deceit.

24     93. Again,Filmmaker would never have filmed a movie in Hawaii had he known ofthis
25         fraud and deceit, mispresentation, civil conspiracy and other conduct the Hawaii Film
 26        Office would so brazenly do.
 27


 28




                                              Complaint - 13
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 14 of 133                          PageID #: 14




  1    94. Furthermore, they even admitted themselves that the office has come under intense
 2        scrutiny by legislatures for previous blunders which will be part of the whistleblower
 3        lawsuit. This again is total fraud and deceit and a total conflict ofinterest.

 4     95. Defendants went bevond being craftv/sneakv to fraud and deceit as the Court will see

 5        throughout this Complaint. These are the most dishonorable actions that Filmmaker has

 6        ever worked with in 22 vears. Here Filmmaker shot a movie that would honor a

 7        Hawaiian Chiefess, pay good-paying jobs to Hawaiian/Polynesians, and the Hawaii Film
 8        Office back-stabbed him by deceiving him and playing little juvenile high-school games
  9       no other film office of any state would dare to do.
10     96. If in fact, the Hollywood studios have not gone through this level offraud, then the
 11       Hawaii Film Office, complete with starry, wide eyes, have discriminated against the
12        Filmmaker either through his religious beliefs(a violation of the First Amendment)or
13        against him as an independent filmmaker(a violation ofthe Hawaii Whistleblower Act)
 14       This is a text-book case of self-dealing.

15     97. On or about August 2018, Filmmaker sent several emails to the Attomey General's office
16        and the Govemor's office to attempt to understand why the Hawaii Film Office was

17        taking so long. The Hawaii Film Office refused to answer any emails.
18     98. Something was trulv wrong here.

 19    99. Finally, after legal threats, the Hawaii Film Office, in the most overt fi*aud ofperhaps any
 20       governmental agency in the state, then sent Filmmaker an astounding list ofcomplete lies
 21       and fabrications.

 22    100.       Defendants said because Filmmaker has not proved any of his receipts, he is not
 23       entitled to a 20% rebate. Filmmaker immediately knew he was duped.

 24    101.       The Hawaii Film Office sent a list ofrequirements that are filled with complete
 25       fraud and lies. It's almostjaw-dropping how each remaining requirement had already
 26        been fulfilled.

 27    102.        The Hawaii Film Office sent a one-vase sheet that looked like it took ten minutes

 28        to do - not 9 months (see Exhibit A). The Filmmaker will show this smacks of the




                                             Complaint - 14
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 15 of 133                             PageID #: 15




 1         juvenile and utterly fraudulent way the Hawaii Film Office went to avoid paying the 20%
 2          rebate.

 3      103.          Among the several 'items' that Hawaii Film Office said the Filmmaker had to
 4          prove was the actual shooting location of Kualoa Ranch(See Exhibit A). Filmmaker sent
 5         the bill, the cancelled checks, and the Defendants still said Filmmaker could not prove
 6          this expense. A simple phone call could verify this expenditure.
 7      104.          The sheet again shows scores of names of crew that Filmmaker alreadv gave the

 8          Hawaii Film Office everv single GET Tax ID that thev required. Yet it ignores kev
                                                              •                                     2
 9          actor's salaries, kev equipment rentals, hotels -it's an absolute fraudulent document.

 10     105.          Defendants Benita Brazier and Donne Dawson clearly acted outside the scope of
 11         their agency in wanting to pay back Filmmaker in retribution for several reasons
 12         Filmmaker will prove at trial.

 13     106.          The State of Hawaii should not defend Ms. Brazier or Ms. Dawson.

 14      107.         Filmmaker will call on several key witnesses in the cast, crew, and extras to prove
 15         the Film Office is in disarray. He expects the trial to go for at least ten weeks and asks the
 16         Honorable Court's patience as Filmmaker is bracing for extensive discovery(and
 17         possible Motions to Compel with sanctions) to take place during this litigation.
 18      108.         This case is very important as there must be freedom of speech in Hawaii and that
 19         federal law still supercedes state law. Hawaii is part of America and most Hawaiians
 20         want that.

 21      109.         Filmmaker will subpeona every crew member for depositions to testify to the
 22         events as true. And if Defendants lie during their sworn depositions. Filmmaker will file a
 23


 24
      ^ The one-sheet contains over 50 crew and cast that have already been
 25
      accounted for. The only way to explain the red marks is the Hawaii Film
 26
      Office is doing everything possible to sabotage and not pay Filmmaker. This
 27
      is indisputable evidence. Filmmaker will submit all of the evidence during
 28
      discovery and will file a Motion to seal the documents.




                                                Complaint - 15
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 16 of 133                         PageID #: 16




 1        criminal complaint with the D.A. for perjury and possible Federal intervention.
 2        Filmmaker will begin depositions within 30 days of the service ofthe Complaint to get a
 3        head start on all discovery.
 4     110.      Filmmaker believes the damages to the movie are permanent and irrecoverable
 5        due to Defendant's actions.

 6     111.      It is paramount that the Honorable Court grant Filmmaker broad discretion in
 7        ascertaining what is going on as Filmmaker expects to file multiple Motions to Compel as
 8        the Defendants have proven themselves deftly good at avoiding or ignoring questions
 9        pertaining to their conduct.
10     112.      Defendant's actions left the film in total chaos. The film went overbudget because
11        oftheir actions and the Filmmaker had to pay the overbudget out of his own pocket.

12     113.      Again, Filmmaker testifies, under penalty of perjury, that he has never sued any

13        governmental agency in his entire life.

 14    114.      Filmmaker will depose Defendants Benita Brazier, Donne Dawson in November.
 15       He will then depose other filmmakers who have shot movies in Hawaii.
 16    115.      Filmmaker will file a Pre-Judgment Writ of Attachment on all of Defendant's
 17       personal and corporate assets and believes he has been damaged by no less than $135
 18       million in actual and punitive damages and will spend the next 5 years outlying the case
 19       against the Defendants. They need to be punished severely for their contemptible
 20       mistreatment of a filmmaker who tried to honor the people of Hawaii and their valiant
 21       and courageous leader two hundred years ago.
 22    116.      Filmmaker is exiting making the next films in Hawaii and the damages are stark
 23       and real - due mostly because of Defendant's fraud and deceit. This will be calculated in
 24       the damages against Defendants.
 25    117.      Filmmaker also will depose crew members and others who Defendants devulged
 26       confidential information.

 27    118.      Filmmakers request the court to expedite discovery and set a trial date in the most
 28       expeditious manner if possible




                                            Complaint - 16
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 17 of 133                        PageID #: 17




 1     119.      Filmmaker also intends to file a Motion to Allow Public Cameras in the

 2        courtroom to prevent this type of behavior from happening again to other worthy
 3        filmmakers.

 4     120.      Should Filmmaker prevail, he will gamish the wages of Defendants who acted
 5        outside the scope oftheir agency employment and who the State must not represent,
 6     121.      Should Defendants Benita Brazer or Donne Dawson declare bankruptcy,
 7        Filmmaker will file an Adverse Proceeding with the U.S. Bankruptcy Court blocking any
 8        bankruptcy from going through
 9


 10                         COUNT 1-FRAUD AND DECEIT
 11



 12    122.      Filmmaker repeats and realleges each and every allegation contained in
 13       paragraphs 1 through 122 above as if fully set forth herein
 14    123.      Filmmaker is a champion of other artists and has fought for their rights and will
 15       fight against this scam run by Defendants
 16    124.      Furthermore, Defendants either negligently erred or intentionally defi-auded
 17       Filmmaker,

 18    125.      Filmmaker is informed, and believes and, based thereon alleges, that at the time

 19       Defendants made the above promises, inducements, and representations to Filmmaker to
 20       induce Filmmaker to film in Hawaii, they were false in that defendants did not intend to
 21       fulfill the promises, inducements and representations to Filmmaker,
 22    126.      Filmmaker is further informed and believes and, based thereon alleges, that such
 23       promises,inducements and representations by Defendants were made with the intent to
 24       induce Filmmaker to enter into Agreement to receive a rebate back fi*om shooting in
 25       Hawaii and to render performance thereunder.
 26    127.      In strict and absolute reliance upon such false promises, inducements, and
 27       representations by Defendants, Filmmaker was induced to enter into the Agreement and
 28




                                            Complaint - 17
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 18 of 133                            PageID #: 18




 1        to sign off on 10 years of hard work to bring the history of Hawaii to fmition-only to be
 2        rejected by Defendants.

 3     128.      At the time Filmmaker took such actions, it was ignorant ofthe falsity of
 4        Defendant's promises, inducements and representations and, in the exercise ofreasonable
 5        diligence, could not have discovered its intentions: the financial straits due to the failure
 6        oftheir performance; and the outright deceit by Defendants. This conduct warrants
 7        punitive damages by this court and by the jury and this conduct 'pierces the corporate
 8        veil' so the Defendants are not able to stand behind their governmental employee
 9        contracts, but rather are personally liable for this fraud and deceit.
10     129.      The Defendants have essentially 'raped' the Filmmaker ofthe bread off his table
11^       and destroyed three future movies that took ten years to create. They must be held
12        personally and corporately liable. Defendant's action falls completely outside the scope
13        of a normal government interaction and the Hawaii AG should not defend them as this is
14        a complete waste oftaxpayer dollars. Filmmaker is confident the Court and the jury of
15        the general public will understand it and rule in his favor.
16     130.      Had Filmmaker known the truth, and known of Defendants's intentions, he would

17        never have filmed his movie in Hawaii. Filmmaker has 'smoking gxm' evidence in the
18        form ofthe rejection email and the fraudulent one-sheet filled with mistakes and deceit
19        and of60 phone calls and emails sent back and forth between Defendants and Filmmaker
20        that should serve as clear and demonstrative evidence of true intent.

21     131.       Filmmaker's intention is very clear: He had high hopes for both films and it's the
22        sole reason he would film in Hawaii. The language is crystal-clear in the Hawaii
23        Production Report and thus the court should award a Motion for Summary Judgment in
24        favor ofthe Filmmaker.

25     132.       As a direct and proximate result ofthe foregoing material breaches of the signed,
26        written contract. Filmmakers have been damaged in an aggregate amount to be
 27       determined at trial, in excess ofthe jurisdictional minimum of this court, believed to be
 28       no less than $135 million.




                                             Complaint - 18
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 19 of 133                         PageID #: 19




      COUNT2-BREACH OF IMPLIED COVENANT OF GOOD FAITH
                                   AND FAIR DEALING


 5     133.      Filmmaker repeats and realleges each and every allegation contained in
 6        paragraphs 1-133 through above as iffully set forth herein
 7     134.      Every contract imposes upon each party a duty of good faith and fair dealing in its
 8        performance and its enforcement." However,"[t]he implied covenant 'is designed to
 9        effectuate the intentions and reasonable expectations of parties reflected by mutual
 10       promises within the contract.'
 11    135.      All ofthe following elements must exist to state a claim for breach ofthe duty of
 12       good faith and fair dealing in a contract action:(1)A contractual relationship between the
 13       parties;(2)Filmmaker's performance, or excuse from performance, ofthe obligations
 14       under the contract;(3)An allegation that the defendant unfairly prevented Filmmaker
 15       from receiving the benefits that Filmmaker was entitled to receive under the Hawaii Film
 16       Office 20% rebate to tall filmmakers; and(4) An allegation that defendant's conduct
 17       resulted in harm to the Filmmaker.

 18    136.      This is a text book case of breaching an implied covenant of good faith.

 19    137.      On or about April 2017, Filmmaker began pre-production ofone of most
 20       ambitious movies on Hawaii history ever - on the lives of Chiefess Kapiolani, King
 21       Kamehameha, Captain Cook,and Queen Liliuokalani
 22    138.      The film made news around the world, including US News and World Report,
 23       NBC,ABC,and local Hawaiian media(Hawaii News Now, Star Advertiser, KHON

 24       KITV,et al)

 25    139.      As the PlaintiffrFilmmaker Tim Chey is a devout Christian, the first film he
 26       wanted to put into production was the compelling story of Chiefess Kapiolani who found
 27       Christ and went to the top ofthe volcano to proclaim her new-found faith in the Lord
 28




                                           Complaint - 19
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 20 of 133                           PageID #: 20




 1     140.       Filmmaker enlisted a Native Hawaiian professor at the University of Hawaii who
 2        teaches Native Hawaiian history to help research and co-write the script. Yet a core group

 3        of people who oppose Christianity in Hawaii conspired against the Filmmaker.
 4        Filmmaker has 'smoking-gun' evidence ofthis and will release this during discovery and
 5        at the trial.

 6     141.       Filmmaker is contemplating suing this group later in 2019- he first wants to get
 7        this case moving forward to a 2019/2020 trial.
 8     142.       On or about March 2017, Filmmaker decided to film 'The Islands' after being

 9        assured that the Defendant Hawaii Film Office would give a 20% rebate on the budget
10        that the Film Office gives to all filmmakers. This was extremelv important to the
11        Filmmaker as manv production companies base their entire decision for where to film

12        based on the movie tax credits of each state. This is common industry knowledge and

13        practice.

14     143.        Also, the 20% rebate is critically important for P&A (prints and advertising) for
15        the film's exposure and marketing fimds.
16     144.       Had Filmmaker known that Defendants would even attempt not to reward the
17        20% rebate because they didn't like the content ofthe movie, the Filmmaker's beliefs, or
18        his personality per se, Filmmaker would never have even launched such a huculean effort
19        in making the film,including casting an Academy-Award winning actress, a legendary
20        actor, and a 98% Native Polynesian cast. Filmmaker would simply have made another
21        film in another state. Filmmaker has made 12 movies in 22 years. He did not need the
22        horrific griefimposed by Defendants collectively.
23     145.       It is very rare for any govemmental agency to act as juvenile, vindictive, and
24        incompetent as the Hawaii Film Office. It's astonishing as Filmmaker has worked with
25        the Connecticut. Lousiana. Virginia. Fiji. Califomia. Michigan, and North Carolina film

26        offices with absolutelv no issues or problems. In fact, the Connecticut Film Office gave

 27       Filmmaker his 30% tax rebate for 'Freedom'(Cuba Gooding, Jr., Sharon Leal, William
 28       Sadler) within 30 days after the paperwork was turned in.




                                             Complaint - 20
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 21 of 133                         PageID #: 21




 1     146.      From the start ofthe movie until post-production, Filmmaker made the 20%
 2        rebate the number one priority as he realized how significant the rebate was. It was 20%

 3        of the entire budget and this was to put bread on the table of a faith-based filmmaker.
 4     147.      On or about April 2017, Filmmaker received a strange message from one ofthe
 5        employees ofthe Hawaii Film Office. She said she had ^concerns' about Filmmaker's
 6        movie and to call her. Filmmaker returned her call and assured her that one of his co-

 7        writers was a well-respected Native Hawaiian professor at the University of Hawaii who
 8        taught Native Hawaiian history.
 9     148.      Nevertheless, this is a complete violation ofFilmmaker's 1®* Amendment rights
 10       for a government agency to inquire about the content of a movie - it's almost unheard of.
 11       Imagine a California agency calling a Hollywood studio and 'inquiring' about the content
 12       of the horror movie 'The Nun'. The outrage would be worldwide. This is no different.
 13    149.      Having a Hawaii state agency calling to say there's a problem with Filmmaker's
 14       Christian movie reeks of 1 Amendment problems offree speech.
 15    150.      The history of Chiefess Kapiolani's leadership brought Christianity to Hawaii.
 16       This is the issue ofthose who oppose it. Filmmaker gets it and totally understands the
 17       hatred as Jesus himself said "If they hated me,they will hate you."(John 15:18).
 18    151.      Nevertheless, Hawaii is officially part ofthe United States and must adhere to
 19       federal laws or there will be absolute chaos. The reiection ofthe rebate to Filmmaker is

 20       the beginning ofthe end and shows the Defendants collectivelv breached the implied

 21       covenant of good faith starklv and maliciouslv.

 22    152.      Again, the film is based on a true story and anything done on the governmental
 23       level to oppose Filmmaker is complete and total discrimination against his religion and
 24       unequivocably violates the Filmmaker's First Amendment rights to 6*00 speech.
 25    153.      The events ofthe core group to oppose Filmmaker's telling ofthe history started
 26       the entire chain-of-events as Filmmaker would not back down fi-om making the film.
 27


 28




                                            Complaint - 21
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 22 of 133                         PageID #: 22




 1     154.      Filmmaker received death threats before and during shooting. His staff had to file
 2        police reports to the incompetent Honolulu police who did absolutely nothing despite
 3        even having the name ofthe alleged perpetrator.
 4     155.      Filmmaker alleges that possible elements or people in the Hawaii Film Office
 5        have also been part of a smear campaign against many historical Hawaiian films,
 6        including Filmmaker's movie.
 7     156.      In addition to death threats, Filmmaker was up against many other deep hurdles,
 8        including union threats and Hawaiian activists who threatened to shut down the
 9        production on numerous instances.
10     157.      In over 60 emails and phone calls. Filmmaker worked diligently to make sure
11        every single receipt, GET tax id ofevery single crew member and cast member was
12        obtained.

13     158.      Filmmaker fulfilled each and every requirement methodicallv and precisely

 14       because he knew the Defendant Hawaii Film Office might try something sneaky.

15        Filmmaker even has proofthat one email mistakenly forwarded to Filmmaker showed
16        the Defendants were already conspiring to 'get' Filmmaker'(See Exhibit H).
17     159.      This process of getting all the requirements for the Hawaii Film Office took over

 18       13 weeks and Filmmaker calculates over 240 hours of man time.

 19    160.      Filmmaker is also a Harvard-educated attorney and bills at $550 an hour. So by
 20       just multiplying 240 x $550 would come to $192,000. This is how important the rebate
 21       back from the Hawaii Film Office was to the Filmmaker and the Filmmaker asks the

 22       Court to consider the $192,000 as additional damages aside from the punitive damages.
 23    161.      Again, the Hawaii Film Office has blatantly lied in their refusal to credit the
 24       Filmmaker with the 20% rebate. There is no reason, outside of their wanting to teach

 25       Filmmaker a lesson, to withhold the tax certificate. Filmmaker fulfilled every

 26       requirement.
 27    162.      Filmmaker tries to show the love of Jesus to everyone he can. However,should
 28       Defendants even broach any issues that demean or slander Filmmaker, Filmmaker will



                                            Complaint - 22
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 23 of 133                        PageID #: 23




 1        amend this lawsuit to include defamation and/or libel and slander. Filmmaker is very

 2        confident he would win any Anti-Slapp Motion as he has been more than diligent in the

 3        entire application process.
 4     163.      The fact that Defendants did not alert Filmmaker that he was 'lacking' in further

 5        proof ofreceipts for more than 9 months is further proofoffraud and deceit that would

 6        later rise up again on much more serious levels.

 7     164.      On or about September 2017, Filmmaker put in several calls to Defendant Brazier
 8        to make sure every 'T' was crossed and every T was dotted. Filmmaker wanted to make
 9        sure there would be no problems with getting the 20% rebate back. This was critical as he
10        would not have filmed in Hawaii.

11     165.      On or about September 2017, Defendant Brazier repeatedly told Filmmaker that
12        he did not need to get the GET Tax Ids for established businesses in Hawaii as they were
13        obviously paying tax to the Hawaii government.
14     166.      This proved to be yet another misrepresentation.
15     167.      On or about September 2018, almost a vear later. Defendants Dawson and the
16        Hawaii Film Office suddenly demanded that all the GET tax IDs should be listed. This is
17        another brazen and firaudulent attempt to denv Filmmaker his just rebate. Filmmaker did,

18        in fact, list every single GET Tax ID. Somehow,they lost the paperwork or it was
19        malicously destroyed.
20     168.      In Defendant's one page sheet they sent to Filmmaker - that possibly took less
21        than an hour to do — not 9 months — they also said the GET Tax IDs were wrong when in
22        fact they were correct. Further proofthat they were desperately trying anything to not
23        give the Filmmaker his rebate.
 24    169.      The entire one-page sheet is filled with complete wrong assumptions, numbers,
 25       and math. It's like a third-grader put it together hoping this would pass and Filmmaker
 26       would go away.

 27    170.       On or about October 2017 and three weeks before shooting. Defendant Brazier
 28       contacted the production's UPM and gave the UPM the actual budget figures. This is a



                                           Complaint - 23
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 24 of 133                           PageID #: 24




  1       text-book case of conflict of interest. The UPM knew Defendant Brazier and was never

 2        given authorization to have any confidential numbers or should receive them as this

 3        person was only the UPM. The production ended up firing the UPM for gross
 4        incompetence and was later sued by the UPM in small claims.

 5     171.       Had Filmmaker known this conflict of interest and gross breach of privacy, he
 6        would have immediately requested another contact to work with at the Hawaii Film
 7        Office, because ofthe industry rule/code that key positions should not be filled by ANY
 8        partnership team because again if one is fired, the other will quit or have to be fired as
 9        well.

10     172.       Again, this is a textbook case of breaching an implied good covenant in dealings

11     173.       Filmmaker believes and alleges that the UPM's firing has contributed to the
12        Hawaii Film Office defrauding Filmmaker out of his rightful 20% rebate as the UPM sent
13        a letter to the office violating the confidentiality provision of her signed contract. No
 14       other true professional in the industry would do this.
 15    174.       This unprofessional, sneaky, and juvenile high school conduct is another reason
 16       why Filmmaker will never film in Hawaii again.
 17    175.       On or about November 2017,Filmmaker,to make sure every single requirement
 18       was met, personally emailed Defendant Brazier to have any Film Office employee or
 19       government legislator come to the set(see EXHIBIT B). This requirement is buried in the
 20       forms, but this email again proves how meticulous Filmmaker was in fulfilling every
 21       single requirement including this obscure provision.
 22    176.       On or about November 17,2017,Filmmaker submitted the preliminary budget to
 23       the Film Office (see EXHIBIT C). As the Honorable Court can see, the preliminary
 24       requirements were met except for two items which were later fulfilled and never a subject
 25       of dispute.
 26    177.       At no time did the Hawaii Film Office ever contact the Filmmaker to alert him to

 27       anvthing that was not completed or out ofthe ordinarv. In fact, thev were silent for

 28       almost eight months.




                                             Complaint - 24
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 25 of 133                           PageID #: 25




        178.       On or about November 20,2017,Filmmaker again inquired about the $1,000
           contribution that was required to be made to the University of Hawaii Foundation (see
           EXHIBIT D). This again shows how astute and careful Filmmaker was to the
           requirements set forth by the Hawaii Film Office.^
        179.       Filmmaker then donated $1,000 to the University of Hawaii Foundation in
           accordance to the requirements(Filmmaker and his wife give 90% of their wealth away
           to charity or to their faith-based endeavors).
        180.       On or about December 2017,Filmmaker received the pre-qualification letter(See
 9         EXHIBIT E and F). At no point, did the Hawaii Film Office ever question or comment on
10         any part of the film*s production or requirements.
11      181.       Multiple calls from March 2017 to Februarv 2018 to Defendant Brazier again

12         confirmed Filmmaker was on track to receive his rebate.

13      182.       On or about December 11,2017,the Hawaii Film Office submitted an email(See
14         EXHIBIT G)which outline precisely the 7 remaining requirements leff to get the tax
15         certificate.

16      183.       Filmmaker fulfilled everv single requirement and more so and will testify, under

17         the penalty of perjury (that carries a iail sentence), that every single requirement was

18         fulfilled with complete honesty and integrity.

19      184.       This will be proven with 'smoking-gun' evidence at trial and during the Motion
 20        for Summary Judgment.

 21     185.       To reiterate the point again, had Filmmaker not been deceived by Defendant's
 22        action. Filmmaker would not have filmed any movie in Hawaii. Period.

 23     186.       Nevertheless, it still gets worse.

 24



 25
      ^ The $1,000 requirement is yet another misprepresentation of the Hawaii Film
 26
      Office's advertising and promotions as this falls beneath the 20% rebate back
 27
      then, i.e., you have to pay an additional $1,000 to be considered for a
 28
      rebate.




                                              Complaint - 25
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 26 of 133                           PageID #: 26




 1     187.      On or about December 11,2017, Filmmaker sent an email simply re-confirming
 2        what constitutes a vendor by the Hawaii Film Office (see EXHIBIT H).

 3     188.      In the mostjuvenile, condescending, and vicious response. Defendant Brazier
 4        replied to Defendant Dawson,"Should we use the definition of vendor in the
 5        dictionary???" She unwittingly copied herself in her reply to the Filmmaker.
 6     189.      As it turns out, this requirement is the exact same thing the Hawaii Film Office
 7        fraudulently used in their desperate attempts to sabotage, smear, and hurt Filmmaker by
 8        denying the rebate. They questioned what constitutes a vendor. It's the 'Confederacv of
 9        Dunces' all over again.

 10    190.      This also proves the immature lengths the Defendants, collectively, have gone to
 11       avoid giving the Filmmaker his earned rebate. It's run like a junior high school.
 12    191.      Again, Filmmaker has worked with the film departments of Connecticut.

 13       Louisiana, Georgia. Virginia, North Carolina, California, et al and has never encountered

 14       such an immature, hostile, mean-spirited, incompetent, sneakv, slow, sensitive, and

 15       matiiupulative conduct ever. Filmmaker has been in the business for over 22 vears again

 16       and has made 12 movies.

 17    192.      The Filmmaker again believes the Honorable U.S. District Court and jury will
 18       find sufficient evidence in the months, and possible years to come, of another corrupt
 19       Hawaiian government agency that needs Federal investigation.
 20    193.      Filmmaker will depose all ofthe parties at the Hawaii Film Office and past UPMs
 21       and line producer of every single past film to prove there is widespread and gross
 22       incompetence at every level.
 23    194.      Filmmaker also plans to file a whistleblower lawsuit against the Hawaii Film
 24       Office and the Hollywood studios for wasting the taxpayer's money. Filmmaker will file
 25       motions to compel the paperwork to see every single budget that the Film Office has
 26       given millions of dollars to the studios and yet denied a simple rebate to the Filmmaker.
 27    195.      On or about December 2017, Filmmaker finished the final paperwork and
 28       contacted the Defendant Hawaii Film Office to begin the tax rebate final process and was



                                            Complaint - 26
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 27 of 133                            PageID #: 27




 1        told the tax certificate would be sent within 3 to 6 months.- which is also stated on the

 2        Hawaii Film Office website and on their official forms. It is now October 2018 at the

 3        time of the filing ofthis suit. This is tragic in every respect.
 4     196.       Again, having the tax certificate was critical in both post-production money and
 5        for the investors. The Defendants were tully aware of this.

 6     197.       Despite numerous emails, Defendants repeatedly dragged their feet and returned
 7        emails sometimes a month later.

 8     198.       They then stated Filmmaker had to do other tasks that were never in the intital
 9        conversations.

10     199.       Filmmaker shook his head in disbelief. Filmmaker immediately sensed something
11        was terribly wrong.

12     200.       Again, Defendants hid the relationships ofthose that created fnction and their
13        motives of'teaching the filmmaker a lesson' by delaying the tax certificate to now 9
14        months. This a textbook fraud and deceit.

15     201.       Again,Filmmaker would never have filmed a movie in Hawaii had he known of
16        this fraud and deceit, mispresentation, civil conspiracy and other conduct the Hawaii Film
17        Office would so brazenly do.
 18    202.       Furthermore, they even admitted themselves that the office has come under
 19       intense scrutiny by legislatures for previous blunders which will be part of the
 20       whistleblower lawsuit. This again is total fi'aud and deceit and a total conflict of interest.

 21    203.       Defendants went bevond being craftv/sneakv to fraud and deceit as the Court will

 22       see throughout this Complaint. These are the most dishonorable actions that Filmmaker

 23       has ever worked with in 22 years. Here Filmmaker shot a movie that would honor a

 24       Hawaiian Chiefess, pay good-paying jobs to Hawaiian/Polynesians, and the Hawaii Film
 25       Office back-stabbed him by deceiving him and playing little juvenile high-school games
 26       no other film office of any state would dare to do.
 27    204.       If in fact, the Hollywood studios have not gone through this level offi-aud, then
 28       the Hawaii Film Office, complete with starry, wide eyes, have discriminated against the



                                              Complaint - 27
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 28 of 133                            PageID #: 28




 1        Filmmaker either through his religious beliefs(a violation of the First Amendment)or
 2        against him as an independent filmmaker(a violation of the Hawaii Whistleblower Act)
 3        This is a text-book case of self-dealing.

 4     205.        On or about August 2018, Filmmaker sent several emails to the Attomey
 5        General's office and the Govemor's office to attempt to understand why the Hawaii Film
 6        Office was taking so long. The Hawaii Film Office refused to answer any emails.
 7     206.        Something was trulv wrong here.

 8     207.        Finally, after legal threats, the Hawaii Film Office, in the most overt jfraud of
 9        perhaps any governmental agency in the state, then sent Filmmaker an astounding list of
10        complete lies and fabrications
11     208.        Defendants said because Filmmaker has not proved any of his receipts, he is not
12        entitled to a 20% rebate. Filmmaker immediately knew he was duped

13     209.        The Hawaii Film Office sent a list ofrequirements that are filled with complete
 14       fraud and lies. It's almostjaw-dropping how each remaining requirement had already
15        been fulfilled

16     210.        The Hawaii Film Office sent a one-vase sheet that looked like it took ten minutes

 17       to do - not 9 months (see Exhibit A). The Filmmaker will show this smacks ofthe

 18       juvenile and utterly fraudulent way the Hawaii Film Office went to avoid paying the 20%
 19       rebate

 20    211.        Among the several 'items' that Hawaii Film Office said the Filmmaker had to
 21       prove was the actual shooting location of Kualoa Ranch (See Exhibit A). Filmmaker sent
 22       the bill, the cancelled checks, and the Defendants still said Filmmaker could not prove
 23       this expense. A simple phone call could verify this expenditure
 24


 25


 26


 27


 28




                                              Complaint - 28
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 29 of 133                            PageID #: 29




 1      212.       The sheet again shows scores of names of crew that Filmmaker already gave the

 2         Hawaii Film Office every single GET Tax ID that they required. Yet it ignores key

 3         actor's salaries, key equipment rentals, hotels-it*s an absolute fraudulent document.'*
 4      213.       Defendants Benita Brazier and Donne Dawson clearly acted outside the scope of
 5         their agency in wanting to pay back Filmmaker in retribution for several reasons
 6         Filmmaker will prove at trial.
 7      214.       The State of Hawaii should not defend Ms. Brazier or Ms. Dawson.

 8      215.       Filmmaker will call on several key witnesses in the cast, crew, and extras to prove
 9         the Film Office is in disarray. He expects the trial to go for at least ten weeks and asks the
10         Honorable Court's patience as Filmmaker is bracing for extensive discovery(and
11         possible Motions to Compel with sanctions) to take place during this litigation.
12      216.       This case is very important as there must be freedom ofspeech in Hawaii and that
13         federal law still supercedes state law. Hawaii is part of America and most Hawaiians
14         want that.

15      217.       Filmmaker will subpeona every crew member for depositions to testify to the
16         events as true. And if Defendants lie during their sworn depositions, Filmmaker will file a
17         criminal complaint with the D.A. for perjury and possible Federal intervention.
18         Filmmaker will begin depositions within 30 days of the service ofthe Complaint to get a
19          head start on all discovery.

 20     218.       Filmmaker believes the damages to the movie are permanent and irrecoverable
 21        due to Defendant's actions.

22


 23


 24
      ^ The one-sheet contains over 50 crew and cast that have already been
 25
      accounted for. The only way to explain the red marks is the Hawaii Film
 26
      Office is doing everything possible to sabotage and not pay Filmmaker. This
 27
      is indisputable evidence. Filmmaker will submit all of the evidence during
 28
      discovery and will file a Motion to seal the documents.




                                              Complaint - 29
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 30 of 133                        PageID #: 30




 1     219.      It is paramount that the Honorable Court grant Filnunaker broad discretion in
 2        ascertaining what is going on as Filmmaker expects to file multiple Motions to Compel as
 3        the Defendants have proven themselves deftly good at avoiding or ignoring questions
 4        pertaining to their conduct.
 5     220.      Defendant's actions left the film in total chaos. The film went overbudget because

 6        oftheir actions and the Filmmaker had to pay the overbudget out of his own pocket.
 7     221.      Again, Filmmaker testifies, under penalty of periurv. that he has never sued any

 8        governmental agency in his entire life.

 9     222.      Filmmaker will depose Defendants Benita Brazier, Donne Dawson in November.
10        He will then depose other filmmakers who have shot movies in Hawaii.
11     223.      Filmmaker will file a Pre-Judgment Writ of Attachment on all of Defendant's
12        personal and corporate assets and believes he has been damaged by no less than $135
 13       million in actual and punitive damages and will spend the next 5 years outlying the case
 14       against the Defendants. They need to be punished severely for their contemptible
 15       mistreatment of a filmmaker who tried to honor the people of Hawaii and their valiant
 16       and courageous leader two hundred years ago.
 17    224.      Filmmaker is exiting making the next films in Hawaii and the damages are stark
 18       and real - due mostly because of Defendant's fraud and deceit. This will be calculated in
 19       the damages against Defendants.

 20    225.      Filmmaker also will depose crew members and others who Defendants devulged
 21       confidential information.

 22    226.      Filmmakers request the court to expedite discovery and set a trial date in the most
 23       expeditious manner if possible.

 24


 25
                  COUNT3-VIOLATION OF CIVIL RIGHTS

 26
                   (42 U.S.C.§ 1983: FREE SPEECH AND DUE PROCESS)
 27


 28




                                            Complaint - 30
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 31 of 133                           PageID #: 31




       121.       Plaintiff incorporates by reference all preceding paragraphs as iffully restated

          here.


 3     228.       The Defendant's repeated rejection of Filmmaker's rebate is an unconstitutional

 4
          abridgment on its face, and as applied or threatened to be applied, ofthe plaintiffs

          affirmative rights to freedom ofspeech under the United States Constitution, First and

          Fourteenth Amendments.


 8     229.       The Hawaii Film Office requirements that it needs a copy ofthe screenplay and

 ^        the film, on its face and as applied or threatened to be applied, is an unconstitutionally

          overbroad restriction on expressive activity. Nevertheless, Plaintiff-Filmmaker sent the
11

          Office a copy of his script.
12


13
       230.       The Hawaii Film Office requirements and rejection ofFilmmaker's rebate, on its

14        face and as applied or threatened to be applied, is an unconstitutionally vague restriction

          on expressive activity.
 16
       231.       The Hawaii Film Office requirements, on its face and as applied or threatened to
 17

          be applied, is a content-based and viewpoint-based restriction on speech.
 18


 19    232.       The Hawaii Film Office requirements and rejection of Filmmaker's rebate, on its

 20       face and as applied or threatened to be applied, does not serve a significant governmental
 21
          interest.
 22
       233.       The Hawaii Film Office requirements and rejection of Filmmaker's rebate, on its
 23


 24
          face and as applied or threatened to be applied, does not leave open ample altemative

 25       channels of commimication.

 26    234.       The Hawaii Film Office requirements and rejection of Filmmaker's rebate, on its
 27
          face and as applied or threatened to be applied, is neither narrowly tailored nor the least
 28




                                             Complaint - 31
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 32 of 133                              PageID #: 32




             restrictive means to accomplish any permissible governmental purpose sought to be

 2           served by the legislation. This is apparent in the way the Hawaii Film Office so brazenly,

 3           unfairly, and fraudulently rejected Filmmaker's complete package -complete with all

             receipts and cancelled checks to state workers, vendors, hotels, caterers, extras, etc - all

             because the Defendants didn't like Filmmaker and/or his message. This is unequivocal.

          235.      The Hawaii Film Office rebate program fails to adequately advise, notify, or

 8           inform persons threatened with possible rejection ofthe rebate for violation oftheir
 9
             requirements.
 10
          236.      The Hawaii Film Office rebate requirements are ripe for abuse, and an irrational
 11

             and unreasonable statute, imposing unjustifiable restrictions on the exercise of protected
 12


 13
             constitutional rights.

 14       237.      The Hawaii Film Office requirements, on its face and as applied or threatened to
 15
             be applied, violates the Equal Protection Clause ofthe Fourteenth Amendment to the
 16
             United States Constitution and similar guarantees in the Hawaii State Constitution by
 17

             denying plaintiff free speech rights allowed to others in similar situations and other
 18


 19          protections of state and federal law, namely Hollywood studios who have not run into

 20          any of the problems independent Christian filmmaker Tim Chey ran into with this Hawaii

      "      State agency
 22
          238.       The First Amendment is to guarantee Filmmaker can make a film that will tell the
 23


 24
             story of a Hawaiian chiefess who foimd Christ without a state agency attempting to

 25          sabotage the filmmaker because of his faith. It's that simple.

 26
                             (42 U.S.C. SECTION 1983: EQUAL PROTECTION)
 27


 28




                                                Complaint - 32
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 33 of 133                            PageID #: 33




 ^ ,   239.      The Hawaii Film Office regulations, on its face and as applied or threatened to be
 2        applied, violates the Equal Protection Clause ofthe Fourteenth Amendment. Specifically

          but not exclusively, the Office's regulations (admitted to by Defendant Dawson in an

          email to Filmmaker)creates varying classes of independent filmmakers and Hollywood

          studios and Defendant Dawson can 'select' who gets priority to get the rebate returned as

          she herself admitted in an email to Filmmaker.

 8     240.      These classifications have a direct bearing on the fundamental interest in free
 9
          speech.
10
       241.      The City has no compelling interest iustifving the creation ofthese classes -
11

          independent or Hollywood or even independent faith-based films - and cannot show that
12


13
          these classifications are necessary to serve any legitimate governmental interest.

14     242.      The Hawaii Film Office's regulation singles out which film gets treatment first.

          So even if, arguendo. Defendant Dawson showed 'favortism' to Filmmaker because he's
16
          a sold-out Christian and gave Filmmaker his rebate check in 30 days, this is still a stark
17

          and complete violation ofthe Equal Protection Clause.

 19    243.      Filmmaker is not asking for favoritism. He's asking to be treated equally with the

 20       Hollywood film studios cranking out violent and sex-crazed movies by the bucket-full
 21
          Anything less is a complete abridgement of the Equal Protection Clause.
 22
       244.      These classifications have a direct bearing on the fundamental interest in free
 23


 24
          speech. The City has no compelling interest justifying who gets priority and cannot show

 25       that these classifications are necessary to serve any legitimate governmental interest.

 26    245.      As a direct and proximate result ofthe foregoing material breaches of wrongful
 27
          conversion. Filmmaker has been damaged in an aggregate amount to be determined at
 28




                                            Complaint - 33
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 34 of 133                           PageID #: 34




          trial, in excess ofthe jurisdictional minimum ofthis court, believed to be no less than

          $135 million.


      COUNT4-INTERFERENCE WITH PROSPECTIVE BUSINESS
                                         ADVANTAGE


 6     246.       Plaintiff incorporates by reference all preceding paragraphs as if fully restated
 7
          here.
 8


 9
       247.       "The five elements for intentional interference with prospective economic

10
          advantage are:(1)[a]n economic relationship between the Filmmaker and some third

11
          party, with the probability offuture economic benefit to the Filmmaker;(2)the

12
          defendant's knowledge ofthe relationship;(3)intentional acts on the part ofthe

13
          defendant designed to disrupt the relationship;(4)actual disruption ofthe relationship;

14
          and(5)economic harm to the Filmmaker proximately caused by the acts ofthe

15
          defendant."

16
       248.       On or about April 2017, Filmmaker began pre-production ofone of most

17
          ambitious movies on Hawaii history ever - on the lives of Chiefess Kapiolani, King

18
          Kamehameha, Captain Cook, and Queen Liliuokalani.

19
       249.       The film made news around the world, including US News and World Report,

20
          NBC,ABC,and local Hawaiian media(Hawaii News Now, Star Advertiser, KHON,

21        KlTV,etal).
22     250.       As the PlaintiffTilmmaker Tim Chey is a devout Christian, the first film he
23
          wanted to put into production was the compelling story of Chiefess Kapiolani who found

24
          Christ and went to the top ofthe volcano to proclaim her new-found faith in the Lord.

25
       251.       Filmmaker enlisted a Native Hawaiian professor at the University of Hawaii who

26
          teaches Native Hawaiian history to help research and co-write the script. Yet a core group

27
          of people who oppose Christianity in Hawaii conspired against the Filmmaker.

28




                                             Complaint - 34
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 35 of 133                           PageID #: 35




 1        Filmmaker has 'smoking-gun' evidence ofthis and will release this during discovery and
 2        at the trial.

 3     252.       Filmmaker is contemplating suing this group later in 2019-he first wants to get
 4        this case moving forward to a 2019/2020 trial.
 5     253.       On or about March 2017, Filmmaker decided to film 'The Islands' after being
 6        assured that the Defendant Hawaii Film Office would give a 20% rebate on the budget
 7        that the Film Office gives to all filmmakers. This was extremelv important to the
 8        Filmmaker as manv production companies base their entire decision for where to film

 9        based on the movie tax credits of each state. This is common industrv knowledge and

 10       practice.

 11    254.        Also, the 20% rebate is critically important for P&A (prints and advertising)for
 12       the film's exposure and marketing fimds.
 13    255.       Had Filmmaker known that Defendants would even attempt not to reward the
 14       20% rebate because they didn't like the content ofthe movie,the Filmmaker's beliefs, or
 15       his personality per se. Filmmaker would never have even launched such a huculean effort
 16       in making the film,including casting an Academy-Award winning actress, a legendary
 17       actor, and a 98% Native Polynesian cast. Filmmaker would simply have made another
 18       film in another state. Filmmaker has made 12 movies in 22 years. He did not need the
 19       horrific griefimposed by Defendants collectively.
 20    256.        It is very rare for any governmental agency to act as juvenile, vindictive, and
 21       incompetent as the Hawaii Film Office. It's astonishing as Filmmaker has worked with
 22       the Connecticut. Lousiana. Virginia. Fiji, California. Michigan, and North Carolina film

 23       offices with absolutelv no issues or problems. In fact, the Connecticut Film Office gave

 24       Filmmaker his 30% tax rebate for 'Freedom'(Cuba Gooding, Jr., Sharon Leal, William
 25       Sadler) within 30 days after the paperwork was turned in.
 26    257.        From the start of the movie until post-production. Filmmaker made the 20%
 27       rebate the number one priority as he realized how significant the rebate was. It was 20%
 28       of the entire budget and this was to put bread on the table of a faith-based filmmaker.



                                             Complaint - 35
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 36 of 133                        PageID #: 36




 1     258.      On or about April 2017, Filmmaker received a strange message from one ofthe
 2        employees ofthe Hawaii Film Office. She said she had 'concems' about Filmmaker's
 3        movie and to call her. Filmmaker returned her call and assured her that one of his co-

 4        writers was a well-respected Native Hawaiian professor at the University of Hawaii who
 5        taught Native Hawaiian history.
 6     259.      Nevertheless, this is a complete violation ofFilmmaker's 1®' Amendment rights
 7        for a government agency to inquire about the content of a movie - it's almost unheard of.
 8        Imagine a California agency calling a Hollywood studio and 'inquiring' about the content
 9        of the horror movie 'The Nun'. The outrage would be worldwide. This is no different.
 10    260.      Having a Hawaii state agency calling to say there's a problem with Filmmaker's
 11       Christian movie reeks of 1 Amendment problems offree speech.

 12    261.      The history of Chiefess Kapiolani's leadership brought Christianity to Hawaii.
 13       This is the issue ofthose who oppose it. Filmmaker gets it and totally understands the
 14       hatred as Jesus himselfsaid "Ifthey hated me,they will hate you."(John 15:18).
 15    262.      Nevertheless, Hawaii is officially part ofthe United States and must adhere to
 16       federal laws or there will be absolute chaos. The rejection ofthe rebate to Filmmaker is

 17       the beginning of the end and shows the Defendants collectivelv breached the implied

 18       covenant of good faith starklv and maliciouslv.

 19    263.      Again, the film is based on a true story and anything done on the governmental
 20       level to oppose Filmmaker is complete and total discrimination against his religion and
 21       unequivocably violates the Filmmaker's First Amendment rights to free speech.
 22    264.      The events of the core group to oppose Filmmaker's telling ofthe history started
 23       the entire chain-of-events as Filmmaker would not back down from making the film.

 24    265.      Filmmaker received death threats before and during shooting. His staff had to file
 25       police reports to the incompetent Honolulu police who did absolutely nothing despite
 26       even having the name ofthe alleged perpetrator.
 27


 28




                                            Complaint - 36
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 37 of 133                         PageID #: 37




 1     266.      Filmmaker alleges that possible elements or people in the Hawaii Film Office
 2        have also been part of a smear campaign against many historical Hawaiian films,
 3        including Filmmaker's movie.
 4     267.      In addition to death threats, Filmmaker was up against many other deep hurdles,
 5        including union threats and Hawaiian activists who threatened to shut down the
 6        production on numerous instances.
 7     268.      In over 60 emails and phone calls. Filmmaker worked diligently to make sure
 8        every single receipt, GET tax id ofevery single crew member and cast member was
 9        obtained.

 10    269.      Filmmaker fulfilled each and everv requirement methodicallv and preciselv

 11       because he knew the Defendant Hawaii Film Office might try something sneakv.

 12       Filmmaker even has proofthat one email mistakenly forwarded to Filmmaker showed
 13       the Defendants were already conspiring to 'get' Filmmaker'(See Exhibit H).
 14    270.      This process of getting all the requirements for the Hawaii Film Office took over

 15       13 weeks and Filmmaker calculates over 240 hours of man time.

 16    271.      Filmmaker is also a Harvard-educated attomey and bills at $550 an hour. So by
 17       just multiplying 240 x $550 would come to $192,000. This is how important the rebate
 18       back fi*om the Hawaii Film Office was to the Filmmaker and the Filmmaker asks the

 19       Court to consider the $192,000 as additional damages aside from the punitive damages.
 20    272.      Again, the Hawaii Film Office has blatantly lied in their refusal to credit the
 21       Filmmaker with the 20% rebate. There is no reason, outside of their wanting to teach

 22       Filmmaker a lesson, to withhold the tax certificate. Filmmaker fulfilled every

 23       requirement.

 24    273.      Filmmaker tries to show the love of Jesus to everyone he can. However,should
 25       Defendants even broach any issues that demean or slander Filmmaker, Filmmaker will
 26       amend this lawsuit to include defamation and/or libel and slander. Filmmaker is very

 27       confident he would win any Anti-Slapp Motion as he has been more than diligent in the
 28       entire application process.




                                           Complaint - 37
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 38 of 133                         PageID #: 38




 1     274.      The fact that Defendants did not alert Filmmaker that he was 'lacking* in fiirther

 2        proof of receipts for more than 9 months is further proof offraud and deceit that would

  3       later rise up again on much more serious levels.

 4     275.      On or about September 2017, Filmmaker put in several calls to Defendant Brazier
 5        to make sure every T'was crossed and every T was dotted. Filmmaker wanted to make
 6        sure there would be no problems with getting the 20% rebate back. This was critical as he
 7        would not have filmed in Hawaii.

 8     276.      On or about September 2017, Defendant Brazier repeatedly told Filmmaker that
 9        he did not need to get the GET Tax Ids for established businesses in Hawaii as they were
 10       obviously paying tax to the Hawaii government.
11     277.      This proved to be yet another misrepresentation.
 12    278.      On or about September 2018, almost a year later. Defendants Dawson and the
 13       Hawaii Film Office suddenly demanded that all the GET tax IDs should be listed. This is
 14       another brazen and fraudulent attempt to deny Filmmaker his just rebate. Filmmaker did,

 15       in fact, list every single GET Tax ID. Somehow,they lost the paperwork or it was
 16       malicously destroyed.
 17    279.      In Defendant's one page sheet they sent to Filmmaker - that possibly took less
 18       than an hour to do - not 9 months -they also said the GET Tax IDs were wrong when in
 19       fact they were correct. Further proof that they were desperately trying anything to not
20        give the Filmmaker his rebate.
 21    280.      The entire one-page sheet is filled with complete wrong assumptions, numbers,
 22       and math. It's like a third-grader put it together hoping this would pass and Filmmaker
 23       would go away.

 24    281.      On or about October 2017 and three weeks before shooting. Defendant Brazier
 25       contacted the production's UPM and gave the UPM the actual budget figures. This is a
 26       text-book case of conflict of interest. The UPM knew Defendant Brazier and was never

 27       given authorization to have any confidential numbers or should receive them as this
 28




                                            Complaint - 38
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 39 of 133                            PageID #: 39




 1        person was only the UPM,The production ended up firing the UPM for gross
 2        incompetence and was later sued by the UPM in small claims.
 3     282.       Had Filmmaker known this conflict ofinterest and gross breach of privacy, he
 4        would have immediately requested another contact to work with at the Hawaii Film
 5        Office, because ofthe industry rule/code that key positions should not be filled by ANY
 6        partnership team because again if one is fired, the other will quit or have to be fired as
 7        well.

 8     283.       Again, this is a textbook case of breaching an implied good covenant in dealings

 9     284.       Filmmaker believes and alleges that the UPM's firing has contributed to the
10        Hawaii Film Office defrauding Filmmaker out of his rightful 20% rebate as the UPM sent
11        a letter to the office violating the confidentiality provision of her signed contract. No
12        other true professional in the industry would do this.
13     285.       This unprofessional, sneaky, and juvenile high school conduct is another reason
14        why Filmmaker will never film in Hawaii again.
15     286.       On or about November 2017,Filmmaker, to make sure every single requirement

16        was met, personally emailed Defendant Brazier to have any Film Office employee or
17        government legislator come to the set(see EXHIBIT B). This requirement is buried in the
18        forms, but this email again proves how meticulous Filmmaker was in fulfilling every
19        single requirement including this obscure provision.
20     287.       On or about November 17,2017, Filmmaker submitted the preliminary budget to
21        the Film Office (see EXHIBIT C). As the Honorable Court can see, the preliminary
22        requirements were met except for two items which were later fulfilled and never a subject
23        of dispute.

24     288.       At no time did the Hawaii Film Office ever contact the Filmmaker to alert him to

25        anvthing that was not completed or out ofthe ordinarv. In fact, thev were silent for

26        almost eight months.

27     289.       On or about November 20,2017, Filmmaker again inquired about the $1,000
28        contribution that was required to be made to the University of Hawaii Foundation (see



                                             Complaint - 39
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 40 of 133                           PageID #: 40




 1         EXHIBIT D). This again shows how astute and careful Filmmaker was to the
 2         requirements set forth by the Hawaii Film Office.^
 3      290.       Filmmaker then donated $1,000 to the University of Hawaii Foundation in
 4         accordance to the requirements(Filmmaker and his wife give 90% oftheir wealth away
 5         to charity or to their faith-based endeavors).
 6      291.       On or about December 2017,Filmmaker received the pre-qualification letter(See
 7         EXHIBIT E and F). At no point, did the Hawaii Film Office ever question or comment on
 8         any part ofthe film's production or requirements.
 9      292.       Multiple calls from March 2017 to Februarv 2018 to Defendant Brazier again

 10        confirmed Filmmaker was on track to receive his rebate.

 11     293.       On or about December 11,2017, the Hawaii Film Office submitted an email(See
 12        EXHIBIT G)which outline precisely the 7 remaining requirements left to get the tax
 13        certificate.

 14     294.       Filmmaker fulfilled everv single requirement and more so and will testify, under

 15        the penalty of periurv (that carries a iail sentence), that every single requirement was

 16        fulfilled with complete honesty and integrity.

 17     295.       This will be proven with 'smoking-gun' evidence at trial and during the Motion
 18        for Summary Judgment.

 19     296.       To reiterate the point again, had Filmmaker not been deceived by Defendant's
 20        action. Filmmaker would not have filmed any movie in Hawaii. Period.

 21     297.       Nevertheless, it still gets worse.

 22     298.       On or about December 11,2017,Filmmaker sent an email simply re-confirming
 23         what constitutes a vendor by the Hawaii Film Office (see EXHIBIT H).
 24


 25
      ^ The $1,000 requirement is yet another misprepresentation of the Hawaii Film
 26
      Office's advertising and promotions as this falls beneath the 20% rebate back
 27
      then, i.e., you have to pay an additional $1,000 to be considered for a
 28
      rebate.




                                              Complaint - 40
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 41 of 133                          PageID #: 41




 1     299.      In the mostjuvenile, condescending, and vicious response. Defendant Brazier
 2        replied to Defendant Dawson,"Should we use the definition of vendor in the
 3        dictionary???*' She xmwittingly copied herself in her reply to the Filmmaker.
 4     300.      As it turns out, this requirement is the exact same thing the Hawaii Film Office
 5        fraudulently used in their desperate attempts to sabotage, smear, and hurt Filmmaker by
 6        denying the rebate. They questioned what constitutes a vendor. It's the *Confederacv of
 7        Dunces' all over again.

 8     301.      This also proves the immature lengths the Defendants, collectively, have gone to
 9        avoid giving the Filmmaker his eamed rebate. It's run like a junior high school.
 10    302.      Again. Filmmaker has worked with the film departments of Coimecticut.

 11       Louisiana. Georgia. Virginia, North Carolina. Califomia. et al and has never encountered

 12       such an immature, hostile, mean-spirited, incompetent, sneakv. slow, sensitive, and

 13       maniupulative conduct ever. Filmmaker has been in the business for over 22 vears again

 14       and has made 12 movies.

 15    303.      The Filmmaker again believes the Honorable U.S. District Court and jury will
 16       find sufficient evidence in the months, and possible years to come,of another corrupt
 17       Hawaiian government agency that needs Federal investigation.
 18    304.      Filmmaker will depose all ofthe parties at the Hawaii Film Office and past UPMs
 19       and line producer of every single past film to prove there is widespread and gross
 20       incompetence at every level.
 21    305.      Filmmaker also plans to file a whistleblower lawsuit against the Hawaii Film
 22       Office and the Hollywood studios for wasting the taxpayer's money. Filmmaker will file
 23       motions to compel the paperwork to see every single budget that the Film Office has
 24       given millions of dollars to the studios and yet denied a simple rebate to the Filmmaker
 25    306.      On or about December 2017,Fihnmaker finished the final paperwork and
 26       contacted the Defendant Hawaii Film Office to begin the tax rebate final process and was
 27       told the tax certificate would be sent within 3 to 6 months.- which is also stated on the

 28




                                            Complaint - 41
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 42 of 133                           PageID #: 42




 1        Hawaii Film Office website and on their official forms. It is now October 2018 at the

 2        time ofthe filing of this suit. This is tragic in every respect.
 3     307.       Again, having the tax certificate was critical in both post-production money and
  A       for the investors. The Defendants were fully aware of this.

 5     308.       Despite numerous emails, Defendants repeatedly dragged their feet and returned
 6        emails sometimes a month later.

 7     309.       They then stated Filmmaker had to do other tasks that were never in the intital
 8        conversations.

 9     310.      Filmmaker shook his head in disbelief. Filmmaker immediately sensed something
 10       was terribly wrong.
 11    311.       Again, Defendants hid the relationships ofthose that created friction and their
 12       motives of'teaching the filmmaker a lesson' by delaying the tax certificate to now 9
 13       months. This a textbook fraud and deceit.

 14    312.       Again, Filmmaker would never have filmed a movie in Hawaii had he known of
 15       this fraud and deceit, mispresentation, civil conspiracy and other conduct the Hawaii Film
 16       Office would so brazenly do.
 17    313.       Furthermore, they even admitted themselves that the office has come under
 18       intense scrutiny by legislatures for previous blunders which will be part ofthe
 19       whistleblower lawsuit. This again is total fraud and deceit and a total conflict of interest.

 20    314.       Defendants went bevond being craftv/sneakv to fraud and deceit as the Court will

 21       see throughout this Complaint. These are the most dishonorable actions that Filmmaker

 22       has ever worked with in 22 vears. Here Filmmaker shot a movie that would honor a

 23       Hawaiian Chiefess, pay good-paying jobs to Hawaiian/Polynesians, and the Hawaii Film
 24       Office back-stabbed him by deceiving him and playing little juvenile high-school games
 25       no other film office of any state would dare to do.
 26    315.       Ifin fact, the Hollywood studios have not gone through this level offraud, then
 27       the Hawaii Film Office, complete with starry, wide eyes, have discriminated against the
 28       Filmmaker either through his religious beliefs(a violation ofthe First Amendment)or



                                              Complaint - 42
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 43 of 133                              PageID #: 43




 1         against him as an independent filmmaker(a violation of the Hawaii Whistleblower Act)
 2         This is a text-book case of self-dealing.

 3      316.         On or about August 2018,Filmmaker sent several emails to the Attorney
 4         General's office and the Governor's office to attempt to understand why the Hawaii Film
 5         Office was taking so long. The Hawaii Film Office refused to answer any emails.
 6      317.         Something was trulv wrong here.

 7      318.         Finally, after legal threats, the Hawaii Film Office, in the most overt fraud of
 8         perhaps any governmental agency in the state, then sent Filmmaker an astounding list of
 9         complete lies and fabrications.
10      319.         Defendants said because Filmmaker has not proved any of his receipts, he is not
11         entitled to a 20% rebate. Filmmaker immediatelv knew he was duped.

12      320.         The Hawaii Film Office sent a list ofrequirements that are filled with complete
13         fraud and lies. It's almostjaw-dropping how each remaining requirement had already
14         been fulfilled.

15      321.         The Hawaii Film Office sent a one-vase sheet that looked like it took ten minutes

16         to do - not 9 months (see Exhibit A). The Filmmaker will show this smacks ofthe

17         juvenile and utterly fraudulent way the Hawaii Film Office went to avoid paying the 20%
18         rebate.

19      322.         Among the several 'items' that Hawaii Film Office said the Filmmaker had to
20         prove was the actual shooting location of Kualoa Ranch (See Exhibit A). Filmmaker sent
21         the bill, the cancelled checks, and the Defendants still said Filmmaker could not prove
22         this expense. A simple phone call could verify this expenditure.
23      323.         The sheet again shows scores of names of crew that Filmmaker alreadv gave the

 24        Hawaii Film Office everv single GET Tax ID that thev required. Yet it ignores kev

 25        actor's salaries, kev equipment rentals, hotels- it's an absolute fraudulent document.^
 26


27
       The one-sheet contains over 50 crew and cast that have already been
 28
      accounted for. The only way to explain the red marks is the Hawaii Film




                                                Complaint - 43
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 44 of 133                            PageID #: 44




 1      324.      Defendants Benita Brazier and Donne Dawson clearly acted outside the scope of
 2         their agency in wanting to pay back Filmmaker in retribution for several reasons
 3         Filmmaker will prove at trial.
 4      325.      The State of Hawaii should not defend Ms. Brazier or Ms. Dawson.

 5      326.      Filmmaker will call on several key witnesses in the cast, crew, and extras to prove
 6         the Film Office is in disarray. He expects the trial to go for at least ten weeks and asks the
 7         Honorable Court's patience as Filmmaker is bracing for extensive discovery(and
 8         possible Motions to Compel with sanctions) to take place during this litigation.
 9      327.      This case is very important as there must be freedom of speech in Hawaii and that
10         federal law still supercedes state law. Hawaii is part of America and most Hawaiians
11         want that.

 12     328.      Filmmaker will subpeona every crew member for depositions to testify to the
 13        events as true. And if Defendants lie during their sworn depositions, Fihnmaker will file a
 14        criminal complaint with the D.A. for perjury and possible Federal intervention.
 15        Filmmaker will begin depositions within 30 days of the service of the Complaint to get a
 16        head start on all discovery.
 17     329.      Filmmaker believes the damages to the movie are permanent and irrecoverable
 18        due to Defendant's actions.

 19     330.      It is paramount that the Honorable Court grant Filmmaker broad discretion in
 20        ascertaining what is going on as Filmmaker expects to file multiple Motions to Compel as
 21        the Defendants have proven themselves deftly good at avoiding or ignoring questions
 22        pertaining to their conduct.
 23     331.      Defendant's actions left the film in total chaos. The film went overbudget because

 24        of their actions and the Filmmaker had to pay the overbudget out of his own pocket.
 25


 26
      Office is doing everything possible to sabotage and not pay Filmmaker. This
 27
      is indisputable evidence. Filmmaker will submit all of the evidence during
 28
      discovery and will file a Motion to seal the documents.




                                              Complaint - 44
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 45 of 133                       PageID #: 45




 1     332.      Again, Filmmaker testifies, under penalty of penury, that he has never sued any

 2        governmental agency in his entire life.

 3     333.      Filmmaker will depose Defendants Benita Brazier, Dorme Dawson in November.
 4        He will then depose other filmmakers who have shot movies in Hawaii.
 5     334.      Filmmaker will file a Pre-Judgment Writ of Attachment on all of Defendant's
 6        personal and corporate assets and believes he has been damaged by no less than $135
 7        million in actual and punitive damages and will spend the next 5 years outlying the case
 8        against the Defendants. They need to be punished severely for their contemptible
 9        mistreatment of a filmmaker who tried to honor the people of Hawaii and their valiant
 10       and courageous leader two hundred years ago.
 11    335.      Filmmaker is exiting making the next films in Hawaii and the damages are stark
 12       and real - due mostly because of Defendant's fraud and deceit. This will be calculated in
 13       the damages against Defendants.
 14


 15             COUNT 4-BREACH OF WRITTEN CONTRACT
 16


 17    336.      Filmmaker repeats and realleges each and every allegation contained in
 18       paragraphs 1 through 334 above as iffully set forth herein.
 19    337.      Filmmakers performed all obligations required by to be performed under the
 20       written, signed contract except for those obligations waived, excused, or prevented by
 21       defendants.

 22    338.      On or about April 2017, Filmmaker began pre-production ofone of most
 23       ambitious movies on Hawaii history ever - on the lives of Chiefess Kapiolani, King
 24       Kamehameha, Captain Cook,and Queen Liliuokalani.
 25    339.      The film made news around the world, including US News and World Report,
 26       NBC,ABC,and local Hawaiian media(Hawaii News Now,Star Advertiser, KHON,
 27       KITV,et al).

 28




                                            Complaint - 45
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 46 of 133                          PageID #: 46




 1     340.       As the PlaintiffFilmmaker Tim Chey is a devout Christian, the first film he
 2        wanted to put into production was the compelling story of Chiefess Kapiolani who found
 3        Christ and went to the top ofthe volcano to proclaim her new-found faith in the Lord.
 4     341.       Filmmaker enlisted a Native Hawaiian professor at the University ofHawaii who
 5        teaches Native Hawaiian history to help research and co-write the script. Yet a core group
 6        of people who oppose Christianity in Hawaii conspired against the Filmmaker.
 7        Filmmaker has 'smoking-gun' evidence ofthis and will release this during discovery and
 8        at the trial.

  9    342.       Filmmaker is contemplating suing this group later in 2019-he first wants to get
 10       this case moving forward to a 2019/2020 trial.
 11    343.       On or about March 2017, Filmmaker decided to film 'The Islands' after being

 12       assured that the Defendant Hawaii Film Office would give a 20% rebate on the budget
 13       that the Film Office gives to all filmmakers. This was extremelv important to the
 14       Filmmaker as many production companies base their entire decision for where to film

 15       based on the movie tax credits ofeach state. This is common industry knowledge and

 16       practice.

 17    344.       Also, the 20% rebate is critically important for P&A (prints and advertising)for
 1a       the film's exposure and marketing funds.
 19    345.       Had Filmmaker known that Defendants would even attempt not to reward the

 20       20% rebate because they didn't like the content ofthe movie,the Filmmaker's beliefs, or
 21       his personality per se, Filmmaker would never have even launched such a huculean effort
 22       in making the film, including casting an Academy-Award winning actress, a legendary
 23       actor, and a 98% Native Polynesian cast. Filmmaker would simply have made another
 24       film in another state. Filmmaker has made 12 movies in 22 years. He did not need the
 25       horrific grief imposed by Defendants collectively.
 26    346.       It is very rare for any governmental agency to act as juvenile, vindictive, and
 27       incompetent as the Hawaii Film Office. It's astonishing as Filmmaker has worked with
 28       the Coimecticut, Lousiana, Virginia. Fiji, California. Michigan, and North Carolina film




                                            Complaint - 46
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 47 of 133                         PageID #: 47




 1        offices with absolutely no issues or problems. In fact, the Connecticut Film Office gave

 2        Filmmaker his 30% tax rebate for 'Freedom'(Cuba Gooding, Jr., Sharon Leal, William
 3        Sadler) within 30 days after the paperwork was turned in.
 4     347.      From the start ofthe movie until post-production. Filmmaker made the 20%
 5        rebate the number one priority as he realized how significant the rebate was. It was 20%
 6        of the entire budget and this was to put bread on the table ofa faith-based filmmaker.
 7     348.      On or about April 2017, Filmmaker received a strange message from one ofthe
 8        employees of the Hawaii Film Office. She said she had 'concerns' about Filmmaker's
 9        movie and to call her. Filmmaker returned her call and assured her that one of his co-

 10       writers was a well-respected Native Hawaiian professor at the University of Hawaii who
 11       taught Native Hawaiian history.
 12    349.      Nevertheless, this is a complete violation ofFilmmaker's U* Amendment rights
 13       for a government agency to inquire about the content ofa movie - it's almost unheard of.
 14       Imagine a California agency calling a Hollywood studio and 'inquiring' about the content
 15       of the horror movie 'The Nun'. The outrage would be worldwide. This is no different.
 16    350.      Having a Hawaii state agency calling to say there's a problem with Filmmaker's
 17       Christian movie reeks of 1®' Amendment problems offree speech.
 18    351.      The history of Chiefess Kapiolani's leadership brought Christianity to Hawaii.
 19       This is the issue ofthose who oppose it. Filmmaker gets it and totally understands the
 20       hatred as Jesus himselfsaid "Ifthey hated me,they will hate you."(John 15:18).
 21    352.      Nevertheless, Hawaii is officially part ofthe United States and must adhere to
 22       federal laws or there will be absolute chaos. The rejection of the rebate to Filmmaker is

 23       the beginning ofthe end and shows the Defendants collectivelv breached the implied

 24       covenant of good faith starklv and maliciouslv.

 25    353.      Again,the film is based on a true story and anything done on the governmental
 26       level to oppose Filmmaker is complete and total discrimination against his religion and
 27       unequivocably violates the Filmmaker's First Amendment rights to free speech.
 28




                                            Complaint - 47
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 48 of 133                         PageID #: 48




 1     354.      The events ofthe core group to oppose Filmmaker's telling ofthe history started
 2        the entire chain-of-events as Filmmaker would not back down from making the film.
 3     355.      Filmmaker received death threats before and during shooting. His staff had to file
 4        police reports to the incompetent Honolulu police who did absolutely nothing despite
 5        even having the name ofthe alleged perpetrator.
 6     356.      Filmmaker alleges that possible elements or people in the Hawaii Film Office
 7        have also been part of a smear campaign against many historical Hawaiian films,
 8        including Filmmaker's movie.
 9     357.      In addition to death threats, Filmmaker was up against many other deep hurdles,
 10       including union threats and Hawaiian activists who threatened to shut down the
11        production on numerous instances.
 12    358.      In over 60 emails and phone calls. Filmmaker worked diligently to make sure
 13       every single receipt, GET tax id ofevery single crew member and cast member was
 14       obtained.

 15    359.      Filmmaker fulfilled each and everv requirement methodicallv and preciselv

 16       because he knew the Defendant Hawaii Film Office might trv something sneakv.

 17       Filmmaker even has proof that one email mistakenly forwarded to Filmmaker showed
 18       the Defendants were already conspiring to *get' Filmmaker'(See Exhibit H).
 19    360.      This process of getting all the requirements for the Hawaii Film Office took over

 20       13 weeks and Filmmaker calculates over 240 hours of man time.

 21    361.      Filmmaker is also a Harvard-educated attorney and bills at $550 an hour. So by
 22       just multiplying 240 x $550 would come to $192,000. This is how important the rebate
 23       back from the Hawaii Film Office was to the Filmmaker and the Filmmaker asks the

 24       Court to consider the $192,000 as additional damages aside from the pimitive damages.
 25    362.      Again,the Hawaii Film Office has blatantly lied in their refusal to credit the
 26       Filmmaker with the 20% rebate. There is no reason, outside of their wanting to teach

 27       Filmmaker a lesson, to withhold the tax certificate. Filmmaker fulfilled every

 28       requirement.




                                           Complaint - 48
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 49 of 133                         PageID #: 49




 1     363.      Filmmaker tries to show the love of Jesus to everyone he can. However,should
 2        Defendants even broach any issues that demean or slander Filmmaker, Filmmaker will
 3        amend this lawsuit to include defamation and/or libel and slander. Filmmaker is very
 4        confident he would win any Anti-Slapp Motion as he has been more than diligent in the
 5        entire application process.

 6     364.      The fact that Defendants did not alert Filmmaker that he was 'lacking' in further

 7        proofofreceipts for more than 9 months is further proof offraud and deceit that would

 8        later rise up again on much more serious levels.

 9     365.      On or about September 2017, Filmmaker put in several calls to Defendant Brazier
10        to make sure every 'T' was crossed and every T was dotted. Filmmaker wanted to make
11        sure there would be no problems with getting the 20% rebate back. This was critical as he
12        would not have filmed in Hawaii.

13     366.      On or about September 2017, Defendant Brazier repeatedly told Filmmaker that
14        he did not need to get the GET Tax Ids for established businesses in Hawaii as they were
15        obviously paying tax to the Hawaii government.

16     367.      This proved to be yet another misrepresentation.
17     368.      On or about September 2018, almost a vear later. Defendants Dawson and the
18        Hawaii Film Office suddenly demanded that all the GET tax IDs should be listed. This is
19        another brazen and fraudulent attempt to denv Filmmaker his iust rebate. Filmmaker did,

20        in fact, list every single GET Tax ID. Somehow,they lost the paperwork or it was
 21       malicously destroyed.
 22    369.      In Defendant's one page sheet they sent to Filmmaker - that possibly took less
 23       than an hour to do - not 9 months -they also said the GET Tax IDs were wrong when in
 24       fact they were correct. Further proof that they were desperately trying anything to not
 25       give the Filmmaker his rebate.
 26    370.      The entire one-page sheet is filled with complete wrong assumptions, numbers,
 27       and math. It's like a third-grader put it together hoping this would pass and Filmmaker
 28       would go away.




                                            Complaint - 49
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 50 of 133                           PageID #: 50




 1     371.       On or about October 2017 and three weeks before shooting, Defendant Brazier
 2        contacted the production's UPM and gave the UPM the actual budget figures. This is a
 3        text-book case of conflict of interest. The UPM knew Defendant Brazier and was never

 4        given authorization to have any confidential numbers or should receive them as this
 5        person was only the UPM. The production ended up firing the UPM for gross
 6        incompetence and was later sued by the UPM in small claims.
 7     372.       Had Filmmaker known this conflict of interest and gross breach of privacy, he
 8        would have immediately requested another contact to work with at the Hawaii Film
 9        Office, because ofthe industry rule/code that key positions should not be filled by ANY
10        partnership team because again if one is fired, the other will quit or have to be fired as
 11       well.

 12    373.       Again, this is a textbook case of breaching a written contract.

 13    374.       Filmmaker believes and alleges that the UPM's firing has contributed to the
 14       Hawaii Film Office delfauding Filmmaker out of his rightful 20% rebate as the UPM sent
 15       a letter to the office violating the confidentiality provision of her signed contract. No
 16       other true professional in the industry would do this.
 17    375.       This unprofessional, sneaky, and juvenile high school conduct is another reason
 18       why Filmmaker will never film in Hawaii again.
 19    376.       On or about November 2017, Filmmaker, to make sure every single requirement
 20       was met, personally emailed Defendant Brazier to have any Film Office employee or
 21       government legislator come to the set(see EXHIBIT B). This requirement is buried in the
 22       forms, but this email again proves how meticulous Filmmaker was in fulfilling every
 23       single requirement including this obscure provision.

 24    377.       On or about November 17,2017, Filmmaker submitted the preliminary budget to
 25       the Film Office(see EXHIBIT C). As the Honorable Court can see, the preliminary
 26       requirements were met except for two items which were later fulfilled and never a subject
 27       of dispute.

 28




                                             Complaint - 50
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 51 of 133                           PageID #: 51




  1     378.       At no time did the Hawaii Film Office ever contact the Filmmaker to alert him to

 2         anything that was not completed or out ofthe ordinary. In fact, they were silent for

 3         almost eight months.

 4      379.       On or about Noyember 20,2017, Filmmaker again inquired about the $1,000
 5         contribution that was required to be made to the Uniyersity of Hawaii Foundation (see
 6         EXHIBIT D). This again shows how astute and careful Filmmaker was to the
 7         requirements set forth by the Hawaii Film Office/
 8      380.       Filmmaker then donated $1,000 to the Uniyersity of Hawaii Foundation in
 9         accordance to the requirements(Filmmaker and his wife giye 90% of their wealth away
 10        to charity or to their faith-based endeayors).
 11     381.       On or about December 2017,Filmmaker receiyed the pre-qualification letter(See
 12        EXHIBIT E and F). At no point, did the Hawaii Film Office eyer question or comment on
 13        any part ofthe film's production or requirements.
 14     382.       Multiple calls from March 2017 to February 2018 to Defendant Brazier again

 15        confirmed Filmmaker was on track to receiye his rebate.

 16     383.       On or about December 11,2017, the Hawaii Film Office submitted an email(See

 17        EXHIBIT G)which outline precisely the 7 remaining requirements left to get the tax
 18        certificate.

 19     384.       Filmmaker fulfilled eyery single requirement and more so and will testify, under

 20        the penalty of perjury (that carries a jail sentence!, that eyery single requirement was

 21        fulfilled with complete honesty and integrity.

 22     385.       This will be proyen with 'smoking-gun' eyidence at trial and during the Motion
 23        for Summary Judgment.

 24



 25
      ^ The $1,000 requirement is yet another misprepresentation of the Hawaii Film
 26
      Office's advertising and promotions as this falls beneath the 20% rebate back
 27
      then, i.e., you have to pay an additional $1,000 to be considered for a
 28
      rebate.




                                             Complaint - 51
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 52 of 133                          PageID #: 52




 1     386.      To reiterate the point again, had Filmmaker not been deceived by Defendant's
 2        action. Filmmaker would not have fihned any movie in Hawaii. Period.

 3     387.      Nevertheless, it still gets worse.

 4     388.      On or about December 11, 2017, Filmmaker sent an email simply re-confirming
 5        what constitutes a vendor by the Hawaii Film Office (see EXHIBIT H).
 6     389.      In the mostjuvenile, condescending, and vicious response. Defendant Brazier
 7        replied to Defendant Dawson,"Should we use the definition of vendor in the
 8        dictionary???" She unwittingly copied herselfin her reply to the Filmmaker.
 9     390.      As it turns out, this requirement is the exact same thing the Hawaii Film Office
10        fraudulently used in their desperate attempts to sabotage, smear, and hurt Filmmaker by
11        denying the rebate. They questioned what constitutes a vendor. It's the *Confederacv of
12        Dunces' all over again.

 13    391.      This also proves the immature lengths the Defendants, collectively, have gone to
 14       avoid giving the Filmmaker his eamed rebate. It's run like a junior high school.
 15    392.      Again, Filmmaker has worked with the film departments of Connecticut.

 16       Louisiana, Georgia, Virginia, North Carolina. California, et al and has never encountered

 17       such an immature, hostile, mean-spirited, incompetent, sneaky, slow, sensitive, and

 18       maniupulative conduct ever. Filmmaker has been in the business for over 22 years again

 19       and has made 12 movies.

20     393.      The Filmmaker again believes the Honorable U.S. District Court and jury will
 21       find sufficient evidence in the months, and possible years to come, of another corrupt
22        Hawaiian government agency that needs Federal investigation.
23     394.      Filmmaker will depose all ofthe parties at the Hawaii Film Office and past UPMs
 24       and line producer of every single past film to prove there is widespread and gross
 25       incompetence at every level.

 26    395.      Filmmaker also plans to file a whistleblower lawsuit against the Hawaii Film
 27       Office and the Hollywood studios for wasting the taxpayer's money. Filmmaker will file
 28




                                            Complaint - 52
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 53 of 133                           PageID #: 53




 1        motions to compel the paperwork to see every single budget that the Film Office has
 2        given millions of dollars to the studios and yet denied a simple rebate to the Filmmaker.
 3     396.      On or about December 2017, Filmmaker finished the final paperwork and
 4        contacted the Defendant Hawaii Film Office to begin the tax rebate final process and was
 5        told the tax certificate would be sent within 3 to 6 months.- which is also stated on the

 6        Hawaii Film Office website and on their official forms. It is now October 2018 at the

 7        time ofthe filing ofthis suit. This is tragic in every respect.
 8     397.       Again, having the tax certificate was critical in both post-production money and
 9        for the investors. The Defendants were fully aware of this.
10     398.      Despite numerous emails, Defendants repeatedly dragged their feet and returned
11        emails sometimes a month later.

12     399.      They then stated Filmmaker had to do other tasks that were never in the intital
13        conversations.

14     400.      Filmmaker shook his head in disbelief. Filmmaker immediately sensed something
15        was terribly wrong.
16     401.       Again, Defendants hid the relationships ofthose that created friction and their
17        motives of'teaching the filmmaker a lesson' by delaying the tax certificate to now 9
18        months. This a textbook fraud and deceit and breach of contract.

19     402.       Again,Filmmaker would never have filmed a movie in Hawaii had he known of
 20       this fraud and deceit, mispresentation, civil conspiracy and other conduct the Hawaii Film
 21       Office would so brazenly do.

 22    403.       Furthermore, they even admitted themselves that the office has come under
23        intense scrutiny by legislatures for previous blunders which will be part ofthe
 24       whistleblower lawsuit. This again is total fraud and deceit and a total conflict of interest.

 25    404.       Defendants went bevond being craftv/sneakv to fraud and deceit as the Court will

 26       see throughout this Complaint. These are the most dishonorable actions that Filmmaker

 27       has ever worked with in 22 vears. Here Filmmaker shot a movie that would honor a

 28       Hawaiian Chiefess, pay good-paying jobs to Hawaiian/Polynesians, and the Hawaii Film



                                             Complaint - 53
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 54 of 133                              PageID #: 54




 1        Office back-stabbed him by deceiving him and playing little juvenile high-school games
 2        no other film office of any state would dare to do.
 3     405.         If in fact, the Hollywood studios have not gone through this level of fi-aud, then
 4        the Hawaii Film Office, complete with starry, wide eyes, have discriminated against the
 5        Filmmaker either through his religious beliefs(a violation of the First Amendment)or
 6        against him as an independent filmmaker(a violation of the Hawaii Whistleblower Act)
 7        This is a text-book case of self-dealing.

 8     406.         On or about August 2018,Filmmaker sent several emails to the Attorney
 9        General*s office and the Governor's office to attempt to understand why the Hawaii Film
10        Office was taking so long. The Hawaii Film Office refused to answer any emails.
11     407.         Something was trulv wrong here.

12     408.         Finally, after legal threats, the Hawaii Film Office, in the most overt fi*aud of
13        perhaps any governmental agency in the state, then sent Filmmaker an astounding list of
14        complete lies and fabrications.
15     409.         Defendants said because Filmmaker has not proved any of his receipts, he is not
16        entitled to a 20% rebate. Filmmaker immediatelv knew he was duped.

17     410.         The Hawaii Film Office sent a list ofrequirements that are filled with complete
18        fi-aud and lies. It's almost jaw-dropping how each remaining requirement had already
19        been fulfilled.

20     411.         The Hawaii Film Office sent a one-pase sheet that looked like it took ten minutes

21        to do - not 9 months (see Exhibit A). The Filmmaker will show this smacks ofthe

22        juvenile and utterly fraudulent way the Hawaii Film Office went to avoid paying the 20%
23        rebate.

24     412.         Among the several 'items' that Hawaii Film Office said the Filmmaker had to
25        prove was the actual shooting location of Kualoa Ranch(See Exhibit A). Filmmaker sent
26        the bill, the cancelled checks, and the Defendants still said Filmmaker could not prove

27        this expense. A simple phone call could verify this expenditure.
28




                                               Complaint - 54
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 55 of 133                            PageID #: 55




 1      413.      The sheet again shows scores of names of crew that Filmmaker already gave the

 2         Hawaii Film Office every single GET Tax ID that they required. Yet it ignores key
                                                                                                   o


 3         actor's salaries, key equipment rentals, hotels — it*s an absolute fraudulent document.

 4      414.      Defendants Benita Brazier and Donne Dawson clearly acted outside the scope of
 5         their agency in wanting to pay back Filmmaker in retribution for several reasons
 6         Filmmaker will prove at trial.

 7      415.      The State of Hawaii should not defend Ms. Brazier or Ms. Dawson.

 8      416.      Filmmaker will call on several key witnesses in the cast, crew, and extras to prove
 9         the Film Office is in disarray. He expects the trial to go for at least ten weeks and asks the
 10        Honorable Court's patience as Filmmaker is bracing for extensive discovery(and
 11        possible Motions to Compel with sanctions) to take place during this litigation.
 12     417.      This case is very important as there must be fi"eedom of speech in Hawaii and that
 13        federal law still supercedes state law. Hawaii is part of America and most Hawaiians
 14        want that.

 15     418.      Filmmaker will subpeona every crew member for depositions to testify to the
 16        events as true. And if Defendants lie during their sworn depositions. Filmmaker will file a
 17        criminal complaint with the D.A. for perjury and possible Federal intervention.
 18        Filmmaker will begin depositions within 30 days ofthe service ofthe Complaint to get a
 19        head start on all discovery.

 20     419.      Filmmaker believes the damages to the movie are permanent and irrecoverable
 21        due to Defendant's actions.

 22


 23


 24
      ® The one-sheet contains over 50 crew and cast that have already been
 25
      accounted for. The only way to explain the red marks is the Hawaii Film
 26
      Office is doing everything possible to sabotage and not pay Filmmaker. This
 27
      is indisputable evidence. Filmmaker will submit all of the evidence during
 28
      discovery and will file a Motion to seal the documents.




                                              Complaint - 55
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 56 of 133                        PageID #: 56




 1     420.      It is paramount that the Honorable Court grant Filmmaker broad discretion in
 2        ascertaining what is going on as Filmmaker expects to file multiple Motions to Compel as
 3        the Defendants have proven themselves deftly good at avoiding or ignoring questions
 4        pertaining to their conduct.
 5     421.      Defendant's actions left the film in total chaos. The film went overbudget because
 6        oftheir actions and the Filmmaker had to pay the overbudget out of his own pocket.
 7     422.      Again, Filmmaker testifies, under penaltv of perjurv, that he has never sued any

 8        governmental agency in his entire life.

 9     423.      Filmmaker will depose Defendants Benita Brazier, Donne Dawson in November.
10        He will then depose other filmmakers who have shot movies in Hawaii.
11     424.      Filmmaker will file a Pre-Judgment Writ of Attachment on all of Defendant's
12        personal and corporate assets and believes he has been damaged by no less than $135
13        million in actual and punitive damages and will spend the next 5 years outlying the case
14        against the Defendants. They need to be punished severely for their contemptible
15        mistreatment of a filmmaker who tried to honor the people of Hawaii and their valiant
16        and courageous leader two hundred years ago.
17     425.      Filmmaker is exiting making the next films in Hawaii and the damages are stark
18        and real — due mostly because of Defendant's fraud and deceit. This will be calculated in
19        the damages against Defendants.
20     426.      Filmmaker also will depose crew members and others who Defendants devulged
21        confidential information.

22     427.      Filmmakers request the court to expedite discovery and set a trial date in the most
23        expeditious manner if possible.

24     428.      As a direct and proximate result of the foregoing material breaches of the

 25       signed, written contract Filmmakers have been damaged in an aggregate amount to

 26       be determined at trial, in excess of the iurisdictional minimum of this court believed

 27       to be no less than $135 million.

 28




                                             Complaint - 56
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 57 of 133                           PageID #: 57




              COUNT 5-INTENTIONAL MISREPRESENTATION


 3     429.      Filmmaker repeats and realleges each and every allegation contained in
 4        paragraphs 1 through 425 above as iffully set forth herein.
 5     430.      To prevail on a cause of action of intentional misrepresentation, a plaintiff must
 6        show that there exists: (1)A representation;(2) which is material to the transaction at
 7        hand;(3) made falsely, with knowledge of its falsity or recklessness as to whether it is
 8        true or false;(4)with the intention of misleading another party into relying on it;(5)
 9        justifiable reliance on the misrepresentation; and(6)the resulting injury was proximately
 10       caused by the reliance. Plaintiff is very confident that any reasonable jury will find all of
 11       the causes of action present in the ongoing facts and will find in favor ofthe Plaintiff.
 12    431.      On or about March 2017, Filmmaker decided to film 'The Islands' after being

 13       assured that the Defendant Hawaii Film Office would give a 20% rebate on the budget
 14       that the Film Office gives to all filmmakers. This was extremelv important to the
 15       Filmmaker as manv production companies base their entire decision for where to film

 16       based on the movie tax credits ofeach state. This is common industrv knowledge and

 17       practice.

 18    432.      Also, the 20% rebate is critically important for P&A (prints and advertising) for
 19       the film's exposure and marketing funds.
 20    433.      Had Filmmaker known that Defendants would even attempt not to reward the
 21       20% rebate because they didn't like the content of the movie,the Filmmaker's beliefs, or
 22       his personality per se. Filmmaker would never have even launched such a huculean effort
 23       in making the film,including casting an Academy-Award winning actress, a legendary
 24       actor, and a 98% Native Polynesian cast. Filmmaker would simply have made another
 25       film in another state. Filmmaker has made 12 movies in 22 years. He did not need the
 26       horrific grief imposed by Defendants collectively.
 27    434.      It is very rare for any governmental agency to act as juvenile, vindictive, and
 28       incompetent as the Hawaii Film Office. It's astonishing as Filmmaker has worked with




                                             Complaint - 57
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 58 of 133                         PageID #: 58




 1        the Connecticut, Lousiana. Virginia. Fiji, California, Michigan, and North Carolina film

 2        offices with absolutely no issues or problems. In fact, the Connecticut Film Office gave

 3        Filmmaker his 30% tax rebate for 'Freedom'(Cuba Gooding, Jr., Sharon Leal, William
 4        Sadler) within 30 days after the paperwork was turned in.
 5     435.      From the start ofthe movie until post-production. Filmmaker made the 20%
 6        rebate the number one priority as he realized how significant the rebate was. It was 20%
 7        of the entire budget and this was to put bread on the table of a faith-based filmmaker.
 8     436.      On or about April 2017,Filmmaker received a strange message from one ofthe
 9        employees ofthe Hawaii Film Office. She said she had 'concems' about Filmmaker's
10        movie and to call her. Filmmaker returned her call and assured her that one of his co-

11        writers was a well-respected Native Hawaiian professor at the University of Hawaii who
12        taught Native Hawaiian history.
13     437.      Nevertheless, this is a complete violation of Filmmaker's 1®' Amendment rights
 14       for a government agency to inquire about the content ofa movie — it's almost unheard of.
 15       Imagine a California agency calling a Hollywood studio and 'inquiring' about the content
 16       of the horror movie 'The Nun'. The outrage would be worldwide. This is no different.
 17    438.      Having a Hawaii state agency calling to say there's a problem with Filmmaker's
 18       Christian movie reeks of 1®' Amendment problems offree speech.
 19    439.      The history of Chiefess Kapiolani's leadership brought Christianity to Hawaii.
 20       This is the issue ofthose who oppose it. Filmmaker gets it and totally understands the
 21       hatred as Jesus himselfsaid "Ifthey hated me,they will hate you."(John 15:18).
 22    440.      Nevertheless, Hawaii is officially part of the United States and must adhere to
 23       federal laws or there will be absolute chaos. The reiection ofthe rebate to Filmmaker is

 24       the beginning of the end and shows the Defendants collectivelv breached the implied

 25       covenant of good faith starklv and maliciouslv.

 26    441.      Again, the film is based on a true story and anything done on the governmental
 27       level to oppose Filmmaker is complete and total discrimination against his religion and
 28       unequivocably violates the Filmmaker's First Amendment rights to free speech.



                                            Complaint - 58
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 59 of 133                         PageID #: 59




 1     442.      The events ofthe core group to oppose Filmmaker's telling ofthe history started
 2        the entire chain-of-events as Filmmaker would not back down from making the film.
 3     443.      Filmmaker received death threats before and during shooting. His staff had to file
 4        police reports to the incompetent Honolulu police who did absolutely nothing despite
 5        even having the name ofthe alleged perpetrator.
 6     444.      Filmmaker alleges that possible elements or people in the Hawaii Film Office
 7        have also been part of a smear campaign against many historical Hawaiian films,
 8        including Filmmaker's movie.
 9     445.      In addition to death threats, Filmmaker was up against many other deep hurdles,
10        including union threats and Hawaiian activists who threatened to shut down the
11        production on numerous instances.
12     446.      In over 60 emails and phone calls. Filmmaker worked diligently to make sure
13        every single receipt, GET tax id of every single crew member and cast member was
14        obtained.

15     447.      Filmmaker fulfilled each and every requirement methodicallv and preciselv

16        because he knew the Defendant Hawaii Film Office might try something sneaky.

17        Filmmaker even has proof that one email mistakenly forwarded to Filmmaker showed
18        the Defendants were already conspiring to 'get' Filmmaker'(See Exhibit H).
19     448.      This process of getting all the requirements for the Hawaii Film Office took over

20        13 weeks and Filmmaker calculates over 240 hours of man time.

21     449.      Filmmaker is also a Harvard-educated attorney and bills at $550 an hour. So by
 22       just multiplying 240 x $550 would come to $192,000. This is how important the rebate
23        back from the Hawaii Film Office was to the Filmmaker and the Filmmaker asks the

 24       Court to consider the $192,000 as additional damages aside from the punitive damages.
 25    450.      Again,the Hawaii Film Office has blatantly lied in their refusal to credit the
 26       Filmmaker with the 20% rebate. There is no reason, outside of their wanting to teach

 27       Filmmaker a lesson, to withhold the tax certificate. Filmmaker fulfilled every

 28       requirement.




                                           Complaint - 59
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 60 of 133                        PageID #: 60




 1     451.      Filmmaker tries to show the love of Jesus to everyone he can. However,should
 2        Defendants even broach any issues that demean or slander Filmmaker, Filmmaker will
 3        amend this lawsuit to include defamation and/or libel and slander. Filnunaker is very
          confident he would win any Anti-Slapp Motion as he has been more than diligent in the
 5        entire application process.
 6     452.      The fact that Defendants did not alert Filmmaker that he was Hacking' in further

 7        proof ofreceipts for more than 9 months is further proof offraud and deceit that would

 8        later rise up again on much more serious levels.

 9     453.      On or about September 2017, Filnunaker put in several calls to Defendant Brazier
 10       to make sure every 'T' was crossed and every T was dotted. Filmmaker wanted to make
 11       sure there would be no problems with getting the 20% rebate back. This was critical as he
 12       would not have filmed in Hawaii.

 13    454.      On or about September 2017, Defendant Brazier repeatedly told Filmmaker that
 14       he did not need to get the GET Tax Ids for established businesses in Hawaii as they were
 15       obviously paying tax to the Hawaii government.
 16    455.      This proved to be another intentional or negligent misrepresentation.
 17    456.      On or about September 2018, almost a vear later. Defendants Dawson and the
 18       Hawaii Film Office suddenly demanded that all the GET tax IDs should be listed. This is
 19       another brazen and firaudulent attempt to deny Filmmaker his lust rebate. Filmmaker did,

 20       in fact, list every single GET Tax ID. Somehow,they lost the paperwork or it was
 21       malicously destroyed.
 22    457.      Filmmaker has already counted over 45 instances of misrepresentation in the one-

 23       sheet the Defendants sent Filmmaker after 9 months. Filmmaker will more than prove

 24       this in the Court of Law. This cause of action ofintentional misrepresentation is stark and

 25       provable.

 26    458.      In Defendant's one page sheet they sent to Filmmaker - that possibly took less
 27       than an hour to do - not 9 months -they also said the GET Tax IDs were wrong when in
 28




                                           Complaint - 60
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 61 of 133                           PageID #: 61




 1        fact they were correct. Further proof that they were desperately trying anjdhing to not
 2        give the Filmmaker his rebate.
 3     459.       The entire one-page sheet is filled with complete wrong assumptions, numbers,
 4        and math. It's like a third-grader put it together hoping this would pass and Filmmaker
 5        would go away.

 6     460.       On or about October 2017 and three weeks before shooting. Defendant Brazier
 7        contacted the production's UPM and gave the UPM the actual budget figures. This is a
 8        text-book case of conflict of interest. The UPM knew Defendant Brazier and was never

 9        given authorization to have any confidential numbers or should receive them as this
10        person was only the UPM.The production ended up firing the UPM for gross
11        incompetence and was later sued by the UPM in small claims.
12     461.       Had Filmmaker known this conflict of interest and gross breach of privacy, he
13        would have immediately requested another contact to work with at the Hawaii Film
 14       Office, because ofthe industry rule/code that key positions should not be filled by ANY
15        partnership team because again if one is fired, the other will quit or have to be fired as
16        well.

 17    462.       Again, this is a textbook case of breaching an implied good covenant in dealings.

 18    463.       Filmmaker believes and alleges that the UPM's firing has contributed to the
 19       Hawaii Film Office defrauding Filmmaker out of his rightful 20% rebate as the UPM sent
 20       a letter to the office violating the confidentiality provision of her signed contract. No
 21       other true professional in the industry would do this.
 22    464.       This unprofessional, sneaky, and juvienile high school conduct is another reason
 23       why Filmmaker will never film in Hawaii again.
 24    465.       On or about November 2017, Filmmaker, to make sure every single requirement
 25       was met, personally emailed Defendant Brazier to have any Film Office employee or
 26       government legislator come to the set(see EXHIBIT B). This requirement is buried in the
 27       forms, but this email again proves how meticulous Filmmaker was in fulfilling every
 28       single requirement including this obscure provision.




                                             Complaint - 61
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 62 of 133                         PageID #: 62




 1      466.      On or about November 17,2017,Filmmaker submitted the preliminary budget to
 2         the Film Office (see EXHIBIT C). As the Honorable Court can see, the preliminary
 3         requirements were met except for two items which were later fulfilled and never a subject
 4         of dispute.

 5      467.       At no time did the Hawaii Film Office ever contact the Filmmaker to alert him to

 6         anything that was not completed or out ofthe ordinarv. In fact, thev were silent for

 7         almost eight months.

 8      468.       On or about November 20,2017,Filmmaker again inquired about the $1,000
 9         contribution that was required to be made to the University of Hawaii Foundation (see
 10        EXHIBIT D). This again shows how astute and careful Filmmaker was to the
 11        requirements set forth by the Hawaii Film Office.^
 12     469.       Filmmaker then donated $1,000 to the University of Hawaii Foundation in
 13        accordance to the requirements(Filmmaker and his wife give 90% oftheir wealth away
 14        to charity or to their faith-based endeavors).
 15     470.       On or about December 2017, Filmmaker received the pre-qualification letter(See
 16        EXHIBIT E and F). At no point, did the Hawaii Film Office ever question or comment on
 17        any part ofthe film's production or requirements.
 18     471.       Multiple calls from March 2017 to February 2018 to Defendant Brazier again

 19        confirmed Filmmaker was on track to receive his rebate.

 20     472.       On or about December 11,2017, the Hawaii Film Office submitted an email(See
 21        EXHIBIT G)which outline precisely the 7 remaining requirements left to get the tax
 22        certificate.

 23


 24



 25
      ® The $1,000 requirement is yet another misprepresentation of the Hawaii Film
 26
      Office's advertising and promotions as this falls beneath the 20% rebate back
 27
      then, i.e., you have to pay an additional $1,000 to be considered for a
 28
      rebate.




                                             Complaint - 62
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 63 of 133                           PageID #: 63




 1     473.      Filmmaker fulfilled every single requirement and more so and will testify, under

 2        the penalty of perjury (that carries a jail sentence), that every single requirement was

 3        fulfilled with complete honesty and integrity.

 4     474.      This will be proven with 'smoking-gun' evidence at trial and during the Motion
 5        for Summary Judgment.

 6     475.      To reiterate the point again, had Filmmaker not been deceived bv Defendant's
 7        action. Filmmaker would not have filmed anv movie in Hawaii. Period.

 8     476.      Nevertheless, it still gets worse.

 9     477.      On or about December 11,2017, Filmmaker sent an email simply re-confirming
10        what constitutes a vendor by the Hawaii Film Office (see EXHIBIT H).
11     478.      In the mostjuvenile, condescending, and vicious response. Defendant Brazier
12        replied to Defendant Dawson,"Should we use the definition of vendor in the
13        dictionary???" She unwittingly copied herselfin her reply to the Filmmaker.
14     479.      As it turns out, this requirement is the exact same thing the Hawaii Film Office
15        fraudulently used in their desperate attempts to sabotage, smear, and hurt Filmmaker by
16        denying the rebate. They questioned what constitutes a vendor. IPs the 'Confederacv of
17        Dunces* all over again.

18     480.      This also proves the immature lengths the Defendants, collectively, have gone to
19        avoid giving the Filmmaker his eamed rebate. It's run like a junior high school.
 20    481.      Again. Filmmaker has worked with the film departments of Connecticut.

 21       Louisiana. Georgia. Virginia. North Carolina. California, et al and has never encountered

 22       such an immature, hostile, mean-spirited, incompetent, sneakv. slow, sensitive, and

 23       maniupulative conduct ever. Filmmaker has been in the business for over 22 vears again

 24       and has made 12 movies.

 25    482.       The Filmmaker again believes the Honorable U.S. District Court and jury will
 26       find sufficient evidence in the months, and possible years to come,of another corrupt
 27       Hawaiian government agency that needs Federal investigation.
 28




                                             Complaint - 63
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 64 of 133                         PageID #: 64




  1    483.      Filmmaker will depose all ofthe parties at the Hawaii Film Office and past UPMs
 2        and line producer of every single past film to prove there is widespread and gross
  3       incompetence at every level.
 4     484.      Filmmaker also plans to file a whistleblower lawsuit against the Hawaii Film
 5        Office and the Hollywood studios for wasting the taxpayer's money. Filmmaker will file
 6        motions to compel the paperwork to see every single budget that the Film Office has
 7        given millions of dollars to the studios and yet denied a simple rebate to the Filmmaker.
 8     485.      On or about December 2017, Filmmaker finished the final paperwork and
 9        contacted the Defendant Hawaii Film Office to begin the tax rebate final process and was
 10       told the tax certificate would be sent within 3 to 6 months.- which is also stated on the

 11       Hawaii Film Office website and on their official forms. It is now October 2018 at the

 12       time of the filing ofthis suit. This is tragic in every respect.
13     486.       Again, having the tax certificate was critical in both post-production money and
 14       for the investors. The Defendants were fully aware of this.
 15    487.       Despite numerous emails, Defendants repeatedly dragged their feet and returned
 16       emails sometimes a month later.

 17    488.       They then stated Filmmaker had to do other tasks that were never in the intital
 18       conversations.

 19    489.       Filmmaker shook his head in disbelief. Filmmaker immediately sensed something

 20       was terribly wrong.
 21    490.       Again, Defendants hid the relationships ofthose that created fnction and their
 22       motives of'teaching the filmmaker a lesson' by delaying the tax certificate to now 9
 23       months. This a textbook fraud and deceit.

 24    491.       Again, Filmmaker would never have filmed a movie in Hawaii had he known of
 25       this firaud and deceit, mispresentation, civil conspiracy and other conduct the Hawaii Film
 26       Office would so brazenly do.
 27


 28




                                              Complaint - 64
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 65 of 133                            PageID #: 65




 1     492.      Furthermore, they even admitted themselves that the office has come under
 2        intense scrutiny by legislatures for previous blunders which will be part ofthe
 3        whistleblower lawsuit. This again is total fi-aud and deceit and a total conflict of interest.

 4     493.      Defendants went bevond being craftv/sneakv to fi'aud and deceit as the Court will

 5        see throughout this Complaint. These are the most dishonorable actions that Filmmaker

 6        has ever worked with in 22 vears. Here Filmmaker shot a movie that would honor a

 7        Hawaiian Chiefess, pay good-paying jobs to Hawaiian/Polynesians, and the Hawaii Film
 8        Office back-stabbed him by deceiving him and playing little juvenile high-school games
 9        no other film office of any state would dare to do.
10     494.      Ifin fact, the Hollywood studios have not gone through this level of fi-aud, then
11        the Hawaii Film Office, complete with starry, wide eyes, have discriminated against the
12        Filmmaker either through his religious beliefs(a violation of the First Amendment)or
13        against him as an independent filmmaker(a violation ofthe Hawaii Whistleblower Act)
 14       This is a text-book case of self-dealing.

15     495.       On or about August 2018, Filmmaker sent several emails to the Attorney
16        General's office and the Govemor's office to attempt to understand why the Hawaii Film
17        Office was taking so long. The Hawaii Film Office refused to answer any emails.
18     496.       Something was trulv wrong here.

 19    497.       Finally, after legal threats, the Hawaii Film Office, in the most overt fi-aud of
 20       perhaps any governmental agency in the state, then sent Filmmaker an astoimding list of
 21       complete lies and fabrications.
 22    498.       Defendants said because Filmmaker has not proved any of his receipts, he is not
 23       entitled to a 20% rebate. Filmmaker immediately knew he was duped.

 24    499.       The Hawaii Film Office sent a list ofrequirements that are filled with complete
 25       fraud and lies. It's almostjaw-dropping how each remaining requirement had already
 26       been fulfilled.

 27    500.       The Hawaii Film Office sent a one-vase sheet that looked like it took ten minutes

 28       to do - not 9 months (see Exhibit A). The Filmmaker will show this smacks ofthe




                                             Complaint - 65
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 66 of 133                               PageID #: 66




 1            juvenile and utterly fraudulent way the Hawaii Film Office went to avoid paying the 20%
 2            rebate.

 3         501.         It's also intentional misrepresentation as the Hawaii Film Office states everv

 4            filmmaker will receive their rebate back in 3-6 months. It's now been 10 months and no

 5            end in sight.

 6         502.         Among the several 'items' that Hawaii Film Office said the Filmmaker had to
 7            prove was the actual shooting location of Kualoa Ranch(See Exhibit A). Filmmaker sent
 8            the bill, the cancelled checks, and the Defendants still said Filmmaker could not prove
 9            this expense. A simple phone call could verify this expenditure.
 10        503.         The sheet again shows scores of names of crew that Filmmaker alreadv gave the

 11           Hawaii Film Office everv single GET Tax ID that thev required. Yet it ignores key

 12           actor's salaries, key equipment rentals, hotels- it's an absolute fraudulent document.'^
 13        504.         Defendants Benita Brazier and Donne Dawson clearly acted outside the scope of
 14           their agency in wanting to pay back Filmmaker in retribution for several reasons
 15           Filmmaker will prove at trial.

 16        505.         The State of Hawaii should not defend Ms. Brazier or Ms. Dawson.

 17        506.         Filmmaker will call on several key witnesses in the cast, crew, and extras to prove
 18           the Film Office is in disarray. He expects the trial to go for at least ten weeks and asks the
 19           Honorable Court's patience as Filmmaker is bracing for extensive discovery(and
 20           possible Motions to Compel with sanctions)to take place during this litigation.
 21


 22


 23


 24
      10
           The one-sheet contains over 50 crew and cast that have already been
 25
      accounted for. The only way to explain the red marks is the Hawaii Film
 26
      Office is doing everything possible to sabotage and not pay Filmmaker. This
 27
      is indisputable evidence. Filmmaker will submit all of the evidence during
 28
      discovery and will file a Motion to seal the documents.




                                                  Complaint - 66
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 67 of 133                         PageID #: 67




 1     507.      This case is very important as there must be freedom of speech in Hawaii and that
 2        federal law still supercedes state law. Hawaii is part of America and most Hawaiians
 3        want that.

 4     508.      Filmmaker will subpeona every crew member for depositions to testify to the
 5        events as true. And if Defendants lie during their sworn depositions, Filmmaker will file a
 6        criminal complaint with the D.A. for perjury and possible Federal intervention.
 7        Filmmaker will begin depositions within 30 days ofthe service ofthe Complaint to get a
 8        head start on all discovery.
 9     509.      Filmmaker believes the damages to the movie are permanent and irrecoverable
10        due to Defendant's actions.

 11    510.      It is paramount that the Honorable Court grant Filmmaker broad discretion in
12        ascertaining what is going on as Filmmaker expects to file multiple Motions to Compel as
13        the Defendants have proven themselves deftly good at avoiding or ignoring questions
 14       pertaining to their conduct.
 15    511.      Defendant's actions left the film in total chaos. The film went overbudget because

 16       of their actions and the Filmmaker had to pay the overbudget out of his own pocket.
 17    512.      Again. Filmmaker testifies, under penaltv of periurv. that he has never sued any

 18       governmental agency in his entire life.

 19    513.      Filmmaker will depose Defendants Benita Brazier, Donne Dawson in November.
 20       He will then depose other filmmakers who have shot movies in Hawaii.
 21    514.      Filmmaker will file a Pre-Judgment Writ of Attachment on all of Defendant's
 22       personal and corporate assets and believes he has been damaged by no less than $135
 23       million in actual and punitive damages and will spend the next 5 years outlying the case
 24       against the Defendants. They need to be punished severely for their contemptible
 25       mistreatment of a filmmaker who tried to honor the people of Hawaii and their valiant
 26       and courageous leader two hundred years ago.
 27


 28            COUNT 6- NEGLIGENT MISREPRESENTATION



                                            Complaint - 67
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 68 of 133                           PageID #: 68




 1


 2     515.      Filmmaker repeats and realleges each and every allegation contained in

 3        paragraphs 1 through 515 above as if fiilly set forth herein.
 4     516.      The courts have looked at four causes of action for negligent misrepresentation

 5        which are i) a representation is made by defendant to Plaintiff where defendant has a
 6        pecuniary interest; ii) defendant supplies false information; iii) defendant did not exercise
 7        reasonable care; iv) Plaintiff suffered consequences/damages

 8     517.      Filmmaker fulfilled each and every requirement methodically and precisely
 9        because he knew the Defendant Hawaii Film Office might try something sneaky.
10        Filmmaker even has proof that one email mistakenly forwarded to Filmmaker showed
11        the Defendants were already conspiring to 'get' Filmmaker'(See Exhibit H).
12     518.      This process ofgetting all the requirements for the Hawaii Film Office took over
13        13 weeks and Filmmaker calculates over 240 hours of man time.

14     519.      Filmmaker is also a Harvard-educated attorney and bills at $550 an hour. So by
15        just multiplying 240 x $550 would come to $192,000. This is how important the rebate
16        back from the Hawaii Film Office was to the Filmmaker and the Filmmaker asks the

17        Court to consider the $192,000 as additional damages aside from the punitive damages.
18     520.      Again, the Hawaii Film Office has blatantly lied in their refusal to credit the
19        Filmmaker with the 20% rebate. There is no reason, outside oftheir wanting to teach

20        Filmmaker a lesson, to withhold the tax certificate. Filmmaker fulfilled every

21        requirement. This is more than just negligent misprepresentation -this is civil
22        conspiracy.

23     521.      Filmmaker tries to show the love of Jesus to everyone he can. Should Defendants
 24       even broach any issues that demean or slander Filmmaker, Filmmaker will amend this
 25       lawsuit to include defamation and/or libel and slander. Filmmaker is very confident he
 26       would win any Anti-Slapp Motion as he has been more than diligent in the entire
 27       application process.

 28




                                            Complaint - 68
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 69 of 133                        PageID #: 69




 1     522.      The fact that Defendants did not alert Filmmaker that he was 'lacking' in further

 2        proof of receipts for more than 9 months is further proof of fraud and deceit that would

 3        later rise up again on much more serious levels.

 4     523.      On or about September 2017, Filmmaker put in several calls to Defendant Brazier
 5        to make sure every 'T' was crossed and every T was dotted. Filmmaker wanted to make
 6        sure there would be no problems with getting the 20% rebate back. This was critical as he
 7        would not have filmed in Hawaii.

 8     524.      On or about September 2017, Defendant Brazier repeatedly told Filmmaker that
 9        he did not need to get the GET Tax Ids for established businesses in Hawaii as they were
10        obviously paying tax to the Hawaii government.
11     525.      This proved to be yet another misrepresentation.
12     526.      On or about September 2018, almost a year later. Defendants Dawson and the
13        Hawaii Film Office suddenly demanded that all the GET tax IDs should be listed. This is
14        another brazen and fraudulent attempt to deny Filmmaker his just rebate. Filmmaker did,

15        in fact, list every single GET Tax ID. Somehow,they lost the paperwork or it was
16        malicously destroyed.
17     527.      In Defendant's one page sheet they sent to Filmmaker - that possibly took less
 18       than an hour to do — not 9 months -they also said the GET Tax IDs were wrong when in
 19       fact they were correct. Further proofthat they were desperately trying anything to not
20        give the Filmmaker his rebate.
 21    528.      The entire one-page sheet is filled with complete wrong assumptions, numbers,
 22       and math. It's like a third-grader put it together hoping this would pass and Filmmaker
 23       would go away.

 24    529.      On or about October 2017 and three weeks before shooting. Defendant Brazier
 25       contacted the production's UPM and gave the UPM the actual budget figures. This is a
 26       text-book case of conflict of interest. The UPM knew Defendant Brazier and was never

 27       given authorization to have any confidential numbers or should receive them as this
 28




                                            Complaint - 69
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 70 of 133                            PageID #: 70




 1         person was only the UPM. The production ended up firing the UPM for gross
 2         incompetence and was later sued by the UPM in small claims.
 3      530.       Had Fihmnaker known this conflict ofinterest and gross breach of privacy, he
 4         would have immediately requested another contact to work with at the Hawaii Film
 5         Office, because ofthe industry rule/code that key positions should not be filled by ANY
 6         partnership team because again if one is fired, the other will quit or have to be fired as
 7         well.

 8      531.       On or about November 2017, Filmmaker, to make sure every single requirement
 9         was met, personally emailed Defendant Brazier to have any Film Office employee or
10         government legislator come to the set(see EXHIBIT B). This requirement is buried in the
11         forms, but this email again proves how meticulous Filmmaker was in fiilfilling every
12         single requirement including this obscure provision.
13      532.       On or about November 17,2017, Filmmaker submitted the preliminary budget to
14         the Film Office(see EXHIBIT C). As the Honorable Court can see, the preliminary
15         requirements were met except for two items which were later fulfilled and never a subject
16         of dispute.
17      533.       At no time did the Hawaii Film Office ever contact the Filmmaker to alert him to

18         anything that was not completed or out ofthe ordinarv. In fact, they were silent for

 19        almost eight months.

 20     534.       On or about November 20,2017, Filmmaker again inquired about the $1,000
 21        contribution that was required to be made to the University of Hawaii Foundation (see
 22        EXHIBIT D). This again shows how astute and careful Filmmaker was to the
 23        requirements set forth by the Hawaii Film Office.'*
 24


 25
        The $1,000 requirement is yet another misprepresentation of the Hawaii Film
 26
      Office's advertising and promotions as this falls beneath the 20% rebate back
 27
      then, i.e., you have to pay an additional $1,000 to be considered for a
 28
      rebate.




                                              Complaint - 70
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 71 of 133                          PageID #: 71




 1     535.       Filmmaker then donated $1,000 to the University of Hawaii Foundation in
 2        accordance to the requirements(Filmmaker and his wife give 90% oftheir wealth away
 3        to charity or to their faith-based endeavors).
 4     536.       On or about December 2017, Filmmaker received the pre-qualification letter(See
 5        EXHIBIT E and F). At no point, did the Hawaii Film Office ever question or comment on
 6        any part ofthe film's production or requirements.
 7     537.       Multiple calls from March 2017 to Februarv 2018 to Defendant Brazier again

 8        confirmed Filmmaker was on track to receive his rebate.

 9     538.       On or about December 11,2017,the Hawaii Film Office submitted an email(See
 10       EXHIBIT G)which outline precisely the 7 remaining requirements left to get the tax
 11       certificate.

 12    539.       Filmmaker fulfilled everv single requirement and more so and will testify, under

 13       the penaltv of perjury (that carries a jail sentence), that everv single requirement was

 14       fulfilled with complete honesty and integrity.

 15    540.       This will be proven with 'smoking-gxm' evidence at trial and during the Motion
 16       for Summary Judgment.

 17    541.       To reiterate the point again, had Filmmaker not been deceived bv Defendant's
 18       action. Filmmaker would not have filmed any movie in Hawaii. Period.

 19    542.       On or about December 11,2017, Filmmaker sent an email simply re-confirming

 20       what constitutes a vendor by the Hawaii Film Office (see EXHIBIT H).
 21    543.       In the mostjuvenile, condescending, and vicious response. Defendant Brazier
 22       replied to Defendant Dawson,"Should we use the definition of vendor in the
 23       dictionary???" She unwittingly copied herself in her reply to the Filmmaker.
 24    544.       As it turns out, this requirement is the exact same thing the Hawaii Film Office
 25       fraudulently used in their desperate attempts to sabotage, smear, and hurt Filmmaker by
 26       denying the rebate. They questioned what constitutes a vendor. It's the *Confederacv of
 27       Dunces' all over again.

 28




                                             Complaint - 71
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 72 of 133                          PageID #: 72




       545.      This also proves the immature lengths the Defendants, collectively, have gone to
 2        avoid giving the Filmmaker his eamed rebate. It's run like a junior high school.
 3     546.      Again. Filmmaker has worked with the film departments of Coimecticut.

 4        Louisiana. Georgia. Virginia. North Carolina. California, et al and has never encountered

 5        such an immature, hostile, mean-spirited, incompetent, sneaky, slow, sensitive, and

 6        maniupulative conduct ever. Filmmaker has been in the business for over 22 vears again

 7        and has made 12 movies.

 8     547.      The Filmmaker again believes the Honorable U.S. District Court and jury will
 9        find sufficient evidence in the months, and possible years to come,of another corrupt
10        Hawaiian government agency that needs Federal investigation.
11     548.      Filmmaker will depose all of the parties at the Hawaii Film Office and past UPMs
12        and line producer of every single past film to prove there is widespread and gross
13        incompetence at every level.
14     549.      Filmmaker also plans to file a whistleblower lawsuit against the Hawaii Film
15        Office and the Hollywood studios for wasting the taxpayer's money. Filmmaker will file
16        motions to compel the paperwork to see every single budget that the Film Office has
17        given millions of dollars to the studios and yet denied a simple rebate to the Filmmaker.
18     550.      On or about December 2017, Filmmaker finished the final paperwork and

 19       contacted the Defendant Hawaii Film Office to begin the tax rebate final process and was
 20       told the tax certificate would be sent within 3 to 6 months.- which is also stated on the

 21       Hawaii Film Office website and on their official forms. It is now October 2018 at the

 22       time ofthe filing ofthis suit. This is tragic in every respect.
 23    551.       Again, having the tax certificate was critical in both post-production money and
 24       for the investors. The Defendants were fully aware of this.

 25    552.       Despite numerous emails. Defendants repeatedly dragged their feet and returned
 26       emails sometimes a month later.

 27    553.       They then stated Filmmaker had to do other tasks that were never in the intital
 28       conversations.




                                             Complaint - 72
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 73 of 133                           PageID #: 73




 1     554.      Filmmaker shook his head in disbelief. Filmmaker immediately sensed something

 2        was terribly wrong.
 3     555.      Again, Defendants hid the relationships of those that created friction and their
 4        motives of'teaching the filmmaker a lesson' by delaying the tax certificate to now 9
 5        months. This a textbook case of fraud and deceit.

       556.      Again,Filmmaker would never have filmed a movie in Hawaii had he known of
 7        this fraud and deceit, mispresentation, civil conspiracy and other conduct the Hawaii Film
 8        Office would so brazenly do.

 9     557.      Furthermore, they even admitted themselves that the office has come under
10        intense scrutiny by legislatures for previous blunders which will be part of the
11        whistleblower lawsuit. This again is total fraud and deceit and a total conflict of interest.

 12    558.      Defendants went beyond being crafty/sneaky to fraud and deceit as the Court will
 13       see throughout this Complaint. These are the most dishonorable actions that Filmmaker

 14       has ever worked with in 22 years. Here Filmmaker shot a movie that would honor a

 15       Hawaiian Chiefess, pay good-paying jobs to Hawaiian/Polynesians, and the Hawaii Film
 16       Office back-stabbed him by deceiving him and playing little juvenile high-school games
 17       no other film office of any state would dare to do.
 18    559.      If in fact, the Hollywood studios have not gone through this level offraud, then
 19       the Hawaii Film Office, complete with starry, wide eyes, have discriminated against the
 20       Filmmaker either through his religious beliefs(a violation of the First Amendment)or
 21       against him as an independent filmmaker(a violation ofthe Hawaii Whistleblower Act)
 22       This is a text-book case ofself-dealing.

 23    560.       On or about August 2018,Filmmaker sent several emails to the Attorney
 24       General's office and the Governor's office to attempt to understand why the Hawaii Film
 25       Office was taking so long. The Hawaii Film Office refused to answer any emails.
 26    561.       Something was truly wrong here.

 27


 28




                                             Complaint - 73
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 74 of 133                              PageID #: 74




 1      562.         Finally, after legal threats, the Hawaii Film Office, in the most overt fraud of
 2         perhaps any governmental agency in the state, then sent Filmmaker an astounding list of

 3         complete lies and fabrications.
 4      563.         Defendants said because Filmmaker has not proved any of his receipts, he is not
 5         entitled to a 20% rebate. Filmmaker immediatelv knew he was duped.

 6      564.         The Hawaii Film Office sent a list of requirements that are filled with complete
 7         fraud and lies. It's almostjaw-dropping how each remaining requirement had already
 8         been fulfilled.

 9      565.         The Hawaii Film Office sent a one-vase sheet that looked like it took ten minutes

10         to do- not 9 months (see Exhibit A). The Filmmaker will show this smacks of the

11         juvenile and utterly fraudulent way the Hawaii Film Office went to avoid paying the 20%
12         rebate.

13      566.         Among the several 'items' that Hawaii Film Office said the Filmmaker had to
14         prove was the actual shooting location of Kualoa Ranch (See Exhibit A). Filmmaker sent
15         the bill, the cancelled checks, and the Defendants still said Filmmaker could not prove
16         this expense. A simple phone call could verify this expenditure. But again, they said any
17         established business didn't require a GET tax id.
18      567.         The sheet again shows scores of names of crew that Filmmaker alreadv gave the

19         Hawaii Film Office everv single GET Tax ID that they required. Yet it ignores kev

20         actor's salaries, kev equipment rentals, hotels- it's an absolute fraudulent document.

21


22


23


 24
        The one-sheet contains over 50 crew and cast that have already been
 25
      accounted for. The only way to explain the red marks is the Hawaii Film
 26
      Office is doing everything possible to sabotage and not pay Filmmaker. This
 27
      is indisputable evidence. Filmmaker will submit all of the evidence during
 28
      discovery and will file a Motion to seal the documents.




                                                Complaint - 74
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 75 of 133                           PageID #: 75




 1     568.      Defendants Benita Brazier and Donne Dawson clearly acted outside the scope of
 2        their agency in wanting to pay back Filmmaker in retribution for several reasons
 3        Filmmaker will prove at trial.
 4     569.      The State of Hawaii should not defend Ms. Brazier or Ms. Dawson.

 5     570.      Filmmaker will call on several key witnesses in the cast, crew, and extras to prove
 6        the Film Office is in disarray. He expects the trial to go for at least ten weeks and asks the
 7        Honorable Court's patience as Filmmaker is bracing for extensive discovery(and
 8        possible Motions to Compel with sanctions) to take place during this litigation.
 9     571.      This case is very important as there must be freedom of speech in Hawaii and that
10        federal law still supercedes state law. Hawaii is part of America and most Hawaiians
11        want that.

12     572.      Filmmaker will subpeona every crew member for depositions to testify to the
13        events as true. And if Defendants lie during their sworn depositions, Filmmaker will file a
 14       criminal complaint with the D.A. for peijury and possible Federal intervention.
15        Filmmaker will begin depositions within 30 days of the service of the Complaint to get a
16        head start on all discovery.

 17    573.       Filmmaker believes the damages to the movie are permanent and irrecoverable
 18       due to Defendant's actions.

 19    574.       It is paramount that the Honorable Court grant Filmmaker broad discretion in
 20       ascertaining what is going on as Filmmaker expects to file multiple Motions to Compel as
 21       the Defendants have proven themselves deftly good at avoiding or ignoring questions
 22       pertaining to their conduct.
 23    575.       Defendant's actions left the film in total chaos. The film went overbudget because

 24       oftheir actions and the Filmmaker had to pay the overbudget out of his own pocket.
 25    576.       Again,Filmmaker testifies, under penaltv of periurv, that he has never sued any
 26       governmental agency in his entire life and testifies all of these facts are true.

 27


 28




                                             Complaint - 75
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 76 of 133                          PageID #: 76




 1     577.      The penalty of penury in Court is a federal jail sentence and Filmmaker will

 2        pursue anyone who lies in Court. This is the U.S. District Court run by world-class judges

 3        who will not tolerate lying to a Federal judge.
 4     578.      Filmmaker will depose Defendants Benita Brazier, Donne Dawson in November
 5        under oath. He will then depose other filmmakers who have shot movies in Hawaii.
 6     579.      Filmmaker will file a Pre-Judgment Writ of Attachment on all of Defendant's
 7        personal and corporate assets and believes he has been damaged by no less than $135
 8        million in actual and punitive damages and will spend the next 5 years outlying the case
 9        against the Defendants. They need to be punished severely for their contemptible
10        mistreatment ofa filmmaker who tried to honor the people of Hawaii and their valiant
11        and courageous leader two hundred years ago.
12     580.      Filmmakers request the court to expedite discovery and set a trial date in the most
13        expeditious manner if possible.
 14



15                 COUNT 7-PROMISSORY FRAUD
 16


 17    581.      Filmmaker repeats and realleges each and every allegation contained in
 18       paragraphs 1 through 581 above as if fully set forth herein.
 19    582.      The fi-audulent inducements and false representations by Defendants to
 20       Filmmaker described with particularity in this entire Complaint were communicated to
 21       Filmmaker through the writer and director both orally and written as set forth therein.
 22       The promises contained in the signed Hawaii Production Reports were communicated to
 23       Filmmaker by Defendants as well as by and through other individuals affiliated with
 24       them orally and in writing. Both said the Defendants would work diligently to fulfill their
 25       end ofthe bargain ofissuing a rebate. It's up to the jury to decide this ultimate question.
 26    583.      Filmmaker is informed, and believes and, based thereon alleges, that at the time
 27       Defendants made the above promises,inducements, and representations to Filmmaker to
 28       induce Filmmaker to enter into the Written Agreement, they were false in that defendants



                                            Complaint - 76
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 77 of 133                          PageID #: 77




  1       used these promises, inducements and representations to Filmmaker to make either a
 2        salary for themselves or continue the Hawaii Film Office existence.

 3     584.      Filmmaker asks the Court to impose the strictest of puntive damages, but in no
 4        event, less than $25 million in damages for promissory fi-aud.
 5     585.      Filmmaker is further informed and believes and, based thereon alleges, that such

 6        promises, inducements and representations by Defendants were made with the intent to
 7        induce Filmmaker to enter into the Hawaii Film Rebate program and to render
 8        performance thereunder.
 9     586.      In strict and absolute reliance upon such false promises, inducements, and
10        representations by Defendants, Filmmaker was induced into filming in Hawaii.
11     587.      At the time Filmmaker took such actions, it was ignorant ofthe falsity of

12        defendant's promises, inducements and representations and,in the exercise ofreasonable
13        diligence, could not have discovered its intentions.
 14    588.      Had Filmmaker known the truth and known of Defendants's intentions, he would

15        not have filmed a movie in Hawaii. Filmmaker has 'smoking gun' evidence in the form
16        of emails sent back and forth between Defendant's employees and Filmmaker that should
 17       serve as evidence of true intent.

 18    589.      Filmmaker's intention is very clear: He wanted to make a faith-based film to
 19       honor the people of Hawaii. The breaches are crystal-clear, and thus the court should
 20       affirm a Motion for Summary Judgment in favor of the Filmmaker.
 21    590.      As a direct and proximate result ofthe above-described acts of Defendants,
 22       Filmmaker has been damaged in an amount to be determined at trial, in excess of the
 23       jurisdictional minimum ofthis court, and believed to be no less than $25 million.
 24    591.      Defendants's conduct was(a)contemptible conduct which was carried on with a
 25       willful and conscious disregard for the rights of the Filmmaker, his career, and for the
 26       general public who were deprived of seeing this magnificent film because Defendants
 27       had another agenda and refused to put Filmmaker's film before their own vested
 28       interests;(b)conduct that subjected Filmmaker to unjust hardship in conscious disregard



                                              Complaint - 77
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 78 of 133                          PageID #: 78




 1        of its rights; and (c)intentional misrepresentation, deceit or concealment of material facts
 2        known to Defendants with the intention ofthereby depriving Filmmaker of its property

 3       (and timeliness) and legal rights and otherwise causing injury. Said conduct constitutes
          malice, oppression, and fraud within the meaning of promissory fraud.
 5     592.      Therefore, Filmmaker is entitled to recover exemplary and punitive damages
 6        against Defendants, in addition to actual damages, for the sake ofexample and by way of
 7        punishing Defendants.

 8


          COUNT 8-BREACH OF IMPLIED CONTRACT
10


11     593.      Filmmaker repeats and realleges each and every allegation contained in
12        paragraphs 1 through 593 above as iffully set forth herein.
13     594.      In the event that the rebate contract is rescinded or terminated with respect to

14        Defendants's obligations, then Filmmaker allege that Defendants is in breach of its oral
15        agreements and implied agreements as well as entitled to puntive damages.
 16    595.      On or about April 2017,Filmmaker began pre-production ofone of most
 17       ambitious movies on Hawaii history ever - on the lives of Chiefess Kapiolani, King
 18       Kamehameha, Captain Cook,and Queen Liliuokalani.
 19    596.      The film made news around the world, including US News and World Report,
 20       NBC,ABC,and local Hawaiian media(Hawaii News Now, Star Advertiser, KHON,
 21       KITV,etal).

 22    597.       As the PlaintiffrFilmmaker Tim Chey is a devout Christian, the first film he
 23       wanted to put into production was the compelling story of Chiefess Kapiolani who found
 24       Christ and went to the top of the volcano to proclaim her new-found faith in the Lord.
 25    598.      Filmmaker enlisted a Native Hawaiian professor at the University of Hawaii who
 26       teaches Native Hawaiian history to help research and co-write the script. Yet a core group
 27       of people who oppose Christianity in Hawaii conspired against the Filmmaker.
 28




                                            Complaint - 78
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 79 of 133                           PageID #: 79




 1        Filmmaker has *smoking-gun' evidence of this and will release this during discovery and
 2        at the trial.

 3     599.       Filmmaker is contemplating suing this group later in 2019- he first wants to get
 4        this case moving forward to a 2019/2020 trial,

 5     600.       On or about March 2017, Filmmaker decided to film 'The Islands' after being
 6        assured that the Defendant Hawaii Film Office would give a 20% rebate on the budget
 7        that the Film Office gives to all filmmakers. This was extremelv important to the
 8        Filmmaker as manv production companies base their entire decision for where to film

 9        based on the movie tax credits ofeach state. This is common industrv knowledge and

10        practice,
11     601.       Also, the 20% rebate is critically important for P&A (prints and advertising)for
12        the film's exposure and marketing funds,
13     602.       Had Filmmaker known that Defendants would even attempt not to reward the
14        20% rebate because they didn't like the content ofthe movie,the Filmmaker's beliefs, or
15        his personality per se. Filmmaker would never have even launched such a huculean effort
16        in making the film,including casting an Academy-Award winning actress, a legendary
17        actor, and a 98% Native Polynesian cast. Filmmaker would simply have made another
18        film in another state. Filmmaker has made 12 movies in 22 years. He did not need the
19        horrific grief imposed by Defendants collectively,
20     603.       It is very rare for any governmental agency to act as juvenile, vindictive, and
21        incompetent as the Hawaii Film Office, It's astonishing as Filmmaker has worked with
22        the Connecticut. Lousiana. Virsdnia. Fiii. California. Michigan, and North Carolina film

23        offices with absolutelv no issues or problems. In fact, the Connecticut Film Office gave

24        Filmmaker his 30% tax rebate for 'Freedom'(Cuba Gooding, Jr., Sharon Leal, William
25        Sadler) within 30 days after the paperwork was turned in,
26     604.       From the start ofthe movie imtil post-production. Filmmaker made the 20%
 27       rebate the number one priority as he realized how significant the rebate was. It was 20%
 28       of the entire budget and this was to put bread on the table ofa faith-based filmmaker.



                                            Complaint - 79
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 80 of 133                        PageID #: 80




 1     605.      On or about April 2017,Filmmaker received a strange message from one ofthe
 2        employees of the Hawaii Film Office. She said she had ^concerns' about Filmmaker's
 3        movie and to call her. Filmmaker returned her call and assured her that one of his co-

 4        writers was a well-respected Native Hawaiian professor at the University of Hawaii who
 5        taught Native Hawaiian history.

 6     606.      Nevertheless, this is a complete violation ofFilmmaker's 1®' Amendment rights
 7        for a government agency to inquire about the content of a movie - it's almost unheard of.
 8        Imagine a California agency calling a Holljrwood studio and 'inquiring' about the content
 9        ofthe horror movie 'The Nun'. The outrage would be worldwide. This is no different.
 10    607.      Having a Hawaii state agency calling to say there's a problem with Filmmaker's
 11       Christian movie reeks of 1 Amendment problems offree speech.
 12    608.      The history of Chiefess Kapiolani's leadership brought Christianity to Hawaii.
 13       This is the issue ofthose who oppose it. Filmmaker gets it and totally understands the
 14       hatred as Jesus himself said "Ifthey hated me,they will hate you."(John 15:18).
 15    609.      Nevertheless, Hawaii is officially part of the United States and must adhere to
 16       federal laws or there will be absolute chaos. The rejection ofthe rebate to Filmmaker is

 17       the beginning ofthe end and shows the Defendants collectivelv breached the implied
 18       covenant of good faith starklv and maliciously.

 19    610.      Again, the film is based on a true story and anything done on the governmental
 20       level to oppose Filmmaker is complete and total discrimination against his religion and
 21       unequivocably violates the Filmmaker's First Amendment rights to free speech.
 22    611.      The events ofthe core group to oppose Filmmaker's telling of the history started
 23       the entire chain-of-events as Filmmaker would not back down from making the film.
 24    612.      Filmmaker received death threats before and during shooting. His staff had to file
 25       police reports to the incompetent Honolulu police who did absolutely nothing despite
 26       even having the name ofthe alleged perpetrator.
 27


 28




                                            Complaint - 80
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 81 of 133                          PageID #: 81




 1     613.      Filmmaker alleges that possible elements or people in the Hawaii Film Office
 2        have also been part of a smear campaign against many historical Hawaiian films,
 3        including Filmmaker's movie.
 4     614.      In addition to death threats, Filmmaker was up against many other deep hurdles,
 5        including union threats and Hawaiian activists who threatened to shut down the
 6        production on numerous instances.
 7     615.      In over 60 emails and phone calls, Filmmaker worked diligently to make sure
 8        every single receipt, GET tax id of every single crew member and cast member was
 9        obtained.

10     616.      Filmmaker fulfilled each and everv requirement methodicallv and precisely

11        because he knew the Defendant Hawaii Film Office might try something sneaky.

12        Filmmaker even has proof that one email mistakenly forwarded to Filmmaker showed
13        the Defendants were already conspiring to 'get' Filmmaker'(See Exhibit H).
14     617.      This process of getting all the requirements for the Hawaii Film Office took over

15        13 weeks and Filmmaker calculates over 240 hours of man time.

16     618.      Filmmaker is also a Harvard-educated attorney and bills at $550 an hour. So by
17        just multiplying 240 x $550 would come to $192,000. This is how important the rebate
18        back from the Hawaii Film Office was to the Filmmaker and the Filmmaker asks the

19        Court to consider the $192,000 as additional damages aside from the punitive damages.
20     619.      Again, the Hawaii Film Office has blatantly lied in their refusal to credit the
 21       Filmmaker with the 20% rebate. There is no reason, outside of their wanting to teach

 22       Filmmaker a lesson, to withhold the tax certificate. Filmmaker fulfilled every

23        requirement.

 24    620.      Filmmaker tries to show the love of Jesus to everyone he can. However,should
 25       Defendants even broach any issues that demean or slander Filmmaker, Filmmaker will
 26       amend this lawsuit to include defamation and/or libel and slander. Filmmaker is very

 27       confident he would win any Anti-Slapp Motion as he has been more than diligent in the
 28       entire application process.




                                            Complaint - 81
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 82 of 133                        PageID #: 82




 1     621.      The fact that Defendants did not alert Filmmaker that he was jacking' in further

 2        proof ofreceipts for more than 9 months is further proof offraud and deceit that would

  3       later rise up again on much more serious levels.

 4     622.      On or about September 2017, Filmmaker put in several calls to Defendant Brazier
 5        to make sure every T'was crossed and every T' was dotted. Filmmaker wanted to make
 6        sure there would be no problems with getting the 20% rebate back. This was critical as he
 7        would not have filmed in Hawaii.

 8     623.      On or about September 2017, Defendant Brazier repeatedly told Filmmaker that
 9        he did not need to get the GET Tax Ids for established businesses in Hawaii as they were
 10       obviously paying tax to the Hawaii government.
 11    624.      This proved to be yet another misrepresentation.
 12    625.      On or about September 2018, almost a year later. Defendants Dawson and the
 13       Hawaii Film Office suddenly demanded that all the GET tax IDs should be listed. This is
 14       another brazen and fraudulent attempt to deny Filmmaker his iust rebate. Filmmaker did,

 15       in fact, list every single GET Tax ID. Somehow,they lost the paperwork or it was
 16       malicously destroyed.
 17    626.      In Defendant's one page sheet they sent to Filmmaker - that possibly took less
 18       than an hour to do — not 9 months — they also said the GET Tax IDs were wrong when in
 19       fact they were correct. Further proof that they were desperately trying anything to not
 20       give the Filmmaker his rebate.
 21    627.      The entire one-page sheet is filled with complete wrong assumptions, numbers,
 22       and math. It's like a third-grader put it together hoping this would pass and Filmmaker
 23       would go away.
 24    628.      On or about October 2017 and three weeks before shooting. Defendant Brazier
 25       contacted the production's UPM and gave the UPM the actual budget figures. This is a
 26       text-book case of conflict ofinterest. The UPM knew Defendant Brazier and was never

 27       given authorization to have any confidential numbers or should receive them as this
 28




                                            Complaint - 82
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 83 of 133                            PageID #: 83




 1        person was only the UPM.The production ended up firing the UPM for gross
 2        incompetence and was later sued by the UPM in small claims.
 3     629.       Had Filmmaker known this conflict of interest and gross breach of privacy, he
 4        would have immediately requested another contact to work with at the Hawaii Film
 5        Office, because ofthe industry rule/code that key positions should not be filled by ANY
 6        partnership team because again if one is fired, the other will quit or have to be fired as
 7        well.

 8     630.       Again, this is a textbook case ofbreaching an implied good covenant in dealings.

 9     631.       Filmmaker believes and alleges that the UPM's firing has contributed to the
10        Hawaii Film Office defrauding Filmmaker out of his rightful 20% rebate as the UPM sent
11        a letter to the office violating the confidentiality provision of her signed contract. No
12        other true professional in the industry would do this.
13     632.       This unprofessional, sneaky, and juvenile high school conduct is another reason
14        why Filmmaker will never film in Hawaii again.
15     633.       On or about November 2017,Filmmaker, to make sure every single requirement
16        was met, personally emailed Defendant Brazier to have any Film Office employee or
17        government legislator come to the set(see EXHIBIT B). This requirement is buried in the
18        forms, but this email again proves how meticulous Filmmaker was in fulfilling every
19        single requirement including this obscure provision.
 20    634.       On or about November 17,2017,Filmmaker submitted the preliminary budget to
 21       the Film Office (see EXHIBIT C). As the Honorable Court can see, the preliminary
22        requirements were met except for two items which were later fulfilled and never a subject
 23       of dispute.
 24    635.       At no time did the Hawaii Film Office ever contact the Filmmaker to alert him to

 25       anvthing that was not completed or out ofthe ordinary. In fact, thev were silent for
 26       almost eight months.

 27    636.       On or about November 20,2017, Filmmaker again inquired about the $1,000
 28       contribution that was required to be made to the University of Hawaii Foundation(see



                                             Complaint - 83
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 84 of 133                               PageID #: 84




 1            EXHIBIT D). This again shows how astute and careful Filmmaker was to the
 2            requirements set forth by the Hawaii Film Office.'^
 3         637.       Filmmaker then donated $1,000 to the University of Hawaii Foundation in
 4            accordance to the requirements(Filmmaker and his wife give 90% oftheir wealth away
 5            to charity or to their faith-based endeavors).
 6         638.       On or about December 2017, Filmmaker received the pre-qualification letter(See
 7            EXHIBIT E and F). At no point, did the Hawaii Film Office ever question or comment on
 8            any part ofthe film's production or requirements.
 9         639.       Multiple calls from March 2017 to February 2018 to Defendant Brazier again

10            confmned Filmmaker was on track to receive his rebate.

11         640.       On or about December 11,2017, the Hawaii Film Office submitted an email(See
12            EXHIBIT G)which outline precisely the 7 remaining requirements left to get the tax
13            certificate.

14         641.       Filmmaker fulfilled every single requirement and more so and will testify, under

15            the penalty of perjury (that carries a jail sentence), that every single requirement was

16            fulfilled with complete honesty and integrity.

17         642.       This will be proven with 'smoking-gun' evidence at trial and during the Motion
18            for Summary Judgment.

19         643.       To reiterate the point again, had Filmmaker not been deceived by Defendant's
20            action. Filmmaker would not have filmed any movie in Hawaii. Period.

 21        644.       Nevertheless, it still gets worse.

 22        645.       On or about December 11,2017, Filmmaker sent an email simply re-confirming
 23           what constitutes a vendor by the Hawaii Film Office(see EXHIBIT H).
 24


 25
      13
           The $1,000 requirement is yet another misprepresentation of the Hawaii Film
 26
      Office's advertising and promotions as this falls beneath the 20% rebate back
 27
      then, i.e., you have to pay an additional $1,000 to be considered for a
 28
      rebate.




                                                 Complaint - 84
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 85 of 133                           PageID #: 85




 1     646.      In the mostjuvenile, condescending, and vicious response. Defendant Brazier
 2        replied to Defendant Dawson,"Should we use the definition of vendor in the
 3        dictionary???" She unwittingly copied herself in her reply to the Filmmaker.
 4     647.      As it turns out, this requirement is the exact same thing the Hawaii Film Office
 5        fraudulently used in their desperate attempts to sabotage, smear, and hurt Filmmaker by
          denying the rebate. They questioned what constitutes a vendor. It's the 'Confederacv of
 7        Dunces' all over again.

 8     648.      This also proves the immature lengths the Defendants, collectively, have gone to
 9        avoid giving the Filmmaker his earned rebate. It's run like a junior high school.
10     649.      Again. Filmmaker has worked with the film departments of Connecticut,

11        Louisiana. Georgia. Virginia. North Carolina. California, et al and has never encountered

 12       such an immature, hostile, mean-spirited, incompetent, sneakv. slow, sensitive, and

 13       maniupulative conduct ever. Filmmaker has been in the business for over 22 vears again

 14       and has made 12 movies.

 15    650.      The Filmmaker again believes the Honorable U.S. District Court and jury will
 16       find sufficient evidence in the months, and possible years to come,of another corrupt
 17       Hawaiian government agency that needs Federal investigation.
 18    651.      Filmmaker will depose all ofthe parties at the Hawaii Film Office and past UPMs
 19       and line producer ofevery single past film to prove there is widespread and gross
 20       incompetence at every level
 21    652.      Filmmaker also plans to file a whistleblower lawsuit against the Hawaii Film
 22       Office and the Hollywood studios for wasting the taxpayer's money. Filmmaker will file
 23       motions to compel the paperwork to see every single budget that the Film Office has
 24       given millions of dollars to the studios and yet denied a simple rebate to the Filmmaker
 25    653.      On or about December 2017,Filmmaker finished the final paperwork and
 26       contacted the Defendant Hawaii Film Office to begin the tax rebate final process and was
 27       told the tax certificate would be sent within 3 to 6 months. — which is also stated on the

 28




                                            Complaint - 85
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 86 of 133                           PageID #: 86




 1        Hawaii Film Office website and on their official forms. It is now October 2018 at the

 2        time ofthe filing ofthis suit. This is tragic in every respect.

 3     654.      Again, having the tax certificate was critical in both post-production money and
          for the investors. The Defendants were fully aware ofthis.

       655.      Despite numerous emails, Defendants repeatedly dragged their feet and returned
          emails sometimes a month later.

 7     656.      They then stated Filmmaker had to do other tasks that were never in the intital
 8        conversations.

 9     657.      Filmmaker shook his head in disbelief. Filmmaker immediately sensed something
10        was terribly wrong.
11     658.       Again, Defendants hid the relationships ofthose that created friction and their
12        motives of'teaching the filmmaker a lesson' by delaying the tax certificate to now 9
13        months. This a textbook fraud and deceit.

 14    659.       Again, Filmmaker would never have filmed a movie in Hawaii had he known of
15        this fraud and deceit, mispresentation, civil conspiracy and other conduct the Hawaii Film
16        Office would so brazenly do.
17     660.      Furthermore, they even admitted themselves that the office has come under
18        intense scrutiny by legislatures for previous blunders which will be part ofthe
19        whistleblower lawsuit. This again is total fraud and deceit and a total conflict of interest.

 20    661.       Defendants went bevond being craftv/sneakv to fraud and deceit as the Court will

 21       see throughout this Complaint. These are the most dishonorable actions that Filmmaker

 22       has ever worked with in 22 years. Here Filmmaker shot a movie that would honor a

 23       Hawaiian Chiefess, pay good-paying jobs to Hawaiian/Polynesians, and the Hawaii Film
 24       Office back-stabbed him by deceiving him and playing little juvenile high-school games
 25       no other film office of any state would dare to do.
 26    662.       If in fact, the Hollywood studios have not gone through this level offraud, then
 27       the Hawaii Film Office, complete with starry, wide eyes, have discriminated against the
 28       Filmmaker either through his religious beliefs(a violation of the First Amendment)or



                                             Complaint - 86
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 87 of 133                             PageID #: 87




  1        against him as an independent filmmaker(a violation ofthe Hawaii Whistleblower Act)
 2         This is a text-book case of self-dealing.

  3     663.         On or about August 2018, Filmmaker sent several emails to the Attorney
  4        GeneraTs office and the Governor's office to attempt to understand why the Hawaii Film
  5        Office was taking so long. The Hawaii Film Office refused to answer any emails.
 6      664.         Something was trulv wrong here.

 7      665.         Finally, after legal threats, the Hawaii Film Office, in the most overt fraud of
 8         perhaps any governmental agency in the state, then sent Filmmaker an astounding list of
  9        complete lies and fabrications.

 10     666.         Defendants said because Filmmaker has not proved any of his receipts, he is not
 11        entitled to a 20% rebate. Filmmaker immediatelv knew he was duped.

 12     667.         The Hawaii Film Office sent a list ofrequirements that are filled with complete
 13        fraud and lies. It's almostjaw-dropping how each remaining requirement had already
 14        been fulfilled.

 15     668.         The Hawaii Film Office sent a one-vase sheet that looked like it took ten minutes

 16        to do - not 9 months (see Exhibit A). The Filmmaker will show this smacks ofthe

 17        juvenile and utterly fraudulent way the Hawaii Film Office went to avoid paying the 20%
 18        rebate.

 19     669.         Among the several ^items' that Hawaii Film Office said the Filmmaker had to
 20        prove was the actual shooting location of Kualoa Ranch(See Exhibit A). Filmmaker sent
 21        the bill, the cancelled checks, and the Defendants still said Filmmaker could not prove

 22        this expense. A simple phone call could verify this expenditure.
 23     670.         The sheet again shows scores of names of crew that Filmmaker alreadv gave the

 24        Hawaii Film Office everv single GET Tax ID that thev required. Yet it ignores kev

 25        actor's salaries, kev equipment rentals, hotels- it's an absolute fi-audulent document.'^
 26


 27
        The one-sheet contains over 50 crew and cast that have already been
 28
      accounted for. The only way to explain the red marks is the Hawaii Film




                                               Complaint - 87
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 88 of 133                            PageID #: 88




 1      671.      Defendants Benita Brazier and Donne Dawson clearly acted outside the scope of
 2         their agency in wanting to pay back Filmmaker in retribution for several reasons
 3         Filmmaker will prove at trial.
 4      672.      The State of Hawaii should not defend Ms. Brazier or Ms. Dawson.

 5      673.      Filmmaker will call on several key wimesses in the cast, crew, and extras to prove

 6         the Film Office is in disarray. He expects the trial to go for at least ten weeks and asks the
 7         Honorable Court's patience as Filmmaker is bracing for extensive discovery(and
 8         possible Motions to Compel with sanctions) to take place during this litigation.
 9      674.      This case is very important as there must be freedom of speech in Hawaii and that
10         federal law still supercedes state law. Hawaii is part of America and most Hawaiians
11         want that.

12      675.      Filmmaker will subpeona every crew member for depositions to testify to the
13         events as true. And if Defendants lie during their sworn depositions. Filmmaker will file a
14         criminal complaint with the D.A. for perjury and possible Federal intervention.
15         Filmmaker will begin depositions within 30 days of the service of the Complaint to get a
16         head start on all discovery.

17      676.      Filmmaker believes the damages to the movie are permanent and irrecoverable
 18        due to Defendant's actions.

 19     677.      It is paramount that the Honorable Court grant Filmmaker broad discretion in
 20        ascertaining what is going on as Filmmaker expects to file multiple Motions to Compel as
 21        the Defendants have proven themselves deftly good at avoiding or ignoring questions
 22        pertaining to their conduct.
 23     678.       Defendant's actions left the film in total chaos. The film went overbudget because

 24        of their actions and the Filmmaker had to pay the overbudget out of his own pocket.
 25


 26
      Office is doing everything possible to sabotage and not pay Filmmaker. This
 27
      is indisputable evidence. Filmmaker will submit all of the evidence during
 28
      discovery and will file a Motion to seal the documents.




                                              Complaint - 88
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 89 of 133                           PageID #: 89




 1     679.      Again. Filmmaker testifies, under penalty of perjury, that he has never sued any

 2        governmental agency in his entire life.

 3     680.      Filmmaker will depose Defendants Benita Brazier, Donne Dawson in November.
 4        He will then depose other filmmakers who have shot movies in Hawaii.
 5     681.      Filmmaker will file a Pre-Judgment Writ of Attachment on all of Defendant's

 6        personal and corporate assets and believes he has been damaged by no less than $135
 7        million in actual and punitive damages and will spend the next 5 years outlying the case
 8        against the Defendants. They need to be punished severely for their contemptible
 9        mistreatment of a filmmaker who tried to honor the people of Hawaii and their valiant
10        and courageous leader two hundred years ago.
11     682.      Filmmaker is exiting making the next films in Hawaii and the damages are stark
12        and real- due mostly because of Defendant's fraud and deceit. This will be calculated in
13        the damages against Defendants.
14



15                    COUNT 9- QUANTUM MERUIT
16


17     683.      Filmmaker repeats and realleges each and every allegation contained in
18        paragraphs 1 through 683 above as iffully set forth herein.
19     684.      Filmmaker performed services, labor, and hard work,including fulfilling all
20        Defendant's requirements, including hiring over 183 people and using all the Hawaii
21        vendors in making this very important film.
22     685.      Defendants have failed and refuse to pay Filmmaker for the value of his services
23        Filmmaker performed for the Defendants by letting the State enjoy free publicity in
24        having Academy-Award winning actors come to Hawaii and spending money on the
25        crew, hotels, food, construction, venues, catering, etc. Filmmaker is entitled to his full
26        value of services bestowed on Defendants in an amount to be determined at trial but

27        believed to be no less than $1.5 million which is very conservative in the film industry
28        for a well-known, prominent writer/director.




                                            Complaint - 89
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 90 of 133                             PageID #: 90




 1


      ''              COUNT 10-NEGLIGENT INFLICTION OF
                      EMOTIONAL DISTRESS


 5         686.       Filmmaker repeats and realleges each and every allegation contained in
 6            paragraphs 1 through 686 above as if fully set forth herein.
 7         687.       A cause of action for negligent infliction of emotional distress consists of:(1)a
 8            duty of care owed by the defendant to the Filmmaker,(2)breach of that duty by the
 9            defendant resulting in severe emotional suffering and (3)actual and proximate causation
10            of severe emotional distress.

11         688.       On or about April 2017,Filmmaker began pre-production ofone of most
12            ambitious movies on Hawaii history ever - on the lives of Chiefess Kapiolani, King
13            Kamehameha, Captain Cook,and Queen Liliuokalani.
 14        689.       The film made news around the world, including US News and World Report,
 15           NBC,ABC,and local Hawaiian media(Hawaii News Now,Star Advertiser, KHON,
16            KITV,etal).

 17        690.       As the Plaintiff/Filmmaker Tim Chey is a devout Christian, the first film he
 18           wanted to put into production was the compelling story of Chiefess Kapiolani who found
 19           Christ and went to the top ofthe volcano to proclaim her new-found faith in the Lord.
 20        691.       Filmmaker enlisted a Native Hawaiian professor at the University of Hawaii who
 21           teaches Native Hawaiian history to help research and co-write the script. Yet a core group
 22           of people who oppose Christianity in Hawaii conspired against the Filmmaker.
 23           Filmmaker has *smoking-gun' evidence ofthis and will release this during discovery and
 24           at the trial.

 25        692.       Filmmaker is contemplating suing this group later in 2019- he first wants to get
 26           this case moving forward to a 2019/2020 trial.
 27        693.       On or about March 2017, Filmmaker decided to film 'The Islands' after being
 28           assured that the Defendant Hawaii Film Office would give a 20% rebate on the budget




                                                Complaint - 90
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 91 of 133                           PageID #: 91




 1        that the Film Office gives to all filmmakers. This was extremely important to the
 2        Filmmaker as many production companies base their entire decision for where to film

 3        based on the movie tax credits of each state. This is common industry knowledge and

 4        practice.

 5     694.      Also,the 20% rebate is critically important for P&A (prints and advertising)for
 6        the film's exposure and marketing funds.
 7     695.      Had Filmmaker known that Defendants would even attempt not to reward the

 8        20% rebate because they didn't like the content ofthe movie,the Filmmaker's beliefs, or
 9        his personality per se. Filmmaker would never have even launched such a huculean effort
 10       in making the film, including casting an Academy-Award winning actress, a legendary
 11       actor, and a 98% Native Polynesian cast. Filmmaker would simply have made another
 12       film in another state. Filmmaker has made 12 movies in 22 years. He did not need the
 13       horrific griefimposed by Defendants collectively.
 14    696.      It is very rare for any governmental agency to act as juvenile, vindictive, and
 15       incompetent as the Hawaii Film Office. It's astonishing as Filmmaker has worked with
 16       the Connecticut. Lousiana. Virginia. Fiji. California. Michigan, and North Carolina film

 17       offices with absolutely no issues or problems. In fact, the Connecticut Film Office gave
 18       Filmmaker his 30% tax rebate for'Freedom'(Cuba Gooding, Jr., Sharon Leal, William
 19       Sadler) within 30 days after the paperwork was turned in.

 20    697.      From the start of the movie until post-production. Filmmaker made the 20%
 21       rebate the number one priority as he realized how significant the rebate was. It was 20%
 22       of the entire budget and this was to put bread on the table of a faith-based filmmaker.
 23    698.      On or about April 2017, Filmmaker received a strange message from one ofthe
 24       employees of the Hawaii Film Office. She said she had 'concerns' about Filmmaker's
 25       movie and to call her. Filmmaker returned her call and assured her that one of his co-

 26       writers was a well-respected Native Hawaiian professor at the University of Hawaii who
 27       taught Native Hawaiian history.
 28




                                            Complaint - 91
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 92 of 133                        PageID #: 92




  1    699.      Nevertheless, this is a complete violation ofFilmmaker's 1®* Amendment rights
 2        for a government agency to inquire about the content of a movie - it's almost unheard of.
 3        Imagine a California agency calling a Hollywood studio and 'inquiring' about the content
 4        ofthe horror movie 'The Nun'. The outrage would be worldwide. This is no different.

 5     700.      Having a Hawaii state agency calling to say there's a problem with Filmmaker's
 6        Christian movie reeks of 1®' Amendment problems offree speech.
 7     701.      The history of Chiefess Kapiolani's leadership brought Christianity to Hawaii.

 8        This is the issue ofthose who oppose it. Filmmaker gets it and totally understands the
 9        hatred as Jesus himself said "Ifthey hated me,they will hate you."(John 15:18).
 10    702.      Nevertheless, Hawaii is officially part ofthe United States and must adhere to
 11       federal laws or there will be absolute chaos. The rejection ofthe rebate to Filmmaker is

 12       the beginning ofthe end and shows the Defendants collectivelv breached the implied

 13       covenant of good faith starklv and maliciouslv.

 14    703.      Again, the film is based on a true story and anything done on the governmental
 15       level to oppose Filmmaker is complete and total discrimination against his religion and
 16       unequivocably violates the Filmmaker's First Amendment rights to free speech.
 17    704.      The events ofthe core group to oppose Filmmaker's telling ofthe history started
 18       the entire chain-of-events as Filmmaker would not back down from making the film.

 19    705.      Filmmaker received death threats before and during shooting. His staff had to file
 20       police reports to the incompetent Honolulu police who did absolutely nothing despite
 21       even having the name ofthe alleged perpetrator.
 22    706.      Filmmaker alleges that possible elements or people in the Hawaii Film Office
 23       have also been part of a smear campaign against many historical Hawaiian films,
 24       including Filmmaker's movie.
 25    707.      In addition to death threats, Filmmaker was up against many other deep hurdles,
 26       including union threats and Hawaiian activists who threatened to shut down the
 27       production on numerous instances.

 28




                                           Complaint - 92
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 93 of 133                          PageID #: 93




 1     708.      In over 60 emails and phone calls, Filmmaker worked diligently to make sure
 2        every single receipt, GET tax id ofevery single crew member and cast member was
 3        obtained.

 4     709.      Filmmaker fulfilled each and everv requirement methodicallv and preciselv

 5        because he knew the Defendant Hawaii Film Office might trv something sneaky.

 6        Filmmaker even has proof that one email mistakenly forwarded to Filmmaker showed
 7        the Defendants were already conspiring to *get' Filmmaker'(See Exhibit H).
 8     710.      This process of getting all the requirements for the Hawaii Film Office took over

 9        13 weeks and Filmmaker calculates over 240 hours of man time.

10     711.      Filmmaker is also a Harvard-educated attorney and bills at $550 an hour. So by
11       just multiplying 240 x $550 would come to $192,000. This is how important the rebate
12        back from the Hawaii Film Office was to the Filmmaker and the Filmmaker asks the

13        Court to consider the $192,000 as additional damages aside from the punitive damages.
14     712.      Again, the Hawaii Film Office has blatantly lied in their refusal to credit the
15        Filmmaker with the 20% rebate. There is no reason, outside of their wanting to teach

16        Filmmaker a lesson, to withhold the tax certificate. Filmmaker fulfilled every

17        requirement.
18     713.      Filmmaker tries to show the love of Jesus to everyone he can. However,should
19        Defendants even broach any issues that demean or slander Filmmaker, Filmmaker will
20        amend this lawsuit to include defamation and/or libel and slander. Filmmaker is very

21        confident he would win any Anti-Slapp Motion as he has been more than diligent in the
22        entire application process.
23     714.      The fact that Defendants did not alert Filmmaker that he was 'lacking' in further

24        proof of receipts for more than 9 months is further proof of fraud and deceit that would

25        later rise up again on much more serious levels.

26     715.      On or about September 2017,Filmmaker put in several calls to Defendant Brazier
 27       to make sure every 'T' was crossed and every T' was dotted. Filmmaker wanted to make
 28




                                           Complaint - 93
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 94 of 133                        PageID #: 94




 1        sure there would be no problems with getting the 20% rebate back. This was critical as he
 2        would not have filmed in Hawaii,

 3     716.      On or about September 2017, Defendant Brazier repeatedly told Filmmaker that
 4        he did not need to get the GET Tax Ids for established businesses in Hawaii as they were
 5        obviously paying tax to the Hawaii government.
 6     717.      This proved to be yet another misrepresentation.
 7     718.      On or about September 2018, almost a vear later. Defendants Dawson and the
 8        Hawaii Film Office suddenly demanded that all the GET tax IDs should be listed. This is
 9        another brazen and fi'audulent attempt to denv Filmmaker his just rebate. Filmmaker did,

10        in fact, list every single GET Tax ID. Somehow,they lost the paperwork or it was
11        malicously destroyed.

12     719.      In Defendant's one page sheet they sent to Filmmaker - that possibly took less
13        than an hour to do - not 9 months-they also said the GET Tax IDs were wrong when in

14        fact they were correct. Further proofthat they were desperately trying anything to not
15        give the Filmmaker his rebate.
16     720.      The entire one-page sheet is filled with complete wrong assumptions, numbers,
17        and math. It's like a third-grader put it together hoping this would pass and Filmmaker
18        would go away.
19     721.      On or about October 2017 and three weeks before shooting. Defendant Brazier
 20       contacted the production's UPM and gave the UPM the actual budget figures. This is a
 21       text-book case of conflict of interest. The UPM knew Defendant Brazier and was never

 22       given authorization to have any confidential numbers or should receive them as this
23        person was only the UPM.The production ended up firing the UPM for gross
 24       incompetence and was later sued by the UPM in small claims.
 25    722.      Had Filmmaker known this conflict of interest and gross breach of privacy, he
 26       would have immediately requested another contact to work with at the Hawaii Film
 27       Office, because ofthe industry rule/code that key positions should not be filled by ANY
 28




                                           Complaint - 94
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 95 of 133                               PageID #: 95




 1            partnership team because again if one is fired, the other will quit or have to be fired as
 2            well.

 3         723.       Again, this is a textbook case of breaching an implied good covenant in dealings.

 4         724.       Filmmaker believes and alleges that the UPM's firing has contributed to the
 5            Hawaii Film Office defrauding Filmmaker out of his rightful 20% rebate as the UPM sent
 6            a letter to the office violating the confidentiality provision of her signed contract. No
 7            other true professional in the industry would do this.
 8         725.       This unprofessional, sneaky, and juvenile high school conduct is another reason
 9            why Filmmaker will never film in Hawaii again.
 10        726.       On or about November 2017, Filmmaker, to make sure every single requirement
 11           was met, personally emailed Defendant Brazier to have any Film Office employee or
 12           government legislator come to the set(see EXHIBIT B). This requirement is buried in the
 13           forms, but this email again proves how meticulous Filmmaker was in fulfilling every
 14           single requirement including this obscure provision.
 15        727.       On or about November 17,2017, Filmmaker submitted the preliminary budget to
 16           the Film Office(see EXHIBIT C). As the Honorable Court can see, the preliminary
 17           requirements were met except for two items which were later fulfilled and never a subject
 18           of dispute.

 19        728.       At no time did the Hawaii Film Office ever contact the Filmmaker to alert him to

 20           anvthing that was not completed or out ofthe ordinarv. In fact, thev were silent for

 21           almost eight months.

 22        729.       On or about November 20,2017,Filmmaker again inquired about the $1,000
 23           contribution that was required to be made to the University of Hawaii Foundation (see
 24           EXHIBIT D). This again shows how astute and careful Filmmaker was to the
 25           requirements set forth by the Hawaii Film Office.'^
 26


 27
      15
           The $1,000 requirement is yet another misprepresentation of the Hawaii Film
 28
      Office's advertising and promotions as this falls beneath the 20% rebate back



                                                 Complaint - 95
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 96 of 133                           PageID #: 96




 1      730.      Filmmaker then donated $1,000 to the University of Hawaii Foundation in
 2         accordance to the requirements(Filmmaker and his wife give 90% oftheir wealth away
 3         to charity or to their faith-based endeavors).
 4      731.       On or about December 2017,Filmmaker received the pre-qualification letter(See
 5         EXHIBIT E and F). At no point, did the Hawaii Film Office ever question or comment on
 6         any part ofthe film's production or requirements.
 7      732.       Multiple calls from March 2017 to Februarv 2018 to Defendant Brazier again

 8         confirmed Filmmaker was on track to receive his rebate.

 9      733.       On or about December 11,2017, the Hawaii Film Office submitted an email(See
 10        EXHIBIT G)which outline precisely the 7 remaining requirements left to get the tax
 11        certificate.

 12     734.       Filmmaker fulfilled everv single requirement and more so and will testify, under

 13        the penalty of periurv (that carries a jail sentence), that every single requirement was

 14        fulfilled with complete honesty and integrity.

 15     735.       This will be proven with 'smoking-gun' evidence at trial and during the Motion
 16        for Summary Judgment.

 17     736.       To reiterate the point again, had Filmmaker not been deceived by Defendant's
 18        action. Filmmaker would not have filmed any movie in Hawaii. Period.

 19     737.       Nevertheless, it still gets worse.

 20     738.       On or about December 11,2017,Filmmaker sent an email simply re-confirming
 21        what constitutes a vendor by the Hawaii Film Office (see EXHIBIT H).
 22     739.       In the mostjuvenile, condescending, and vicious response. Defendant Brazier
 23        replied to Defendant Dawson,"Should we use the definition of vendor in the
 24        dictionary???" She unwittingly copied herself in her reply to the Filmmaker.
 25


 26


 27
      then, i.e., you have to pay an additional $1,000 to be considered for a
 28
      rebate.




                                              Complaint - 96
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 97 of 133                           PageID #: 97




 1     740.      As it turns out, this requirement is the exact same thing the Hawaii Film Office
 2        fraudulently used in their desperate attempts to sabotage, smear, and hurt Filmmaker by
 3        denying the rebate. They questioned what constitutes a vendor. It's the ^Confederacy of
 4        Dunces' all over again.

 5     741.      This also proves the immature lengths the Defendants, collectively, have gone to
          avoid giving the Filmmaker his earned rebate. It's run like a junior high school.
       742.      Again. Filmmaker has worked with the film departments of Connecticut,

          Louisiana. Georgia. Virginia. North Carolina, California, et al and has never encountered

 9        such an immature, hostile, mean-snirited. incompetent, sneaky, slow, sensitive, and

 10       maniupulative conduct ever. Filmmaker has been in the business for over 22 years again

 11       and has made 12 movies.

 12    743.      The Filmmaker again believes the Honorable U.S. District Court and jury will
 13       find sufficient evidence in the months, and possible years to come, of another corrupt
 14       Hawaiian government agency that needs Federal investigation.
 15    744.      Filmmaker will depose all ofthe parties at the Hawaii Film Office and past UPMs
 16       and line producer ofevery single past film to prove there is widespread and gross
 17       incompetence at every level.
 18    745.      Filmmaker also plans to file a whistleblower lawsuit against the Hawaii Film
 19       Office and the Hollywood studios for wasting the taxpayer's money. Filmmaker will file
 20       motions to compel the paperwork to see every single budget that the Film Office has
 21       given millions of dollars to the studios and yet denied a simple rebate to the Filmmaker.
 22    746.      On or about December 2017, Filmmaker finished the final paperwork and
 23       contacted the Defendant Hawaii Film Office to begin the tax rebate final process and was
 24       told the tax certificate would be sent within 3 to 6 months.- which is also stated on the

 25       Hawaii Film Office website and on their official forms. It is now October 2018 at the

 26       time ofthe filing of this suit. This is tragic in every respect.
 27    747.       Again, having the tax certificate was critical in both post-production money and
 28       for the investors. The Defendants were fully aware of this.




                                             Complaint - 97
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 98 of 133                          PageID #: 98




 1     748.      Despite numerous emails, Defendants repeatedly dragged their feet and returned
 2        emails sometimes a month later.

 3     749.      They then stated Filmmaker had to do other tasks that were never in the intital
 4        conversations.

 5     750.      Filmmaker shook his head in disbelief. Filmmaker immediately sensed something
 6        was terribly wrong.
 7     751.      Again, Defendants hid the relationships ofthose that created friction and their
 8        motives of'teaching the filmmaker a lesson' by delaying the tax certificate to now 9
 9        months. This a textbook negligent infliction of emotional distress.

10     752.      Filmmaker has sought counseling with pastors and has to take medicine because
11        ofthe effects of what Defendants have done to him.

12     753.      These Defendants will also answer to a real God someday;"Do not wrong

13        someone in Christ. God will punish men for all such sins." 1 Thess 4:6
14     754.      Again, Filmmaker would never have filmed a movie in Hawaii had he known of
15        this fraud and deceit, mispresentation, civil conspiracy and other conduct the Hawaii Film
16        Office would so brazenly do.

17     755.      Furthermore, they even admitted themselves that the office has come under
18        intense scrutiny by legislatures for previous blunders which will be part ofthe
19        whistleblower lawsuit. This again is total fraud and deceit and a total conflict ofinterest.
 20    756.      Defendants went beyond being craftv/sneakv to fraud and deceit as the Court will

 21       see throughout this Complaint. These are the most dishonorable actions that Filmmaker

 22       has ever worked with in 22 years. Here Filmmaker shot a movie that would honor a

23        Hawaiian Chiefess, pay good-paying jobs to Hawaiian/Polynesians, and the Hawaii Film
 24       Office back-stabbed him by deceiving him and playing little juvenile high-school games
 25       no other film office of any state would dare to do.
26     757.      Ifin fact, the Hollywood studios have not gone through this level of fraud, then
 27       the Hawaii Film Office, complete with starry, wide eyes, have discriminated against the
 28       Filmmaker either through his religious beliefs(a violation of the First Amendment)or




                                            Complaint - 98
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 99 of 133                             PageID #: 99




 1         against him as an independent filmmaker(a violation of the Hawaii Whistleblower Act)
 2         This is a text-book case of self-dealing.
 3      758.         On or about August 2018,Filmmaker sent several emails to the Attomey
 4         General's office and the Governor's office to attempt to understand why the Hawaii Film
 5         Office was taking so long. The Hawaii Film Office refused to answer any emails.
 6      759.         Something was trulv wrong here.

 7      760.         Finally, after legal threats, the Hawaii Film Office, in the most overt fraud of
 8         perhaps any governmental agency in the state, then sent Filmmaker an astounding list of
 9         complete lies and fabrications.
10      761.         Defendants said because Filmmaker has not proved any of his receipts, he is not
11         entitled to a 20% rebate. Filmmaker immediatelv knew he was duped.

 12     762.         The Hawaii Film Office sent a list ofrequirements that are filled with complete
 13        fraud and lies. It's almostjaw-dropping how each remaining requirement had already
 14        been fulfilled.

 15     763.         The Hawaii Film Office sent a one-va^e sheet that looked like it took ten minutes

 16        to do - not 9 months (see Exhibit A). The Filmmaker will show this smacks ofthe

 17        juvenile and utterly fraudulent way the Hawaii Film Office went to avoid paying the 20%
 18        rebate.

 19     764.         Among the several 'items' that Hawaii Film Office said the Filmmaker had to
 20        prove was the actual shooting location of Kualoa Ranch(See Exhibit A). Filmmaker sent
 21        the bill, the cancelled checks, and the Defendants still said Filmmaker could not prove
 22        this expense. A simple phone call could verify this expenditure.
 23     765.         The sheet again shows scores of names of crew that Filmmaker alreadv gave the

 24        Hawaii Film Office everv single GET Tax ID that thev required. Yet it ignores key

 25        actor's salaries, key equipment rentals, hotels- it's an absolute firaudulent document.'^
 26


 27
        The one-sheet contains over 50 crew and cast that have already been
 28
      accounted for. The only way to explain the red marks is the Hawaii Film




                                                Complaint - 99
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 100 of 133                             PageID #:
                                     100




1      766.      Defendants Benita Brazier and Donne Dawson clearly acted outside the scope of
2         their agency in wanting to pay back Filmmaker in retribution for several reasons
3         Filmmaker will prove at trial.
4      767.      The State of Hawaii should not defend Ms. Brazier or Ms. Dawson.

5      768.      Filmmaker will call on several key witnesses in the cast, crew, and extras to prove
6         the Film Office is in disarray. He expects the trial to go for at least ten weeks and asks the
7         Honorable Court's patience as Filmmaker is bracing for extensive discovery (and
 8        possible Motions to Compel with sanctions) to take place during this litigation.
 9     769.      This case is very important as there must be freedom of speech in Hawaii and that
10        federal law still supercedes state law. Hawaii is part of America and most Hawaiians
11        want that.

12     770.      Filmmaker will subpeona every crew member for depositions to testify to the
13        events as true. And if Defendants lie during their sworn depositions, Filmmaker will file a
14        criminal complaint with the D.A. for perjury and possible Federal intervention.
15        Filmmaker will begin depositions within 30 days of the service of the Complaint to get a
16        head start on all discovery.

17     771.      Filmmaker believes the damages to the movie are permanent and irrecoverable
18        due to Defendant's actions.

19     772.      It is paramount that the Honorable Court grant Filmmaker broad discretion in
20        ascertaining what is going on as Filmmaker expects to file multiple Motions to Compel as
21        the Defendants have proven themselves deftly good at avoiding or ignoring questions
22        pertaining to their conduct.
23     773.       Defendant's actions left the film in total chaos. The film went overbudget because

24        of their actions and the Filmmaker had to pay the overbudget out of his own pocket.
25


26
     Office is doing everything possible to sabotage and not pay Filmmaker. This
27
     is indisputable evidence. Filmmaker will submit all of the evidence during
28
     discovery and will file a Motion to seal the documents.




                                            Complaint - 100
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 101 of 133                         PageID #:
                                     101




1     774.      Again. Filmmaker testifies, under penalty of perjury, that he has never sued any

2        governmental agency in his entire life.

3     775.      Filmmaker will depose Defendants Benita Brazier, Donne Dawson in November.
4        He will then depose other filmmakers who have shot movies in Hawaii.
5     776.      Filmmaker will file a Pre-Judgment Writ of Attachment on all of Defendant's
6        personal and corporate assets and believes he has been damaged by no less than $135
7        million in actual and punitive damages and will spend the next 5 years outlying the case
         against the Defendants. They need to be punished severely for their contemptible
 9       mistreatment of a filmmaker who tried to honor the people of Hawaii and their valiant
10       and courageous leader two hundred years ago.
11    777.      Filmmaker is exiting making the next films in Hawaii and the damages are stark
12       and real — due mostly because of Defendant's fraud and deceit. This will be calculated in
13       the damages against Defendants.
14    778.      Filmmaker also will depose crew members and others who Defendants devulged
15       confidential information.

16    779.      Filmmakers request the court to expedite discovery and set a trial date in the most
17       expeditious manner if possible.
18


19              COUNT 11 -INTENTIONAL INFLICTION OF
20              EMOTIONAL DISTRESS
21


22    780.      Filmmaker repeats and realleges each and every allegation contained in
23       paragraphs 1 through 780 above as if fully set forth herein.
24    781.      The tort of intentional infliction ofemotional distress has four elements:(1)the
25       defendant must act intentionally or recklessly;(2)the defendant's conduct must be
26       extreme and outrageous; and(3)the conduct must be the cause(4)of severe emotional
27       distress

28




                                           Complaint - 101
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 102 of 133                         PageID #:
                                     102




 1    782.      From the start ofthe movie until post-production, Filmmaker made the 20%
 2       rebate the number one priority as he realized how significant the rebate was. It was 20%
 3       of the entire budget and this was to put bread on the table of a faith-based filmmaker.
 4    783.      On or about April 2017,Filmmaker received a strange message from one ofthe
 5       employees ofthe Hawaii Film Office. She said she had 'concerns* about Filmmaker's
 6       movie and to call her. Filmmaker returned her call and assured her that one of his co-

 7       writers was a well-respected Native Hawaiian professor at the University of Hawaii who
 8       taught Native Hawaiian history.
 9    784.      Nevertheless, this is a complete violation ofFilmmaker's 1®* Amendment rights
10       for a government agency to inquire about the content of a movie -it's almost unheard of.
11       Imagine a California agency calling a Hollywood studio and 'inquiring' about the content
12       of the horror movie 'The Nun'. The outrage would be worldwide. This is no different.
13    785.      Having a Hawaii state agency calling to say there's a problem with Filmmaker's
14       Christian movie reeks of 1 Amendment problems offree speech.
15    786.      The history of Chiefess Kapiolani's leadership brought Christianity to Hawaii.
16       This is the issue ofthose who oppose it. Filmmaker gets it and totally understands the
17       hatred as Jesus himselfsaid "If they hated me,they will hate you."(John 15:18).
18    787.      Nevertheless, Hawaii is officially part ofthe United States and must adhere to
19       federal laws or there will be absolute chaos. The rejection ofthe rebate to Filmmaker is

20       the beginning ofthe end and shows the Defendants collectivelv breached the implied

21       covenant of good faith starklv and maliciouslv.

22    788.      Again, the film is based on a true story and anything done on the governmental
23       level to oppose Filmmaker is complete and total discrimination against his religion and
24       unequivocably violates the Filmmaker's First Amendment rights to free speech.
25    789.      The events ofthe core group to oppose Filmmaker's telling ofthe history started
26       the entire chain-of-events as Filmmaker would not back down from making the film.
27


28




                                           Complaint - 102
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 103 of 133                         PageID #:
                                     103




 1    790.      Filmmaker received death threats before and during shooting. His staff had to file
2        police reports to the incompetent Honolulu police who did absolutely nothing despite
3        even having the name ofthe alleged perpetrator.
4     791.      Filmmaker alleges that possible elements or people in the Hawaii Film Office
 5       have also been part of a smear campaign against many historical Hawaiian films,
6        including Filmmaker's movie.
7     792.      In addition to death threats, Filmmaker was up against many other deep hurdles,
8        including union threats and Hawaiian activists who threatened to shut down the
 9       production on numerous instances.
10    793.      In over 60 emails and phone calls. Filmmaker worked diligently to make sure
11       every single receipt, GET tax id of every single crew member and cast member was
12       obtained.

13    794.      Filmmaker fulfilled each and everv requirement methodicallv and preciselv

14       because he knew the Defendant Hawaii Film Office might trv something sneakv.

15       Filmmaker even has proof that one email mistakenly forwarded to Filmmaker showed
16       the Defendants were already conspiring to *get' Filmmaker'(See Exhibit H).
17    795.      This process of getting all the requirements for the Hawaii Film Office took over

18       13 weeks and Filmmaker calculates over 240 hours of man time.

19    796.      Filmmaker is also a Harvard-educated attomey and bills at $550 an hour. So by
20       just multiplying 240 x $550 would come to $192,000. This is how important the rebate
21       back from the Hawaii Film Office was to the Filmmaker and the Filmmaker asks the

22       Court to consider the $192,000 as additional damages aside from the punitive damages.
23    797.      Again,the Hawaii Film Office has blatantly lied in their refusal to credit the
24       Filmmaker with the 20% rebate. There is no reason, outside of their wanting to teach

25       Filmmaker a lesson, to withhold the tax certificate. Filmmaker fulfilled every

26       requirement.
27    798.      Filmmaker tries to show the love of Jesus to everyone he can. However,should
28       Defendants even broach any issues that demean or slander Filmmaker, Filmmaker will




                                          Complaint - 103
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 104 of 133                         PageID #:
                                     104




 1       amend this lawsuit to include defamation and/or libel and slander. Filnunaker is very

 2       confident he would win any Anti-Slapp Motion as he has been more than diligent in the
 3       entire application process.
 4    799.      The fact that Defendants did not alert Filmmaker that he was *lacking' in further

5        proof of receipts for more than 9 months is further proof offraud and deceit that would

 6       later rise up again on much more serious levels.

 7    800.      On or about September 2017, Filmmaker put in several calls to Defendant Brazier
 8       to make sure every 'T' was crossed and every T' was dotted. Filmmaker wanted to make
 9       sure there would be no problems with getting the 20% rebate back. This was critical as he
10       would not have filmed in Hawaii.

11    801.      On or about September 2017, Defendant Brazier repeatedly told Filmmaker that
12       he did not need to get the GET Tax Ids for established businesses in Hawaii as they were
13       obviously paying tax to the Hawaii government.
14    802.      This proved to be yet another misrepresentation.
15    803.      On or about September 2018, almost a vear later. Defendants Dawson and the
16       Hawaii Film Office suddenly demanded that all the GET tax IDs should be listed. This is
17       another brazen and fraudulent attempt to denv Filmmaker his iust rebate. Filmmaker did,

18       in fact, list every single GET Tax ID. Somehow,they lost the paperwork or it was
19       malicously destroyed.
20    804.      In Defendant's one page sheet they sent to Filmmaker - that possibly took less
21       than an hour to do - not 9 months -they also said the GET Tax IDs were wrong when in
22       fact they were correct. Further proof that they were desperately trying anything to not
23       give the Filmmaker his rebate.

24    805.      The entire one-page sheet is filled with complete wrong assumptions, numbers,
25       and math. It's like a third-grader put it together hoping this would pass and Filmmaker
26       would go away.

27    806.      On or about October 2017 and three weeks before shooting. Defendant Brazier
28       contacted the production's UPM and gave the UPM the actual budget figures. This is a



                                          Complaint - 104
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 105 of 133                            PageID #:
                                     105




 1       text-book case of conflict of interest. The UPM knew Defendant Brazier and was never

2        given authorization to have any confidential numbers or should receive them as this
 3       person was only the UPM. The production ended up firing the UPM for gross
 4       incompetence and was later sued by the UPM in small claims.
5     807.       Had Filmmaker known this conflict ofinterest and gross breach of privacy, he
6        would have immediately requested another contact to work with at the Hawaii Film
 7       Office, because ofthe industry rule/code that key positions should not be filled by ANY
8        partnership team because again if one is fired, the other will quit or have to be fired as
 9       well.

10    808.       Again, this is a textbook case of breaching an implied good covenant in dealings

11    809.       Filmmaker believes and alleges that the UPM's firing has contributed to the
12       Hawaii Film Office defrauding Filmmaker out of his rightful 20% rebate as the UPM sent
13       a letter to the office violating the confidentiality provision of her signed contract. No
14       other true professional in the industry would do this.
15    810.       This unprofessional, sneaky, and juvenile high school conduct is another reason
16       why Filmmaker will never film in Hawaii again.
17    811.       On or about November 2017, Filmmaker, to make sure every single requirement
18       was met, personally emailed Defendant Brazier to have any Film Office employee or
19       government legislator come to the set(see EXHIBIT B). This requirement is buried in the
20       forms, but this email again proves how meticulous Filmmaker was in fulfilling every
21       single requirement including this obscure provision.

22    812.       On or about November 17,2017, Filmmaker submitted the preliminary budget to
23       the Film Office (see EXHIBIT C). As the Honorable Court can see, the preliminary
24       requirements were met except for two items which were later fulfilled and never a subject
25       of dispute.
26    813.       At no time did the Hawaii Film Office ever contact the Filmmaker to alert him to

27       anvthing that was not completed or out ofthe ordinary. In fact, thev were silent for

28       almost eight months.




                                           Complaint - 105
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 106 of 133                            PageID #:
                                     106




 1     814.       On or about November 20,2017,Filmmaker again inquired about the $1,000
 2        contribution that was required to be made to the University of Hawaii Foimdation (see
 3        EXHIBIT D). This again shows how astute and careful Filmmaker was to the
 4        requirements set forth by the Hawaii Film Office.'^
 5     815.       Filmmaker then donated $1,000 to the University of Hawaii Foundation in

 6        accordance to the requirements(Filmmaker and his wife give 90% of their wealth away
 7        to charity or to their faith-based endeavors).
 8     816.       On or about December 2017, Filmmaker received the pre-qualification letter(See
 9        EXHIBIT E and F). At no point, did the Hawaii Film Office ever question or comment on
10        any part ofthe film's production or requirements.
11     817.       Multiple calls from March 2017 to Februarv 2018 to Defendant Brazier again

12        confirmed Filmmaker was on track to receive his rebate.

13     818.       On or about December 11,2017, the Hawaii Film Office submitted an email(See
14        EXHIBIT G)which outline precisely the 7 remaining requirements left to get the tax
15        certificate.

16     819.       Filmmaker fulfilled every single requirement and more so and will testify, under

17        the penalty of perjury (that carries a jail sentence), that every single requirement was

18        fulfilled with complete honesty and integrity.

19     820.       This will be proven with 'smoking-gun' evidence at trial and during the Motion
20        for Summary Judgment.
21     821.       To reiterate the point again, had Filmmaker not been deceived by Defendant's
22        action. Filmmaker would not have filmed any movie in Hawaii. Period.

23     822.       Nevertheless, it still gets worse.

24


25
       The $1/000 requirement is yet another misprepresentation of the Hawaii Film
26
     Office's advertising and promotions as this falls beneath the 20% rebate back
27
     then, i.e., you have to pay an additional $1,000 to be considered for a
28
     rebate.




                                            Complaint - 106
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 107 of 133                          PageID #:
                                     107




 1    823.      On or about December 11,2017, Filmmaker sent an email simply re-confirming
 2       what constitutes a vendor by the Hawaii Film Office (see EXHIBIT H).
 3    824.      In the mostjuvenile, condescending, and vicious response. Defendant Brazier
 4       replied to Defendant Dawson,"Should we use the definition of vendor in the
 5       dictionary???" She unwittingly copied herself in her reply to the Filmmaker.
 6    825.      As it turns out, this requirement is the exact same thing the Hawaii Film Office
 7       fraudulently used in their desperate attempts to sabotage, smear, and hurt Filmmaker by
 8       denying the rebate. They questioned what constitutes a vendor. It's the 'Confederacv of
 9       Dunces' all over again.

10    826.      This also proves the immature lengths the Defendants, collectively, have gone to
11       avoid giving the Filmmaker his earned rebate. It's run like a junior high school.
12    827.      Again, Filmmaker has worked with the film departments of Connecticut.

13       Louisiana. Georgia, Virginia. North Carolina. California, et al and has never encountered

14       such an immature, hostile, mean-spirited, incompetent, sneaky, slow, sensitive, and

15       maniupulative conduct ever. Filmmaker has been in the business for over 22 years again

16       and has made 12 movies.

17    828.      The Filmmaker again believes the Honorable U.S. District Court and jury will
18       find sufficient evidence in the months, and possible years to come,of another corrupt
19       Hawaiian government agency that needs Federal investigation.
20    829.      Filmmaker will depose all of the parties at the Hawaii Film Office and past UPMs
21       and line producer of every single past film to prove there is widespread and gross
22       incompetence at every level.
23    830.      Filmmaker also plans to file a whistleblower lawsuit against the Hawaii Film
24       Office and the Hollywood studios for wasting the taxpayer's money. Filmmaker will file
25       motions to compel the paperwork to see every single budget that the Film Office has
26       given millions of dollars to the studios and yet denied a simple rebate to the Filmmaker.
27    831.      On or about December 2017, Filmmaker finished the final paperwork and
28       contacted the Defendant Hawaii Film Office to begin the tax rebate final process and was




                                          Complaint - 107
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 108 of 133                            PageID #:
                                     108




1        told the tax certificate would be sent within 3 to 6 months. — which is also stated on the

2        Hawaii Film Office website and on their official forms. It is now October 2018 at the

3        time ofthe filing of this suit. This is tragic in every respect.
4     832.       Again, having the tax certificate was critical in both post-production money and
5        for the investors. The Defendants were fully aware of this.

6     833.       Despite numerous emails, Defendants repeatedly dragged their feet and returned
7        emails sometimes a month later.

      834.       They then stated Filmmaker had to do other tasks that were never in the intital
 9       conversations.

10    835.       Filmmaker shook his head in disbelief. Filmmaker inunediately sensed something
11       was terribly wrong.
12    836.       Again, Defendants hid the relationships of those that created fnction and their
13       motives of'teaching the filmmaker a lesson' by delaying the tax certificate to now 9
14       months. This a textbook fraud and deceit.

15    837.       Again, Filmmaker would never have filmed a movie in Hawaii had he known of
16       this fraud and deceit, mispresentation, civil conspiracy and other conduct the Hawaii Film
17       Office would so brazenly do.
18    838.       Furthermore, they even admitted themselves that the office has come under
19       intense scrutiny by legislatures for previous blunders which will be part ofthe
20       whistleblower lawsuit. This again is total fraud and deceit and a total conflict of interest.

21    839.       Defendants went beyond being craftv/sneakv to fraud and deceit as the Court will

22       see throughout this Complaint. These are the most dishonorable actions that Filmmaker

23       has ever worked with in 22 years. Here Filmmaker shot a movie that would honor a

24       Hawaiian Chiefess, pay good-paying jobs to Hawaiian/Polynesians, and the Hawaii Film
25       Office back-stabbed him by deceiving him and playing little juvenile high-school games
26       no other film office ofany state would dare to do.
27    840.       If in fact, the Hollywood studios have not gone through this level offi*aud, then
28       the Hawaii Film Office, complete with starry, wide eyes, have discriminated against the




                                            Complaint - 108
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 109 of 133                             PageID #:
                                     109




 1       Filmmaker either through his religious beliefs(a violation ofthe First Amendment)or
 2       against him as an independent filmmaker(a violation ofthe Hawaii Whistleblower Act)
 3       This is a text-book case of self-dealing

 4    841.        On or about August 2018, Filmmaker sent several emails to the Attorney
 5       General's office and the Governor's office to attempt to understand why the Hawaii Film
 6       Office was taking so long. The Hawaii Film Office refused to answer any emails
 7    842.        Something was trulv wrong here

 8    843.        Finally, after legal threats, the Hawaii Film Office, in the most overt fi-aud of
 9       perhaps any governmental agency in the state, then sent Filmmaker an astounding list of
10       complete lies and fabrications
11    844.        Defendants said because Filmmaker has not proved any of his receipts, he is not
12       entitled to a 20% rebate. Filmmaker immediatelv knew he was duped.

13    845.        The Hawaii Film Office sent a list ofrequirements that are filled with complete
14       fraud and lies. It's almostjaw-dropping how each remaining requirement had already
15       been fulfilled

16    846.        The Hawaii Film Office sent a one-pase sheet that looked like it took ten minutes

17       to do - not9 months (see Exhibit A). The Filmmaker will show this smacks ofthe

18       Juvenile and utterly fraudulent way the Hawaii Film Office went to avoid paying the 20%
19       rebate

20    847.        Among the several 'items' that Hawaii Film Office said the Filmmaker had to
21       prove was the actual shooting location of Kualoa Ranch (See Exhibit A). Filmmaker sent
22       the bill, the cancelled checks, and the Defendants still said Filmmaker could not prove

23       this expense. A simple phone call could verify this expenditure.
24


25


26


27


28




                                            Complaint - 109
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 110 of 133                             PageID #:
                                     110




1      848.       The sheet again shows scores of names of crew that Filmmaker already gave the

2         Hawaii Film Office every single GET Tax ID that they required. Yet it ignores key
                                                            •                                     18
3         actor's salaries, key equipment rentals, hotels-it's an absolute fraudulent document.

4      849.       Defendants Benita Brazier and Donne Dawson clearly acted outside the scope of
 5        their agency in wanting to pay back Filmmaker in retribution for several reasons
6         Filmmaker will prove at trial.
7      850.       The State of Hawaii should not defend Ms. Brazier or Ms. Dawson.

 8     851.       Filmmaker will call on several key witnesses in the cast, crew, and extras to prove
 9        the Film Office is in disarray. He expects the trial to go for at least ten weeks and asks the
10        Honorable Court's patience as Filnmiaker is bracing for extensive discovery(and
11        possible Motions to Compel with sanctions) to take place during this litigation.
12     852.       This case is very important as there must be freedom ofspeech in Hawaii and that
13        federal law still supercedes state law. Hawaii is part of America and most Hawaiians
14        want that.

15     853.       Filmmaker will subpeona every crew member for depositions to testify to the
16        events as true. And if Defendants lie during their sworn depositions. Filmmaker will file a
17        criminal complaint with the D.A. for perjury and possible Federal intervention.
18        Filmmaker will begin depositions within 30 days ofthe service ofthe Complaint to get a
19         head start on all discovery.

20     854.       Filmmaker believes the damages to the movie are permanent and irrecoverable
21        due to Defendant's actions.

22


23


24
       The one-sheet contains over 50 crew and cast that have already been
25
     accounted for. The only way to explain the red marks is the Hawaii Film
26
     Office is doing everything possible to sabotage and not pay Filmmaker. This
27
     is indisputable evidence. Filmmaker will submit all of the evidence during
28
     discovery and will file a Motion to seal the documents.




                                            Complaint - 110
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 111 of 133                         PageID #:
                                     111




 1    855.      It is paramount that the Honorable Court grant Filmmaker broad discretion in
 2       ascertaining what is going on as Filmmaker expects to file multiple Motions to Compel as
 3       the Defendants have proven themselves deftly good at avoiding or ignoring questions
 4       pertaining to their conduct.
 5    856.      As a direct and proximate result of the foregoing material breaches of the

 6       signed, written contract FUmmakers have been damaged in an aggregate amount to

 7       be determined at trial, in excess of the iurisdictional minimum of this court, believed

 8       to be $135 million.

 9


10                COUNT 12- CIVIL CONSIPIRACY
11


12    857.      Filmmaker repeats and realleges each and every allegation contained in
13       paragraphs 1 through 857 above as iffully set forth herein.
14    858.      A conspiracy claim consists of(1)a combination oftwo or more persons acting
15       with a common purpose to do an unlawful act or to do a lawful act by imlawful means or
16       for an unlawful purpose;(2)an overt act done in pursuance ofcommon purpose; and(3)
17       actual legal damage.
18    859.      This is a textbook case of Civil Consiracy done at the governmental level.
19    860.      From the start ofthe movie until post-production, Filmmaker made the 20%
20       rebate the number one priority as he realized how significant the rebate was. It was 20%
21       of the entire budget and this was to put bread on the table of a faith-based filmmaker.
22    861.      The events ofthe core group to oppose Filmmaker's telling ofthe history started
23       the entire chain-of-events as Filmmaker would not back down from making the film.
24    862.      Filmmaker received death threats before and during shooting. His staff had to file
25       police reports to the Honolulu police who did absolutely nothing despite even having the
26       name ofthe alleged perpetrator.
27


28




                                           Complaint - 111
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 112 of 133                          PageID #:
                                     112




 1    863.      Filmmaker alleges that possible elements or people in the Hawaii Film Office
2        have also been part ofa smear campaign against many historical Hawaiian films,
 3       including Filmmaker's movie.
 4    864.      In addition to death threats, Filmmaker was up against many other deep hurdles,

 5       including union threats and Hawaiian activists who threatened to shut down the
 6       production on numerous instances.
 7    865.      In over 60 emails and phone calls. Filmmaker worked diligently to make sure
8        every single receipt, GET tax id of every single crew member and cast member was
 9       obtained.

10    866.      Filmmaker fulfilled each and everv requirement methodicallv and preciselv

11       because he knew the Defendant Hawaii Film Office might trv something sneakv.

12       Filmmaker even has proof that one email mistakenly forwarded to Filmmaker showed
13       the Defendants were already conspiring to 'gef Filmmaker'(See Exhibit H).
14    867.      This process of getting all the requirements for the Hawaii Film Office took over

15       13 weeks and Filmmaker calculates over 240 hours of man time.

16    868.      Filmmaker is also a Harvard-educated attorney and bills at $550 an hour. So by
17       just multiplying 240 x $550 would come to $192,000. This is how important the rebate
18       back from the Hawaii Film Office was to the Filnunaker and the Filmmaker asks the

19       Court to consider the $192,000 as additional damages aside from the punitive damages.
20    869.      Again, the Hawaii Film Office has blatantly lied in their refusal to credit the
21       Filmmaker with the 20% rebate. There is no reason, outside oftheir wanting to teach
22       Filmmaker a lesson, to withhold the tax certificate. Filmmaker fulfilled every

23       requirement.
24    870.      Filmmaker will prove, beyond reasonable doubt, that the causes of action ofcivil
25       conspiracy were present in this case.
26    871.      The fact that Defendants did not alert Filmmaker that he was Tacking' in further
27       proofof receipts for more than 9 months is further proof of civil conspiracv that would
28       later rise up again on much more serious levels.




                                          Complaint - 112
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 113 of 133                         PageID #:
                                     113




 1    872.      This was a small simple film that should not have taken 9 months to do. But
 2       Filmmaker has 'smoking gun' evidence that the Defendants do not take the film projects
 3       in by order but by their own wishes. And the fact that the Hawaii Film Office's own
 4       website states all filmmakers will get their tax certificate within 3-6 months.
 5    873.      On or about September 2017, Filmmaker put in several calls to Defendant Brazier
 6       to make sure every 'T' was crossed and every T was dotted. Filmmaker wanted to make
 7       sure there would be no problems with getting the 20% rebate back. This was critical as he
 8       would not have filmed in Hawaii.

 9    874.      On or about September 2017, Defendant Brazier repeatedly told Filmmaker that
10       he did not need to get the GET Tax Ids for established businesses in Hawaii as they were
11       obviously paying tax to the Hawaii government.

12    875.      This proved to be yet another negligent or intentional misrepresentation.
13    876.      On or about September 2018, almost a vear later. Defendants Dawson and the
14       Hawaii Film Office suddenly demanded that all the GET tax IDs should be listed. This is
15       another brazen and fraudulent attempt to denv Filmmaker his just rebate. Filmmaker did,

16       in fact, list every single GET Tax ID. Somehow,they lost the paperwork or it was
17       malicously destroyed.
18    877.      In Defendant's one page sheet they sent to Filmmaker - that possibly took less
19       than an hour to do - not 9 months -they also said the GET Tax IDs were wrong when in

20       fact they were correct. Further proof that they were desperately trying anything to not
21       give the Filmmaker his rebate.
22    878.      The entire one-page sheet is filled with complete wrong assumptions, numbers,
23       and math. It's like a third-grader put it together hoping this would pass and Filmmaker
24       would go away.

25    879.      On or about October 2017 and three weeks before shooting. Defendant Brazier
26       contacted the production's UPM and gave the UPM the actual budget figures. This is a
27       text-book case of conflict of interest. The UPM knew Defendant Brazier and was never

28       given authorization to have any confidential numbers or should receive them as this




                                          Complaint - 113
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 114 of 133                             PageID #:
                                     114




 1       person was only the UPM. The production ended up firing the UPM for gross
 2       incompetence and was later sued by the UPM in small claims.
 3    880.       Had Filmmaker known this conflict of interest and gross breach of privacy, he
 4       would have immediately requested another contact to work with at the Hawaii Film
 5       Office, because ofthe industry rule/code that key positions should not be filled by ANY
 6       partnership team because again if one is fired, the other will quit or have to be fired as
 7       well.

 8    881.       Again, this is a textbook case of breaching an implied good covenant in dealings.

 9    882.       Fihnmaker believes and alleges that the UPM's firing has contributed to the
10       Hawaii Film Office defi-auding Filmmaker out of his rightful 20% rebate as the UPM sent
11       a letter to the office violating the confidentiality provision of her signed contract. No

12       other true professional in the industry would do this.
13    883.       This unprofessional, sneaky, and juvenile high school conduct is another reason
14       why Filmmaker will never film in Hawaii again.
15    884.       On or about November 2017,Filmmaker, to make sure every single requirement
16       was met, personally emailed Defendant Brazier to have any Film Office employee or
17       government legislator come to the set(see EXHIBIT B). This requirement is buried in the
18       forms, but this email again proves how meticulous Filmmaker was in fulfilling every
19       single requirement including this obscure provision.
20    885.       On or about November 17,2017,Filmmaker submitted the preliminary budget to
21       the Film Office(see EXHIBIT C). As the Honorable Court can see, the preliminary
22       requirements were met except for two items which were later fulfilled and never a subject
23       of dispute.

24    886.       At no time did the Hawaii Film Office ever contact the Filmmaker to alert him to

25       anvthing that was not comt)leted or out ofthe ordinary. In fact, they were silent for

26       almost eight months.

27    887.       On or about November 20, 2017, Filmmaker again inquired about the $1,000
28       contribution that was required to be made to the University of Hawaii Foundation (see



                                           Complaint - 114
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 115 of 133                            PageID #:
                                     115




 1        EXHIBIT D). This again shows how astute and careful Filmmaker was to the
2         requirements set forth by the Hawaii Film Office.'^
 3     888.       Filmmaker then donated $1,000 to the University of Hawaii Foundation in
 4        accordance to the requirements(Filmmaker and his wife give 90% oftheir wealth away
 5        to charity or to their faith-based endeavors).

6      889.       On or about December 2017,Filmmaker received the pre-qualification letter(See
7         EXHIBIT E and F). At no point, did the Hawaii Film Office ever question or comment on
 8        any part ofthe film's production or requirements.
 9     890.       Multiple calls from March 2017 to Februarv 2018 to Defendant Brazier again

10        confirmed Filmmaker was on track to receive his rebate.

11     891.       On or about December 11, 2017, the Hawaii Film Office submitted an email(See

12        EXHIBIT G)which outline precisely the 7 remaining requirements left to get the tax
13        certificate.

14     892.       Filmmaker fulfilled everv single requirement and more so and will testify, under

15        the penaltv of periurv (that carries a jail sentence), that everv single requirement was

16        fulfilled with complete honesty and integrity.

17     893.       This will be proven with 'smoking-gun' evidence at trial and during the Motion
18        for Summary Judgment.

19     894.       To reiterate the point again, had Filmmaker not been deceived bv Defendant's
20        action. Filmmaker would not have filmed anv movie in Hawaii. Period.

21     895.       Nevertheless, it still gets worse.

22     896.       On or about December 11, 2017, Filmmaker sent an email simply re-confirming
23         what constitutes a vendor by the Hawaii Film Office (see EXHIBIT H).
24


25
       The $1,000 requirement is yet another misprepresentation of the Hawaii Film
26
     Office's advertising and promotions as this falls beneath the 20% rebate back
27
     then, i.e., you have to pay an additional $1,000 to be considered for a
28
     rebate.




                                            Complaint - 115
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 116 of 133                         PageID #:
                                     116




 1    897.      In the mostjuvenile, condescending, and vicious response, Defendant Brazier
 2       replied to Defendant Dawson,"Should we use the definition of vendor in the
 3       dictionary???" She unwittingly copied herself in her reply to the Filmmaker.
 4    898.      As it turns out, this requirement is the exact same thing the Hawaii Film Office
 5       fraudulently used in their desperate attempts to sabotage, smear, and hurt Filmmaker by
 6       denying the rebate. They questioned what constitutes a vendor. It's the 'Confederacv of
 7       Dunces' all over again.

 8    899.      This also proves the immature lengths the Defendants, collectively, have gone to
 9       avoid giving the Filmmaker his earned rebate. It's run like a junior high school.
10    900.      Again. Filmmaker has worked with the film departments of Connecticut.

11       Louisiana. Georgia. Virginia. North Carolina. California, et al and has never encountered

12       such an immature, hostile, mean-spirited, incompetent, sneaky, slow, sensitive, and

13       maniupulative conduct ever. Filmmaker has been in the business for over 22 years again

14       and has made 12 movies.

15    901.      The Filmmaker again believes the Honorable U.S. District Court and jury will
16       find sufficient evidence in the months, and possible years to come, of another corrupt
17       Hawaiian government agency that needs Federal investigation
18    902.      Filmmaker will depose all ofthe parties at the Hawaii Film Office and past UPMs
19       and line producer ofevery single past film to prove there is widespread and gross
20       incompetence at every level
21    903.      Filmmaker also plans to file a whistleblower lawsuit against the Hawaii Film
22       Office and the Hollywood studios for wasting the taxpayer's money. Filmmaker will file
23       motions to compel the paperwork to see every single budget that the Film Office has
24       given millions of dollars to the studios and yet denied a simple rebate to the Filmmaker
25    904.      On or about December 2017, Filmmaker finished the final paperwork and
26       contacted the Defendant Hawaii Film Office to begin the tax rebate final process and was
27       told the tax certificate would be sent within 3 to 6 months.- which is also stated on the

28




                                          Complaint - 116
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 117 of 133                           PageID #:
                                     117




 1       Hawaii Film Office website and on their official forms. It is now October 2018 at the

 2       time ofthe filing of this suit. This is tragic in every respect.
 3    905.       Again, having the tax certificate was critical in both post-production money and
         for the investors. The Defendants were fully aware of this.
 5    906.       Despite numerous emails, Defendants repeatedly dragged their feet and returned
 6       emails sometimes a month later.

 7    907.       They then stated Filmmaker had to do other tasks that were never in the intital

 8       conversations.

 9    908.      Filmmaker shook his head in disbelief. Filmmaker immediately sensed something
10       was terribly wrong.

11    909.       Again, Defendants hid the relationships ofthose that created fiiction and their
12       motives of'teaching the filmmaker a lesson' by delaying the tax certificate to now 9

13       months. This a textbook fi'aud and deceit.

14    910.       Again, Filmmaker would never have filmed a movie in Hawaii had he known of
15       this fraud and deceit, mispresentation, civil conspiracy and other conduct the Hawaii Film
16       Office would so brazenly do.
17    911.      Furthermore, they even admitted themselves that the office has come under

18       intense scrutiny by legislatures for previous blunders which will be part ofthe

19       whistleblower lawsuit. This again is total fraud and deceit and a total conflict ofinterest.

20    912.      Defendants went bevond being craftv/sneakv to fraud and deceit as the Court will

21       see throughout this Complaint. These are the most dishonorable actions that Filmmaker

22       has ever worked with in 22 years. Here Filmmaker shot a movie that would honor a

23       Hawaiian Chiefess, pay good-paying jobs to Hawaiian/Polynesians, and the Hawaii Film
24       Office back-stabbed him by deceiving him and playing little juvenile high-school games
25       no other film office of any state would dare to do.
26    913.      Ifin fact, the Hollywood studios have not gone through this level offi-aud, then
27       the Hawaii Film Office, complete with starry, wide eyes, have discriminated against the
28       Filmmaker either through his religious beliefs(a violation of the First Amendment)or




                                            Complaint - 117
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 118 of 133                              PageID #:
                                     118




 1         against him as an independent filmmaker(a violation ofthe Hawaii Whistleblower Act)
 2         This is a text-book case of self-dealing.

 3     914.         On or about August 2018, Filmmaker sent several emails to the Attorney
 4         General's office and the Governor's office to attempt to understand why the Hawaii Film
 5         Office was taking so long. The Hawaii Film Office refused to answer any emails.
 6     915.         Something was trulv wrong here.

 7     916.         Finally, after legal threats, the Hawaii Film Office, in the most overt fraud of
 8         perhaps any governmental agency in the state, then sent Filmmaker an astounding list of
 9         complete lies and fabrications.
10     917.         Defendants said because Filmmaker has not proved any of his receipts, he is not
11         entitled to a 20% rebate. Filmmaker immediately knew he was duped.

12     918.         The Hawaii Film Office sent a list ofrequirements that are filled with complete
13        fraud and lies. It's almostjaw-dropping how each remaining requirement had already
14         been fulfilled.

15     919.         The Hawaii Film Office sent a one-Da2e sheet that looked like it took ten minutes

16         to do -not 9 months (see Exhibit A). The Filmmaker will show this smacks ofthe

17        juvenile and utterly fraudulent way the Hawaii Film Office went to avoid paying the 20%
18        rebate.

19     920.         Among the several 'items' that Hawaii Film Office said the Filmmaker had to
20         prove was the actual shooting location of Kualoa Ranch (See Exhibit A). Filmmaker sent
21        the bill, the cancelled checks, and the Defendants still said Filmmaker could not prove
22        this expense. A simple phone call could verify this expenditure.
23     921.         The sheet again shows scores of names of crew that Filmmaker already gave the

24         Hawaii Film Office every single GET Tax ID that they required. Yet it ignores key

25         actor's salaries, key equipment rentals, hotels- it's an absolute fraudulent document.^^
26


27
       The one-sheet contains over 50 crew and cast that have already been
28
     accounted for. The only way to explain the red marks is the Hawaii Film




                                              Complaint - 118
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 119 of 133                              PageID #:
                                     119




 1      922.      Defendants Benita Brazier and Donne Dawson clearly acted outside the scope of
 2         their agency in wanting to pay back Filmmaker in retribution for several reasons

 3         Filmmaker will prove at trial.
 4     923.       The State of Hawaii should not defend Ms. Brazier or Ms. Dawson.

 5     924.       Filmmaker will call on several key witnesses in the cast, crew, and extras to prove

 6         the Film Office is in disarray. He expects the trial to go for at least ten weeks and asks the
 7         Honorable Court's patience as Filmmaker is bracing for extensive discovery (and
8          possible Motions to Compel with sanctions) to take place during this litigation.
 9     925.       This case is very important as there must be freedom of speech in Hawaii and that
10         federal law still supercedes state law. Hawaii is part of America and most Hawaiians
11         want that.

12     926.       Filmmaker will subpeona every crew member for depositions to testify to the
13         events as true. And if Defendants lie during their sworn depositions. Filmmaker will file a
14         criminal complaint with the D.A.for peijury and possible Federal intervention.
15         Filmmaker will begin depositions within 30 days of the service ofthe Complaint to get a
16         head start on all discovery.

17     927.       Filmmaker believes the damages to the movie are permanent and irrecoverable
18         due to Defendant's actions.

19     928.       It is paramount that the Honorable Court grant Filmmaker broad discretion in
20         ascertaining what is going on as Filmmaker expects to file multiple Motions to Compel as
21         the Defendants have proven themselves deftly good at avoiding or ignoring questions
22         pertaining to their conduct.

23     929.       Defendant's actions left the film in total chaos. The film went overbudget because

24         of their actions and the Filmmaker had to pay the overbudget out of his own pocket.
25


26
     Office is doing everything possible to sabotage and not pay Filmmaker. This
27
     is indisputable evidence. Filmmaker will submit all of the evidence during
28
     discovery and will file a Motion to seal the documents.




                                             Complaint - 119
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 120 of 133                               PageID #:
                                     120




 1      930.        Again, Filmmaker testifies, under penalty of perjury, that he has never sued any

 2          governmental agency in his entire life.

 3      931.        Filmmaker will depose Defendants Benita Brazier, Donne Dawson in November.
 4          He will then depose other filmmakers who have shot movies in Hawaii.
 5      932.        Filmmaker will file a Pre-Judgment Writ of Attachment on all of Defendant's

 6          personal and corporate assets and believes he has been damaged by no less than $135
 7          million in actual and punitive damages and will spend the next 5 years outlying the case
 8          against the Defendants. They need to be punished severely for their contemptible
 9          mistreatment of a filmmaker who tried to honor the people of Hawaii and their valiant
10          and courageous leader two hundred years ago.

11      933.        Filmmaker is exiting making the next films in Hawaii and the damages are stark
12          and real - due mostly because of Defendant's fraud and deceit. This will be calculated in
13          the damages against Defendants.
14      934.        Filmmaker also will depose crew members and others who Defendants devulged
15          confidential information.

16      935.        Filmmakers request the court to expedite discovery and set a trial date in the most
17          expeditious manner if possible.
18


19                  COUNT 13- UNFAIR COMPETITION
20


21      936.        Filmmaker repeats and realleges each and every allegation contained in
22          paragraphs 1 through 936 above as iffully set forth herein.
23      937.        The Lanham Act(commonly known as Section 43(a)) provides as follows:
24   Any person who, on or in connection with any goods or services, or any container for goods,
25   uses in commerce any word,term, name,symbol, or device, or any combination thereof, or any
26   false designation of origin, false or misleading description offact, or false or misleading
27   representation of fact, which—
28




                                              Complaint - 120
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 121 of 133                            PageID #:
                                     121




 1              is likely to cause confusion, or to cause mistake, or to deceive as to the affiliation,
 2              connection, or association of such person with another person, or as to the origin,
 3              sponsorship, or approval of his or her goods, services, or commercial activities by
 4              another person, or in commercial advertising or promotion, misrepresents the
 5              nature, characteristics, qualities, or geographic origin of his or her or another
 6              person's goods, services, or commercial activities, shall be liable in a civil action
 7              by any person who believes that he or she is or is likely to be damaged by such
 8              act.41U.S.C.§ 1125(a)(1).

 9    938.      On or about March 2017, Filmmaker decided to film 'The Islands' after being
10       assured that the Defendant Hawaii Film Office would give a 20% rebate on the budget
11       that the Film Office gives to all filmmakers. This was extremelv important to the
12       Filmmaker as manv production companies base their entire decision for where to film

13       based on the movie tax credits of each state. This is common industry knowledge and

14       practice.

15    939.      Also, the 20% rebate is critically important for P&A (prints and advertising) for
16       the film's exposure and marketing funds.
17    940.      Had Filmmaker known that Defendants would even attempt not to reward the
18       20% rebate because they didn't like the content ofthe movie,the Filmmaker's beliefs, or
19       his personality per se. Filmmaker would never have even launched such a huculean effort
20       in making the film,including casting an Academy-Award winning actress, a legendary
21       actor, and a 98% Native Polynesian cast. Filmmaker would simply have made another
22       film in another state. Filmmaker has made 12 movies in 22 years. He did not need the
23       horrific grief imposed by Defendants collectively.
24    941.      It is very rare for any governmental agency to act as juvenile, vindictive, and
25       incompetent as the Hawaii Film Office. It's astonishing as Filmmaker has worked with
26       the Connecticut. Lousiana, Virginia. Fiji. California. Michigan, and North Carolina film

27       offices with absolutely no issues or problems. In fact, the Connecticut Film Office gave

28




                                          Complaint - 121
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 122 of 133                              PageID #:
                                     122




 1         Filmmaker his 30% tax rebate for 'Freedom'(Cuba Gooding, Jr., Sharon Leal, William
 2         Sadler) within 30 days after the paperwork was turned in.
 3     942.       But Filmmaker again reminds the Court that the state agencies of Hawaii were
 4         given a D+ for integrity and Hawaii is considered the most corrupt government ofany
 5         state in the U.S. This has to improve now or the $13 billion rail program will never be
6         finished in our lifetime. This is not a slight on the hard-working Hawaii government
7         employees, but to the small vocal minorities who pride themselves on laziness and
 8        ineptness as a way of life.
 9     943.       Defendants starkly violated the Lanham Act in the advertisements and dealings
10         with Filmmaker.

11     944.       On or about November 17,2017, Filmmaker submitted the preliminary budget to
12        the Film Office (see EXHIBIT C). As the Honorable Court can see, the preliminary
13        requirements were met except for two items which were later fulfilled and never a subject
14        of dispute.
15     945.       At no time did the Hawaii Film Office ever contact the Filmmaker to alert him to

16        anvthing that was not completed or out of the ordinarv. In fact, thev were silent for

17        almost eight months.

18     946.       On or about November 20,2017,Filmmaker again inquired about the $1,000
19        contribution that was required to be made to the University of Hawaii Foundation(see
20        EXHIBIT D). This again shows how astute and careful Filmmaker was to the
                                                            "71
21        requirements set forth by the Hawaii Film Office.
22


23


24


25
       The $1,000 requirement is yet another misprepresentation of the Hawaii Film
26
     Office's advertising and promotions as this falls beneath the 20% rebate back
27
     then, i.e., you have to pay an additional $1,000 to be considered for a
28
     rebate.




                                            Complaint - 122
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 123 of 133                           PageID #:
                                     123




 1    947.       Filmmaker then donated $1,000 to the University of Hawaii Foundation in
 2       accordance to the requirements(Filmmaker and his wife give 90% oftheir wealth away
 3       to charity or to their faith-based endeavors).
 4    948.       On or about December 2017,Filmmaker received the pre-qualification letter(See

5        EXHIBIT E and F). At no point, did the Hawaii Film Office ever question or comment on
6        any part ofthe film's production or requirements.
7     949.       Multiple calls from March 2017 to February 2018 to Defendant Brazier again

8        confirmed Filmmaker was on track to receive his rebate.

 9    950.       On or about December 11, 2017, the Hawaii Film Office submitted an email(See

10       EXHIBIT G)which outline precisely the 7 remaining requirements left to get the tax
11       certificate.

12    951.       Filmmaker fulfilled every single requirement and more so and will testify, under

13       the penalty of perjury (that carries a iail sentence), that every single requirement was

14       fulfilled with complete honesty and integrity.

15    952.       This will be proven with 'smoking-gun' evidence at trial and during the Motion
16       for Summary Judgment.
17    953.       To reiterate the point again, had Filmmaker not been deceived by Defendant's
18       action. Filmmaker would not have filmed any movie in Hawaii. Period.

19    954.       Nevertheless, it gets worse.

20    955.       On or about December 11,2017, Filmmaker sent an email simply re-confirming
21       what constitutes a vendor by the Hawaii Film Office (see EXHIBIT H).
22    956.       In the mostjuvenile, condescending, and vicious response. Defendant Brazier
23       replied to Defendant Dawson,"Should we use the definition of vendor in the
24       dictionary???" She unwittingly copied herselfin her reply to the Filmmaker.
25    957.       As it tums out, this requirement is the exact same thing the Hawaii Film Office
26       fraudulently used in their desperate attempts to sabotage, smear, and hurt Filmmaker by
27       denying the rebate. They questioned what constitutes a vendor. It's the *Confederacy of
28       Dunces' all over again.




                                           Complaint - 123
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 124 of 133                           PageID #:
                                     124




 1    958.       This also proves the immature lengths the Defendants, collectively, have gone to
 2       avoid giving the Filmmaker his earned rebate. It's run like a jimior high school.
 3    959.       Again. Filmmaker has worked with the film departments of Connecticut

 4       Louisiana. Georgia. Virginia. North Carolina. California, et al and has never encountered

 5       such an immature, hostile, mean-spirited, incompetent, sneaky, slow, sensitive, and

 6       maniupulative conduct ever. Filmmaker has been in the business for over 22 years again

 7       and has made 12 movies.

 8    960.      The Filmmaker again believes the Honorable U.S. District Court and jury will
 9       find sufficient evidence in the months, and possible years to come,of another corrupt
10       Hawaiian government agency that needs Federal investigation.
11    961.      Filmmaker will depose all ofthe parties at the Hawaii Film Office and past UPMs
12       and line producer of every single past film to prove there is widespread and gross
13       incompetence at every level.
14    962.      Filmmaker also plans to file a whistleblower lawsuit against the Hawaii Film
15       Office and the Hollywood studios for wasting the taxpayer's money. Filmmaker will file
16       motions to compel the paperwork to see every single budget that the Film Office has
17       given millions of dollars to the studios and yet denied a simple rebate to the Filmmaker.

18    963.      On or about December 2017,Filmmaker finished the final paperwork and
19       contacted the Defendant Hawaii Film Office to begin the tax rebate final process and was

20       told the tax certificate would be sent within 3 to 6 months.- which is also stated on the

21       Hawaii Film Office website and on their official forms. It is now October 2018 at the

22       time ofthe filing ofthis suit. This is tragic in every respect.
23    964.      Again, having the tax certificate was critical in both post-production money and
24       for the investors. The Defendants were fully aware of this.

25    965.      Despite numerous emails. Defendants repeatedly dragged their feet and returned
26       emails sometimes a month later.

27    966.      They then stated Filmmaker had to do other tasks that were never in the intital
28       conversations.




                                           Complaint - 124
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 125 of 133                            PageID #:
                                     125




 1    967.      Filmmaker shook his head in disbelief. Filmmaker immediately sensed something
 2       was terribly wrong.

 3    968.      Again, Defendants hid the relationships of those that created friction and their
 4       motives of'teaching the filmmaker a lesson' by delaying the tax certificate to now 9

 5       months. This a textbook case offraud and deceit.

 6    969.      Again,Filmmaker would never have filmed a movie in Hawaii had he known of
 7       this fraud and deceit, mispresentation, civil conspiracy and other conduct the Hawaii Film
 8       Office would so brazenly do.

 9    970.      Furthermore, they even admitted themselves that the office has come under
10       intense scrutiny by legislatures for previous blunders which will be part ofthe
11       whistleblower lawsuit. This again is total fraud and deceit and a total conflict of interest.

12    971.      Defendants went beyond being crafty/sneakv to fraud and deceit as the Court will

13       see throughout this Complaint. These are the most dishonorable actions that Filmmaker

14       has ever worked with in 22 years. Here Filmmaker shot a movie that would honor a

15       Hawaiian Chiefess, pay good-paying jobs to Hawaiian/Polynesians, and the Hawaii Film
16       Office back-stabbed him by deceiving him and playing little juvenile high-school games
17       no other film office ofany state would dare to do
18    972.      Ifin fact, the Hollywood studios have not gone through this level offraud,then
19       the Hawaii Film Office, complete with starry, wide eyes, have discriminated against the
20       Filmmaker either through his religious beliefs(a violation of the First Amendment)or
21       against him as an independent filmmaker(a violation of the Hawaii Whistleblower Act)
22       This is a text-book case of self-dealing.

23    973.      On or about August 2018, Filmmaker sent several emails to the Attorney
24       General's office and the Governor's office to attempt to understand why the Hawaii Film
25       Office was taking so long. The Hawaii Film Office refused to answer any emails
26    974.      Something was truly wrong here.

27


28




                                           Complaint - 125
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 126 of 133                               PageID #:
                                     126




 1      975.         Finally, after legal threats, the Hawaii Film Office, in the most overt fraud of
 2         perhaps any governmental agency in the state, then sent Filmmaker an astounding list of
 3         complete lies and fabrications.
 4     976.          Defendants said because Filmmaker has not proved any of his receipts, he is not
 5         entitled to a 20% rebate. Filmmaker immediately knew he was duped.

 6     977.          The Defendant's conduct must be extreme and outrageous and caused enormous

 7         infliction of emotional distress and caused Filmmaker to seek counseling with Pastors.

8      978.          This is a text book case ofIntentional Infliction of Emotional Distress(IIED).

 9     979.          The Hawaii Film Office sent a list ofrequirements that are filled with complete
10        fraud and lies. It's almostjaw-dropping how each remaining requirement had already
11         been fulfilled.

12     980.          The Hawaii Film Office sent a one-vase sheet that looked like it took ten minutes

13         to do - not 9 months (see Exhibit A). The Filmmaker will show this smacks ofthe

14        juvenile and utterly fraudulent way the Hawaii Film Office went to avoid paying the 20%
15         rebate.

16     981.          Among the several 'items' that Hawaii Film Office said the Filmmaker had to
17         prove was the actual shooting location of Kualoa Ranch (See Exhibit A). Filmmaker sent
18         the bill, the cancelled checks, and the Defendants still said Filmmaker could not prove
19         this expense. A simple phone call could verify this expenditure.
20     982.          The sheet again shows scores of names ofcrew that Filmmaker already gave the

21         Hawaii Film Office every single GET Tax ID that thev required. Yet it ignores key

22         actor's salaries, key equipment rentals, hotels -it's an absolute fi-audulent document.

23


24
       The one-sheet contains over 50 crew and cast that have already been
25
     accounted for. The only way to explain the red marks is the Hawaii Film
26
     Office is doing everything possible to sabotage and not pay Filmmaker. This
27
     is indisputable evidence. Filmmaker will submit all of the evidence during
28
     discovery and will file a Motion to seal the documents.




                                               Complaint - 126
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 127 of 133                            PageID #:
                                     127




 1    983.      Defendants Benita Brazier and Donne Dawson clearly acted outside the scope of
 2       their agency in wanting to pay back Filmmaker in retribution for several reasons

 3       Filmmaker will prove at trial.
 4    984.      The State of Hawaii should not defend Ms. Brazier or Ms. Dawson.

 5    985.      Filmmaker will call on several key witnesses in the cast, crew, and extras to prove

 6       the Film Office is in disarray. He expects the trial to go for at least ten weeks and asks the
 7       Honorable Court's patience as Filmmaker is bracing for extensive discovery (and
 8       possible Motions to Compel with sanctions) to take place during this litigation.
 9    986.      This case is very important as there must be freedom of speech in Hawaii and that
10       federal law still supercedes state law. Hawaii is part of America and most Hawaiians
11       want that.

12    987.      Filmmaker will subpeona every crew member for depositions to testify to the
13       events as true. And if Defendants lie during their sworn depositions. Filmmaker will file a
14       criminal complaint with the D.A. for perjury and possible Federal intervention.
15       Filmmaker will begin depositions within 30 days of the service ofthe Complaint to get a
16       head start on all discovery.

17    988.      Filmmaker believes the damages to the movie are permanent and irrecoverable
18       due to Defendant's actions.

19    989.      It is paramount that the Honorable Court grant Filmmaker broad discretion in
20       ascertaining what is going on as Filmmaker expects to file multiple Motions to Compel as
21       the Defendants have proven themselves deftly good at avoiding or ignoring questions
22       pertaining to their conduct.
23    990.      Defendant's actions left the film in total chaos. The film went overbudget because

24       of their actions and the Filmmaker had to pay the overbudget out of his own pocket.
25    991.      Again, Filmmaker testifies, under penalty of perjury, that he has never sued any

26       governmental agency in his entire life.

27    992.      Filmmaker will depose Defendants Benita Brazier, Donne Dawson in November.
28       He will then depose other filmmakers who have shot movies in Hawaii.




                                           Complaint - 127
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 128 of 133                          PageID #:
                                     128




 1    993.      Filmmaker will file a Pre-Judgment Writ of Attachment on all of Defendant's
2        personal and corporate assets and believes he has been damaged by no less than $135
 3       million in actual and punitive damages and will spend the next 5 years outlying the case
4        against the Defendants. They need to be punished severely for their contemptible
5        mistreatment of a filmmaker who tried to honor the people of Hawaii and their valiant
6        and courageous leader two hundred years ago.
7     994.      Filmmaker is exiting making the next films in Hawaii and the damages are stark

8        and real - due mostly because of Defendant's fraud and deceit. This will be calculated in
 9       the damages against Defendants.

10    995.      Filmmakers request the court to expedite discovery and set a trial date in the most
11       expeditious manner if possible.
12    996.      The bare facts-taken alone - prove without doubt- that Defendants, collectively
13       and individually, violated the Lanham Act by advertising their services and duping
14       Filmmaker for their own gain.

15    997.      As a direct and proximate result ofthe foregoing material breaches of the signed.

16       written contract Filmmakers have been damaged in an aggregate amount to be

17       determined at trial, in excess of the iurisdictional minimum of this court.

18


19              COUNT 14 -PROMISSORY ESTOPPEL
20


21    998.      Filmmaker repeats and realleges each and every allegation contained in
22       paragraphs 1 through 998 above as if fully set forth herein.
23    999.      The facts set forth above, and in particular in paragraphs 1-998 demonstrate that
24       Filmmaker relied to its detriment upon Defendants's promises.
25    1000.     Accordingly, Defendants are estopped from denying the agreements with respect
26       to the movie and Filmmaker is entitled to damages for its reliance in an amount to be
27       determined at trial, in excess ofthe jurisdictional minimum of this Court, and believed to
28       be no less than $135,000,000.




                                           Complaint - 128
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 129 of 133                          PageID #:
                                     129




                COUNT 15-BREACH OF ACCOUNTING


      1001.     Filmmaker repeats and realleges each and every allegation contained in
 5       paragraphs 1 through 1001 above as iffully set forth herein.

 6    1002.     Defendants clearly breached all accounting methods in not even doing simple
7        mathematics. They failed to add up all the expenditures and tried to lay the blame on
8        Filmmaker and have him triple-check to show they were in error.

 9    1003.     Filmmaker has 'smoking-gun' evidence of this in the one-sheet the Hawaii Film
10       Office submitted to Filmmaker in their rejection of his due rebate.
11    1004.     Again, this goes to the heart of who the Defendants are and the complete
12       disrespect they've shown the Filmmaker by submitting the one-sheet filled with total
13       errors and fabrications.

14    1005.     This is in complete breach of contract and breach of accounting.
15    1006.     Filmmaker may also seek assistance with the Attorney General to investigate any
16       crimes that have also been committed against Filmmakers and other artists.
17    1007.     Again, Filmmaker is not the only one who Defendants have mistreated and
18       possibly scammed. He will call upon other producers who have worked with Defendants.
19       But regardless, there are enough provable facts for this case to go to trial in 2019/2020.
20    1008.     Defendants completely refused to provide any further explanation to where
21       Filmmaker's complete package went despite Filmmaker asking,"What on earth is going
22       on?"

23    1009.     As a direct and proximate result ofthe foregoing material breaches ofthe signed,
24       written contract regarding accounting. Filmmakers have been damaged in an aggregate
25       amount to be determined at trial, in excess ofthe jurisdictional minimum ofthis court,
26       believed to be no less than $135 million.

27


28              COUNT 16-DECLARATORY RELIEF



                                          Complaint - 129
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 130 of 133                            PageID #:
                                     130




 1



 2    1010.         Filmmaker repeats and realleges each and every allegation contained in
 3        paragraphs 1 through 1010 above as iffully set forth herein
 4    1011.         An actual and justiciable controversy has arisen between Filmmaker and

 5        Defendants. Filmmaker, for his respective interests as set forth above, contends:

 6    1012.         By the conduct of defendants alleged hereinabove, defendants materially breached
 7        the signed Hawaii Production Report to obtain his rebate
 8    1013.         By the conduct of Defendants alleged hereinabove. Defendants have materially
 9        breached other duties imposed by contract and/or law with respect to Filmmaker;
10    1014.         Filmmaker is informed and believe that Defendants are defaming him via third
11        parties
12    1015.         Filmmaker is informed and believes that Defendants denies the foregoing
13        contentions

14    1016.         Filmmaker desires a judicial determination of their rights, duties, and remedies
15        with respect to the foregoing matters. A judicial declaration is necessary and appropriate
16        so the parties may proceed in accordance with their rights and obligations as determined
17        by the court.

18


19                   COUNT 17- UNJUST ENRICHMENT
20


21    1017.         Filmmaker repeats and realleges each and every allegation contained in
22        paragraphs 1 through 1017 above as iffully set forth herein.
23     1018.        Asa result of Defendants's conduct alleged hereinabove, defendants have been
24        unjustly enriched at the expense ofthe filmmakers, in their respective interests as set
25        forth above.

26     1019.        Filmmakers do not yet know the full amount by which defendants. Defendants,
27        and Does 1-10 have been so enriched, but are informed and thereon allege that said sum
28        exceeds $135 million.




                                             Complaint - 130
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 131 of 133                            PageID #:
                                     131




              COUNT 18-PRELIMINARY AND PERMANENT
                                     INJUNCTION


 5    1020.        Filmmaker repeats and realleges each and every allegation contained in
 6       paragraphs 1 through 1020 above as iffully set forth herein.
 7    1021.        Due to defendant's wrongful conduct, breaches of contracts, breaches of

 8       obligations,fraud and deceit. Filmmaker is informed and believes that Defendants will
 9       continue to violate the provisions of the rebate program because oftheir ignorance ofthe
10       law and because of their imeducated beliefs the law does not apply to them. Unless such
11       conduct is enjoined and restrained by an order of the Court, Filmmaker and other

12       filmmakers of possible faith or filmmakers who want to do Hawaiian historical films will
13       continue to suffer great and irreparable injury.
14    1022.        Filmmakers lack an adequate remedy at law for the injuries that would be suffered
15       as a result of Defendants's flagrant breach ofthe rebate requirements and because
16       pecuniary damages are insufficient to wholly compensate Filmmaker for their injuries
17       and because it is difficult to ascertain the amount ofdamages required to afford adequate
18       relief.

19    1023.        Filmmaker thus requests that this Court grant a preliminary iniunction and

20       permanent iniunction enjoining the Hawaii Film Office and these Defendants, and each

21       of them, and their agents, servants, and employees, and all such persons acting under, in

22       concert with, or for defendants to cease any and all operations until the FBI, Hawaii

23       Attorney General, this Honorable U.S. District Court, and the State Legislature clear the

24       Defendants and the Hawaii Film Office of any wrongdoing.

25


26                 COUNT 19- WRIT OF ATTACHMENT
27


28    1024.        Filmmaker repeats and realleges each and every allegation contained in




                                            Complaint - 131
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 132 of 133                                 PageID #:
                                     132




 1           paragraphs 1 through 1024 above as iffully set forth herein,
 2         1025.     Filmmaker will be seeking a Writ of Attachment against Defendants property,
 3           Defendant's bank accounts, Defendant's post-production business, houses, cars, boats,
 4           and any and all personal assets that allows the Filmmaker within a lawsuit to seek a
 5           "prejudgment writ of attachment" by which it can freeze certain assets of a
 6           debtor/defendant.

 7         1026.     Certain criteria must be met by the creditor for it to succeed in obtaining a
 8           prejudgment writ ofattachment as set forth:
 9          - The underlying claim by the Filmmaker must be based upon a contract;
10          - The Filmmaker must show the "probable validity" of the claim against the defendant;
11   and

12          - The defendants must be a business;

13          Filmmaker is informed and believes that the prejudgment writ of attachment is valid in this
14   case. All of the elements and requriements proved by a preponderance ofthe evidence, and will
15   seek an immediate writ by this Court after the suit conunences.
16         211. Filmmaker seeks a Writ of Attachment on Defendant's personal houses, bank
17   accounts, and individual property until this dispute is resolved. This includes freezing any assets
18   and future assets until the final outcome and/or Filmmaker prevails.
19


20                                            DAMAGES
21


22   WHEREFORE,Filmmakers prays forjudgment in their favor as follows:
23

             1. For Compensatory damages according to proof but exceeding the jurisdictional
24

             limit of this court;
25
             2. For punitive and exemplary damages in an amount sufficient to punish and make
26
                   an example of defendant's wrongful conduct;
27
             3. For Demand for a Full and Unconditional Jury Trial hy 2019;
28
             4. For declaration of the parties' rights and obligations as alleged hereinahove;



                                              Complaint - 132
Case 1:18-cv-00379-DKW-KSC Document 1 Filed 10/03/18 Page 133 of 133                      PageID #:
                                     133



          5. For restitution of all amounts by which defendants have been unjustly enriched
 1

               as the result of their wrongful conduct;
 2
          6. For the reasonable value of Filmmaker's services;
 3
          7. For general damages which,to the extent possible, will put Filmmaker in the
 4
             position it would have been in had defendants not breached the contracts, all
 5
             according to proof at trial, but in excess of the jurisdictional minimum of this
 6
             Court.

 7        8. For attorney expenses,fees, and costs of suit incurred herein,including all attornjey's
 8           fees,including attorney's fee at $550/hour.
 9        9. For interest at the maximum legal rate;

10
          10. For prejudgment or other award at the maximum rate permitted by law;
          11. For an Injunction requiring the Hawaii Film Office to cease any and all operations
11

             until the FBI,Hawaii Attorney General,this Honorable U.S. District Court,and the
12
             State Legislature clear the Defendants and the Hawaii Film Office of any
13
             wrongdoing
14


15


16
     DATED: October 3,2018
17


18


19                                                  Timo^ Allen Chey,Esq (In Pro Per)
20
                                                          Corney at Law
                                                    California State Bar No. 172096
21


22


23


24



25


26


27


28




                                         Complaint - 133
